                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                               Case No. 12-43166
ENERGY CONVERSION DEVICES, INC.,
at al,                                                         Chapter 11
                                                               (Jointly Administered)1
                       Debtors.
                                           /                   Judge Thomas J. Tucker

ENERGY CONVERSION DEVICES
LIQUIDATION TRUST,

                       Plaintiff,

vs.                                                            Adv. Pro. No. 18-4320

OVONYX, INC., et al.,

                       Defendants.
                                          /

             OPINION REGARDING DEFENDANTS’ MOTIONS TO DISMISS

I. Introduction

         The Complaint in this case involves lengthy and complex factual allegations against five

defendants, all of whom seek dismissal under Fed. R. Civ. P. 12(b)(6) for failure to state a claim

upon which relief can be granted. The Complaint alleges claims under Michigan law, including

claims of breach of contract; claims based on Michigan’s alter ego and successor liability

doctrines; multiple claims of tortious interference with contract; a claim for aiding and abetting

tortious interference with contract, and a claim of “actual” fraudulent transfer (i.e., a transfer

done with actual fraudulent intent, rather than merely a constructive fraudulent transfer). The



         1
         This Chapter 11 case is jointly administered with the case of United Solar Ovonic LLC, Case
No. 12-43167.



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Defendants’ dismissal motions raise numerous issues about the elements of the claims, and many

other issues, including but not limited to issues of contract interpretation and contract law; the

interplay between related contracts; and the effect of a Chapter 11 debtor’s rejection of an

executory contract under Bankruptcy Code § 365.

       This adversary proceeding was filed against five defendants by the Plaintiff Energy

Conversion Devices Liquidation Trust (the “Trust”). The Plaintiff Trust was created as a result

of the confirmed liquidation Plan in the Chapter 11 bankruptcy cases of Energy Conversion

Devices, Inc. (“ECD”) and its wholly-owned operating subsidiary, United Solar Ovonic LLC

(“USO”). Those Debtors filed their voluntary Chapter 11 bankruptcy petitions in this Court on

February 14, 2012.

       On July 30, 2012, the Court confirmed a joint liquidating plan proposed by the Debtors

(the “Plan”).2 The Plan included the substantive consolidation of the ECD and USO estates. The

effective date of the Plan was August 28, 2012.3

       The Trust’s First Amended Complaint alleges seven “causes of action” against the

Defendants. The Trust’s claims are premised on the Trust allegedly having certain contractual

rights that were breached. These alleged contractual rights arose under an agreement made in

1998 by ECD and Defendant Tyler Lowrey (“Lowrey”), and an intellectual property license

agreement made in 1999 by ECD, Lowrey, and Defendant Ovonyx, Inc. (“Ovonyx”). The Trust

claims to have had the following contractual rights: (1) a right to payment by Ovonyx of a



       2
          Docket # 1064 in Case No. 12-43166, the “Order Confirming Plan.” The Plan was filed on
June 20, 2012 (Docket # 754 in Case No. 12-43166).
       3
           See Notice of Effective Date, etc. (Docket # 1220 in Case No. 12-43166).

                                                    2


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quarterly royalty of 0.5% of Ovonyx’s revenues; and (2) a right of first refusal for the sale of any

stock of Ovonyx or any sale of assets by Ovonyx.

       Each of the five Defendants filed motions to dismiss the Trust’s First Amended

Complaint.4 The motions dispute that the Trust had any of the alleged contractual rights.

Because of this, and for other reasons, the motions argue that the First Amended Complaint fails

to state any plausible claims upon which relief can be granted. For the reasons stated in this

Opinion, the Court will grant the motions in part, and deny them in part.

II. Background

       There are several written contracts that are relevant to the pending motions. The Court

will describe these in detail. Many of the facts stated in this Opinion are taken from allegations

of the First Amended Complaint, and these facts are assumed to be true for purposes of ruling on

the Defendants’ motions. Many other facts stated are taken from contracts that were made, the

terms of which are not in dispute.

A. The 1998 Contract

       The first contract at issue was made on December 17, 1998, between ECD and Lowrey,

entitled “Ovonic Information Handling Devices Development and Commercialization Contract”

(the “1998 Contract”).5 When it entered into the 1998 Contract, ECD was the holder of patents




       4
         See Docket # 8 (Plaintiff’s First Amended Complaint) (filed under seal); Docket # 38
(Defendants Micron Technology Inc.’s and Ovonyx, Inc.’s Motion to Dismiss); Docket # 43 (Defendant
Ovonyx Memory Technology, LLC’s Motion to Dismiss); Docket # 46 (Defendant Tyler Lowrey’s
Motion to Dismiss); Docket # 58 (Defendant Intel Corporation’s Motion to Dismiss).
       5
         A copy of the 1998 Contract is attached as Exhibit 5 to Defendant Ovonyx, Inc.’s and
Defendant Micron Technology Inc.’s Brief in Support of their Motion to Dismiss (Docket # 40). This
document was filed under seal.

                                                  3


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in the area of information technology and energy, and a developer of “devices concerning, among

other things, ‘phase-change’ memory, a form of nonvolatile memory that is far superior to other

forms of memory.”6 Lowrey was a former senior officer of Defendant Micron Technology, Inc.

(“Micron”) who was “expert in commercialization and manufacturing of memory circuits” and a

“memory business and engineering expert.”7 In highly technical language, the 1998 Contract

stated that ECD and Lowrey were “jointly pursuing the evaluating, developing, licensing, or

manufacturing of ECD’s proprietary electronic Ovonic Information Handling Devices, such as

those that are Chalcogenide-based including the electronic Ovonic threshold thyrister-like power

switch, Ovonic encryption, Ovonic neural networks, and current-modified crystallinity-based and

current-modified resistance-based devices and products (hereinafter the ‘the field’)[.]”8

       The 1998 Contract became “effective, valid, and enforceable when signed by both

Lowrey and ECD (‘effective date’),” but gave Lowrey the right to cancel the contract “thirty days

after signing (‘cancellation date’).”9 The 1998 Contract stated that

                 [u]nless Mr. Lowrey cancels in the Evaluation Phase prior to the
                 cancellation date, ECD desires to have Mr. Lowrey direct, and Mr.
                 Lowrey agrees to direct, the development activities in the field
                 until termination. Activities in the field will include all in-the-field
                 development such as intellectual property and its prosecution and
                 defense, press releases and public relations, licensing to or from
                 others, purchase or sale of technology, business development,
                 raising funds for operations, manufacture, operating, purchases,



       6
           See First Am. Compl. (Docket # 8) at 2 ¶ 3.
       7
         First Am. Compl. at 3 ¶ 7, 8 ¶ 36; Defs.’ Ovonyx’s and Micron’s Br. in Supp. of Mot. to
Dismiss (Docket # 40) (filed under seal) at 4 ¶ II.A.1.
       8
           1998 Contract at MTI000032.
       9
           Id. at MTI000021 ¶ 1.

                                                    4


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                 and sales (“activities in the field”).10

       Under the 1998 Contract, on the effective date of the contract, Lowrey became “a Vice

President, employee, and officer of ECD” and was invited “to attend and become a director on

ECD’s Board subject to termination by ECD or Mr. Lowrey without cause upon notice.”11

Lowrey was given broad discretion in carrying out his duties under the 1998 Contract. The 1998

Contract provided, in relevant part, that Lowrey’s

                 development and licensing effort may be conducted in a manner of
                 Mr. Lowrey’s reasonable choosing because of Mr. [Stan]
                 Ovshinsky’s and Mr. Stempel’s respect for and confidence in Mr.
                 Lowrey’s professionalism and competence, and will be the primary
                 focus of Mr. Lowrey’s professional efforts because of his
                 appreciation of the summary data concerning Ovonic Information
                 Handling Devices from ECD and Mr. Lowrey’s respect for Mr.
                 Ovshinsky, Mr. Stempel, ECD, its personnel and technology, and
                 the potential result of this contract.12

       The 1998 Contract contemplated the formation of an “Entity” by either ECD or Lowrey,

through which they would pursue the objectives described in the 1998 Contract, related to the

intellectual property (sometimes referred to herein as “IP”) of ECD and Lowrey.13 Paragraph 7 of


       10
            Id. at MTI000032 ¶ 2.
       11
            Id. at MTI000036 ¶ 26.
       12
           Id. at MTI000032 ¶ 2. Stan Ovshinsky is “a renowned Michigan inventor and scientist who
invented numerous technologies in the area of energy and information and was granted over 400
patents.” (First Am. Compl. at 2 ¶ 3.) ECD is “Mr. Ovshinsky’s brainchild.” Id.
       13
            The 1998 Contract defined “intellectual property” in paragraph 13, which provided:

       13.       Intellectual property definitions. Intellectual property (“IP”) includes for
                 example and to the full extent allowed by law and without limitation: patents,
                 copyrights, trademarks, trade secrets, confidential and proprietary information,
                 and know-how. “Originated” as used in this contract is meant to follow the law
                 for the respective types of intellectual property, such as who is found to be the
                 inventor of a particular patent or trade-secret, or author of a copyright or

                                                     5


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the 1998 Contract stated:

                7.      Entity formation. Any references to the Entity in this
                        contract apply only if formed. At any time after the
                        cancellation date, either ECD or Mr. Lowrey may decide by
                        notice to the other to form a corporation (the “Entity”) that
                        provides for equal distribution of stock, benefits, and voting
                        after quarterly paying ECD a 0.5% royalty on all
                        revenues if requested. Mr. Lowrey, or ECD upon Mr.
                        Lowrey’s request, will promptly prepare or have done
                        appropriate formation documents and both shall properly
                        execute promptly. Thereafter, until termination:

                        a)      Mr. Lowrey and ECD shall conduct all activities in
                                the field in this Entity such as manufacturing and
                                licensing, and

                        b)      both will cooperate reasonably in disclosing,
                                transferring, assigning, or licensing, as the case may
                                be, to the Entity all pertinent information and assets
                                in the field to the reasonable extent allowed by law
                                including that learned or acquired in the field before
                                and after Entity formation under the control of ECD
                                or Mr. Lowrey, such as but not limited to: revenues,
                                royalties, contracts, and IP.

                        c)      Major decisions such as appointment and removal
                                of officers, use of confidential information, and
                                license or asset purchases or sales shall be subject to
                                approval.

                        d)      Subject to approval, the Entity can select a site other
                                than Troy and can vary the scope and business plan
                                for its actual manufacturing, operations and further
                                licensing activities.

                        e)      The Entity may provide moneys to upgrade
                                applicable ECD equipment and support activities



                confidential information.



                                                   6


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                                upon approval.14

       Before the formation of the Entity, the 1998 Contract required ECD and Lowrey “to make

reasonable attempts to operate consistent with its anticipated formation.”15 In the event the

Entity was formed, Lowrey was to be one of its two initial Board members, and Stan Ovshinsky

(“Ovshinsky”) was to be the other one.16 Ovshinsky was to be the Chairman of the Entity’s

Board and Lowrey was to be the Vice Chairman.17 Lowrey was also to be the Entity’s President

and CEO.18 Under the 1998 Contract, Lowrey and Ovshinsky each had the right, upon notice to

the other, to appoint “up to two more [B]oard members until the Board totals six” with “those

appointments effective upon the other appointing an equal number which shall be promptly done

by notice.”19

       The 1998 Contract required Lowrey to assign his intellectual property rights to the Entity,

and ECD and Lowrey to grant each other a license to use the other’s intellectual property. It also

required ECD to grant the Entity licensing rights. It provided, in relevant part:

                  14.   Intellectual property assignment prior to termination.

                        Until termination,

                        a)      Except as limited by other obligations in the
                                field which shall at all times be promptly


       14
            Id. at MTI000033 ¶ 7 (emphasis added).
       15
            Id. at MTI000033 ¶ 5.
       16
            Id. at MTI000033 ¶ 8.
       17
            1998 Contract at MTI000033 ¶ 8.
       18
            Id.
       19
            Id.

                                                     7


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                                and fully disclosed to Mr. Lowrey, ECD
                                shall grant the Entity an exclusive license in
                                the field with a right to sub-license its
                                intellectual property if approved,

                        b)      Mr. Lowrey shall assign his rights in intellectual
                                property in the field to ECD until Entity formation
                                and thereafter to the Entity.

                        c)      Intellectual property in the field, originated by and
                                with Mr. Lowrey and assigned to ECD, shall be
                                assigned to the Entity upon formation without
                                encumbrance.

                        d)      ECD and Mr. Lowrey hereby grants the other a non-
                                transferable, royalty-free cross-license to use
                                confidentially without public disclosure the others
                                IP in the field, and without the right to sub-license
                                absent approval, a license that shall expire upon
                                termination.20

       The 1998 Contract gave ECD a right to receive a quarterly royalty payment from the

Entity (the “Royalty Right”). Paragraph 10 stated: “Quarterly Royalty to ECD. Upon ECD’s

written request, the Entity shall thereafter pay every three months 0.5% of the Entity’s

subsequent revenues to ECD.”21

       The 1998 Contract also gave ECD, as well as Lowrey, a right of first refusal (the “First

Refusal Right”). Paragraph 11 stated:

                 Right of first refusal. Until termination, both Mr. Lowrey and
                 ECD grants the other a right of first refusal on the other’s sales of
                 stock in the Entity, intellectual property in the field, and any stock
                 or asset sales by the Entity, a right exercisable only within thirty
                 days of notice and promptly executed on the same basis as the
                 proposed purchaser. After termination, this right shall only apply


       20
            Id. at MTI000034 ¶ 14.
       21
            Id. at MTI000034 ¶ 10.

                                                    8


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                  to sales of intellectual property in the field for three years
                  thereafter. Any sale shall comply with remaining limitations of
                  this agreement such as a cross-license.22

        The 1998 Contract provided that “[s]ubject to the continuing obligations,” the contract

would terminate if:

                  a)      either party cancels prior to the cancellation date,
                  b)      Mr. Lowrey resigns prior to Entity formation,
                  c)      Mr. Lowrey, the Entity, or a licensee fails to
                          commercialize any device or product in the field by
                          December 31, 2003.23

Commercialization was defined in paragraph 15 of the 1998 Contract. It stated:

                  Commercialization. Commercialization shall include a single
                  three months period of:

                  a)      sales that exceed $500,000 or
                  b)      licensing revenues that exceed $100,000 above directly related expenses
                          necessary to satisfying the license requirements, or
                  c)      net cash flow (after taxes and exclusive of invested capital or interest
                          received during the period) from operations that exceed $100,000.24

        The 1998 Contract was “personal to the parties and not transferable or negotiable to

others except with the written permission of both ECD and Lowrey.”25 The 1998 Contract

provided that it was to be interpreted, construed, and enforced under Michigan law, and that

because it was “jointly drafted, . . . no clause shall be construed against the drafter.”26




        22
             Id. at MTI000034 ¶ 11.
        23
             Id. at MTI000034 ¶ 16.
        24
             Id. at MTI00002331.
        25
             Id. at MTI000036 ¶ 24.
        26
             Id. at MTI000036 ¶ 29.

                                                    9


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        In June 1999, about 6 months after executing the 1998 Contract, ECD and Lowrey

formed Defendant Ovonyx, a Delaware corporation.

B. The 1999 License Agreement

        On August 2, 1999, Ovonyx, ECD, and Lowrey entered into an agreement entitled

“License and Assignment Agreement” (the “1999 License Agreement”), which referenced the

1998 Contract and identified Ovonyx as the “Entity” to be formed under that contract.27 It

recited, in relevant part, that:

                   ECD and Mr. Lowrey have entered into a contract entitled Ovonic
                   Information Handling Devices Development and
                   Commercialization Contract . . . dated December 17, 1998, setting
                   forth principles of agreement for their future interactions in
                   completing development and commercializing devices and
                   products in the field (as defined in the [1998] Contract) through a
                   new entity (which entity, Ovonyx, has now been formed)[.]28

The 1999 License Agreement granted Ovonyx exclusive rights to intellectual property

“developed by both ECD and Mr. Lowrey . . . that relate[d] to the devices and products in the

field.”29 It stated, in relevant part:

                   1.     ECD License Grant. ECD hereby grants, without
                          [encumbrance], to Ovonyx a royalty-bearing, worldwide,
                          exclusive right and license under ECD’s past, present and
                          future IP (as defined in the [1998] Contract), including the
                          right to sublicense, to make, have made, import, use, sell
                          and otherwise dispose of products and devices in the field.
                          Ovonyx will sublicense, sell, trade or otherwise negotiate


        27
            A copy of the 1999 License Agreement is attached as Exhibit 6 to Defendant Ovonyx’s and
Defendant Micron’s Brief in Support of their Motion to Dismiss (Docket # 40). This document was filed
under seal.
        28
             The 1999 License Agreement at MTI000038 (RECITALS).
        29
             Id.

                                                    10


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                         rights in ECD IP only with the majority approval of
                         Ovonyx’s Board of Directors. A list of ECD patents and
                         patent applications included in ECD IP is attached hereto as
                         Exhibit A.

                 2.      Assignment. Mr. Lowrey hereby assigns, without
                         encumbrance, to Ovonyx all rights, title and interest in and
                         to Mr. Lowrey’s past, present and future IP. A list of
                         Lowrey patent disclosures is attached hereto as Exhibit B.30

The 1999 License Agreement stated that “[a]ll terms and conditions and rights and obligations of

the [1998] Contract remain in full force and effect.”31 The 1999 License Agreement did not

contain any specific references to the 1998 Contract’s Royalty Right or First Refusal Right.

C. The 2000 Stockholders Agreement

       On February 4, 2000, Ovonyx entered into an agreement entitled “Stockholders

Agreement” (the “2000 Stockholders Agreement”) with each of the stockholders of Ovonyx.32

At that time, the stockholders were ECD, Lowrey, Defendant Intel Corporation (“Intel”), and

Ward Parkinson.33 Intel had “acquired preferred stock issued by Ovonyx and observer rights for

Ovonyx’s board of directors” in February 2000.34 One of the stated purposes of entering into the

2000 Stockholders Agreement was “limiting the manner and terms by which [Ovonyx’s] stock




       30
            Id. at MTI000038 ¶ 1-2.
       31
            Id. at MTI000039 ¶ 5.
       32
           A copy of the 2000 Stockholders Agreement is attached as Exhibit 7 to Defendant Ovonyx’s,
and Defendant Micron’s Brief in Support of their Motion to Dismiss (Docket # 40). This document was
filed under seal.
       33
            2000 Stockholders Agreement at MTI00000120, MTI00000140 (Schedule of Stockholders).
       34
            First Am. Compl. (Docket # 8) at 12 ¶ 58.

                                                   11


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may be transferred.”35 Section 4 of the 2000 Stockholders Agreement is the very detailed

provision that governed any transfer of Ovonyx stock. It provided, in relevant part:

                       Section 4.     Restrictions on Transfer of Stockholder
                                      Shares

                        4.1      Transfer of Stockholder Shares. No Stockholder
                will sell, transfer, assign, pledge or otherwise dispose of (a
                “Transfer”) any interest in any Stockholder Shares except
                pursuant to the provisions of this Section 4.

                        4.2     Election Period. Each Stockholder agrees not to
                consummate any Transfer (other than a Permitted Transfer) until
                30 days after the delivery to [Ovonyx] and other Stockholders
                of such Stockholder’s Offer Notice unless the parties to the
                Transfer have been finally determined pursuant to this Section 4
                prior to the expiration of such 30-day period (the “Election
                Period”).

                        4.3     First Offer Right. At least 30 days prior to making
                any Transfer of any Stockholder Shares (other than a Permitted
                Transfer), the transferring Stockholder (the “Transferring
                Stockholder”) will deliver a written notice (the “Offer Notice”)
                to [Ovonyx] and the other Stockholders (the “Other
                Stockholders”). The Offer Notice will disclose in reasonable
                detail the proposed number of Stockholder Shares to be transferred
                and the proposed terms and conditions of the Transfer. First,
                [Ovonyx] may elect to purchase all, but not less than all, of the
                Stockholder Shares specified in the Offer Notice at the price
                and on the terms specified therein by delivering written notice
                of such election to the Transferring Stockholder and the Other
                Stockholders as soon as practicable but in any event within 10
                days after the delivery of the Offer Notice. If [Ovonyx] has not
                elected to purchase all of the Stockholder Shares within such
                ten-day period, each of ECD and Lowrey may elect to
                purchase all, but not less than all, of their Pro Rata Share of
                the Stockholder Shares specified in the Offer Notice at the price
                and on the terms specified therein by delivering written notice of
                such election to the Transferring Stockholder as soon as practicable
                but in any event within 15 days after delivery of the Offer

       35
            2000 Stockholders Agreement at MTI00000120.

                                                12


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               Notice. If [Ovonyx], ECD and Lowrey have not elected to
               purchase all of the Stockholder Shares within such 15-day
               period, each of Other Stockholders (other than ECD and
               Lowrey) may elect to purchase all, but not less than all, of such
               Other Stockholder’s Pro Rata Share of the Stockholder Shares
               specified in the Offer Notice at the price and on the terms
               specified therein by delivering written notice of such election to the
               Transferring Stockholder as soon as practicable but in any event
               within 20 days after delivery of the Offer Notice. Any
               Stockholder Shares not elected to be purchased by the end of such
               20-day period will be reoffered for the ten-day period prior to the
               expiration of the Election Period by the Transferring Stockholder
               on a pro rata basis to the Other Stockholders who have elected to
               purchase their Pro Rata Share. If [Ovonyx] and/or the Other
               Stockholders have elected to purchase all of the Stockholder
               Shares from the Transferring Stockholder, the transfer of such
               shares will be consummated as soon as practicable after the
               delivery of the election notices, but in any event within 15 days
               after the expiration of the Election Period. To the extent that
               [Ovonyx] and/or the Other Stockholders have not elected to
               purchase all of the Stockholder Shares being offered, the
               Transferring Stockholder may, within 90 days after the expiration
               of the Election Period and subject to the provisions of Section 4.4,
               Transfer such Stockholder Shares to one or more third parties at a
               price no less than the price per share specified in the Offer Notice
               and on other terms no more favorable to the transferees than
               offered to [Ovonyx] and the Other Stockholders in the Offer
               Notice. The purchase price specified in any Offer Notice will be
               payable solely in cash at the closing of the transaction or in
               installments over time, and no Stockholder Shares may be pledged
               without the prior written consent of [Ovonyx], which consent may
               be withheld in [Ovonyx’s] sole discretion. Each Stockholder’s
               “Pro Rata Share” will be based upon such Stockholder’s
               proportionate ownership of all Stockholder Shares on a fully-
               diluted basis.

                      ....

                       4.9    Transfers in Violation of Agreement. Any Transfer
               or attempted Transfer of any Stockholder Shares in violation of any
               provision of this Agreement will be void, and [Ovonyx] will not
               record such Transfer on its books or treat any purported transferee
               of such Stockholder Shares as the owner of such shares for any


                                                13


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                purpose.36

       In addition to the rights Intel had under Section 4 of the 2000 Stockholders Agreement, to

a 30-day notice of any transfer of Ovonyx stock, and the third tier right to elect to purchase its

“Pro Rata Share of the Stockholder Shares,” Intel also had an exclusive “Right of First Offer”

under Section 6 of the agreement, if a “Sale Event” occurred. The term “Sale Event” was

defined in detail, but essentially meant events that could cause a change in control of Ovonyx or

a sale of most of Ovonyx’s assets:

                “Sale Event” means (a) any sale or issuance or series of sales
                and/or issuances of shares of [Ovonyx’s] capital stock by [Ovonyx]
                or any holders thereof which results in any Person or group of
                affiliated Persons (other than the owners of Common Stock as of
                the date of the Purchase Agreement or any of their Affiliates)
                owning capital stock of [Ovonyx] possessing the voting power
                (under ordinary circumstances) to elect a majority of [Ovonyx’s]
                board of directors, (b) any sale or transfer of more than 50% of
                the assets of [Ovonyx] and its subsidiaries on a consolidated
                basis (measured by either book value in accordance with
                generally accepted accounting principles consistently applied
                or fair market value determined in the reasonable good faith
                judgment of [Ovonyx’s] board of directors) in any transaction
                or series of transactions (other than sales in the ordinary
                course of business) or (c) any merger or consolidation to which
                [Ovonyx] is a party, except for a merger in which [Ovonyx] is the
                surviving corporation and, after giving effect to such merger, the
                holders of [Ovonyx’s] outstanding capital stock possessing a
                majority of the voting power (under ordinary circumstances) to
                elect a majority of [Ovonyx’s] board of directors immediately prior
                to the merger will own [Ovonyx’s] outstanding capital stock
                possessing the voting power (under ordinary circumstances) to
                elect a majority of [Ovonyx’s] board of directors.37

Intel’s Right of First Offer was provided in the very detailed Section 6:


       36
            2000 Stockholder Agreement at MTI00000127-MTI00000129 (bold added).
       37
            2000 Stockholders Agreement at MTI00000122 (emphasis added).

                                                 14


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                      Section 6. Intel Right of First Offer.

                        6.1    Sale Event Notice. If after the date of this
               Agreement [Ovonyx] receives a bona fide offer relating to a
               proposed Sale Event from an unaffiliated third party and the Board
               determines to enter into negotiations with such third party with
               respect to such offer, of if the Board determines in good faith to
               solicit one or more unaffiliated third parties with respect to a
               proposed Sale Event, then [Ovonyx] will so advise Intel within
               three business days after such determination by the Board. At least
               45 days prior to entering into a definitive agreement with respect to
               any such Sale Event, [Ovonyx] will deliver a written notice (a
               “Sale Event Notice”) to Intel. The Sale Event Notice will
               disclose in reasonable detail the proposed terms and conditions of
               the Sale Event.

                       6.2     Intel Election. Intel may elect to enter into the
               Sale Event on the terms and conditions specified in the Sale
               Event Notice by delivering written notice of such election to
               [Ovonyx] as soon as practicable but in any event within 45 days
               after the delivery of the Sale Event Notice.

                        6.3     Consummation of Sale Transaction. If Intel elects
               to enter into the Sale Event on the terms and conditions specified
               in the Sale Event Notice, the Sale Event will be consummated as
               soon as practicable after the delivery of Intel’s election notice, but
               in any event within 120 days after the delivery of the Sale Event
               Notice. If Intel does not elect to enter into the Sale Event,
               [Ovonyx] may, within 120 days after the earlier to occur of the
               expiration of Intel’s 45-day first offer period or the delivery of
               written notice to [Ovonyx] by Intel that Intel does not intend to
               enter into the Sale Event, enter into a definitive agreement relating
               to a Sale Event Notice with one or more unaffiliated third parties
               upon terms and conditions which, in the aggregate, are not
               materially more favorable to such third party or parties than offered
               to Intel in the Sale Event Notice. [Ovonyx] may thereafter
               consummate any Sale Event with respect to which it has entered
               into a definitive agreement during the foregoing 120-day period.

                       6.4     No Assignment of Rights. The rights granted to
               Intel pursuant to this Section 6 may not be sold, transferred,
               assigned or otherwise dispose[d] of by Intel and may not be
               exercised by Intel on behalf of or pursuant to the direction of any


                                                15


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                 other Person, including any transferee of Intel’s Stockholder
                 Shares.

                         6.5      Termination. The rights of Intel under this Section
                 6 will terminate as of the date Intel and its Affiliates cease to own
                 beneficially an aggregate of at least 4,442 Stockholder Shares (as
                 such number of Stockholder Shares may be adjusted to reflect any
                 stock split, stock dividend, reverse stock split, combination of
                 shares, recapitalization or similar transaction). The provisions of
                 this Section 6 will terminate immediately prior to the
                 consummation of a Qualified Public Offering.38

       Under the 2000 Stockholders Agreement, all of the Stockholders of Ovonyx had

obligations if a sale of Ovonyx stock or assets constituting a “Sale Event” was approved. Section

7 of the 2000 Stockholders Agreement stated, in relevant part:

                        Section 7.      Obligations in Connection With Approved Sale.

                         7.1    Approved Sale. Subject to the rights of Intel
                 under Section 6, if the Board and the holders of a majority of the
                 Stockholder Shares then outstanding, voting together as a single
                 class, approve a Sale Event involving a Person or group of Persons
                 who are not Affiliates of [Ovonyx] (an “Approved Sale”), then all
                 holders of Stockholder Shares will consent to and raise no
                 objections against the Approved Sale, and if the Approved Sale
                 is structured as a sale of stock, all holders of Stockholder
                 Shares will agree to sell their Stockholder Shares on the terms
                 and conditions approved by the Board and the holders of a
                 majority of the Stockholder Shares then outstanding. The
                 holders of Stockholder Shares will take all necessary and desirable
                 actions in connection with the consummation of the Approved
                 Sale.39

       Paragraph 9.10 referenced certain other related agreements the parties had entered into,

and stated that those agreements, together with the 2000 Stockholders Agreement, “constitute[d]



       38
            Id. at MTI00000131-MTI00000132 (bold added) (italics in original).
       39
            Id. at MTI00000132 (bold added).

                                                  16


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the entire agreement among the parties.”40 And Paragraph 9.10 expressly defined the extent to

which the agreement superseded the 1998 Contract. It stated:

                          9.10 Entire Agreement. This Agreement (including the
                 Purchase Agreement, the Registration Agreement dated as of the
                 date hereof between [Ovonyx] and its stockholders, the Stock
                 Purchase Warrant dated as of the date hereof issued by [Ovonyx] to
                 Intel, the Collaboration and License Agreement dated as of the date
                 hereof between [Ovonyx] and Intel, the Corporate Non-Disclosure
                 Agreement (number 2541617) dated as of July 6, 1999 between
                 [Ovonyx] and Intel and the Confidentiality Side Letter dated as of
                 the date hereof between [Ovonyx] and Intel) constitutes the entire
                 agreement among the parties and supersedes any prior
                 understandings agreements, or representations by or among the
                 parties, written or oral, that may have related in any way to the
                 subject matter hereof. The provisions in this Agreement and the
                 foregoing agreements will be deemed to supersede any
                 conflicting or inconsistent provisions contained in the [1998
                 Contract] between [Lowrey] and [ECD] dated as of December
                 17, 1998, including the Ovonyx-ECD Commercialization
                 Acknowledgment thereunder (collectively, the “[1998
                 Contract]”), and all other provisions of the Commercialization
                 Contract will remain in full force and effect.41

D. Ovonyx’s payments of royalties to ECD from 2000 until 2012

       After entering into the 2000 Stockholders Agreement, and consistent with paragraph 10

of the 1998 Contract, ECD made a written request to Ovonyx for the payment of royalties, and

Ovonyx started paying a 0.5% royalty to ECD beginning upon the first revenues in 2000.42

Ovonyx continued to pay royalties to ECD until 2012.43 From June 1999 to May 23, 2012,

       40
            Id. at MTI00000137.
       41
            Id. at MTI00000137-MTI00000138 (bold added).
       42
           See First Am. Compl. at 12 ¶ 57; “Liquidation Trustee’s Omnibus Opposition to the Motions
to Dismiss Filed by Micron Technology, Inc., Ovonyx, Inc, Tyler Lowrey, Ovonyx Memory Technology,
LLC and Intel Corporation” (Docket # 69, the “Trustee’s Omnibus Objection”) at 8.
       43
            See First Am. Compl. at ¶ 57; Trustee’s Omnibus Objection (Docket # 69) at 8-9.

                                                   17


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Ovonyx earned over $58 million in revenues from sub-licensing the intellectual property it

obtained under the 1999 Licensing Agreement, and paid ECD 0.5% of those revenues in

royalties.44 “In at least one known instance, including on May 23, 2012, the Ovonyx Board of

Directors approved and ratified Royalty payments to ECD.”45

E. ECD’s bankruptcy case

       On February 14, 2012, ECD filed a voluntary petition for relief under Chapter 11,

commencing Case No. 12-43166.46

       1. The Chapter 11 Plan and related motions and orders

       On June 20, 2012, ECD filed the Plan (“Second Amended Joint Plan of Liquidation of

Energy Conversion Devices, Inc. and United Solar Ovonic LLC”).47 Article VII of the Plan dealt

with executory contracts and unexpired leases. It provided:

                         A.     Executory Contracts and Unexpired Leases.
                 Subject to the occurrence of the Effective Date, the entry of the
                 Confirmation Order shall serve as an order assuming the Plan
                 Support Agreement unless the Plan Support Agreement has been
                 expressly terminated prior thereto. Subject to the assumptions
                 provided in Sections X.C and X.D below, unless already
                 assumed or rejected by Final Order of the Bankruptcy Court,
                 all other executory contracts and unexpired leases of the
                 Debtors which are not the subject of a pending application to
                 assume as of the Effective Date, shall be deemed rejected.48

The Plan, was modified by a Plan supplement and some amendments filed on July 16, 2012 (the

       44
            See First Am. Compl. at ¶¶ 61-62; Trustee’s Omnibus Objection (Docket # 69) at 8-9.
       45
            First Am. Compl. at ¶ 63.
       46
            Docket # 1 in Case No. 12-43166.
       47
            Docket # 754-1 in Case No. 12-43166.
       48
            Plan (Docket # 754-1 in Case No. 12-43166) at 24-25 (bold and underlining added).

                                                   18


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“Plan Supplement”).49 The Plan Supplement stated, in relevant part:

                         Article VII of the Plan provides that, subject to the
                 assumptions provided in Section X.C and X.D of the Plan, all
                 executory contracts and unexpired leases of the Debtors which are
                 not the subject of a pending application to assume shall be deemed
                 rejected as of the Effective Date of the Plan. The Debtors are
                 amending the Plan to provide that the executory contracts and
                 unexpired leases identified on the schedule attached as Exhibit 3,
                 to the extent such contract or unexpired lease is an executory
                 contract under 11 U.S.C. [§] 365 of the Bankruptcy Code, is
                 assumed by the Debtors as of the Effective Date whether or not an
                 application to assume the contract is pending as of the Effective
                 Date. Accordingly, the following sentence is added to the end of
                 Paragraph A of Article VII of the Plan:

                         “Notwithstanding the foregoing, the executory
                         contracts and unexpired leases designated by the
                         Debtors on Exhibit 3 to the Plan Supplement and
                         Amendment to the Second Amended Joint Plan of
                         Liquidation of Energy Conversion Devices, Inc. and
                         United Solar Ovonic LLC, together with any
                         additional executory contract identified by the
                         Debtors by filing a Notice of Assumption prior to
                         the Effective Date of the Plan (collectively, the
                         “Plan Assumed Contracts”) will be assumed
                         pursuant to Section 1123(b)(2) of the Bankruptcy
                         Code by the Debtors upon the Effective Date of the
                         Plan. The Debtors are authorized to assign any Plan
                         Assumed Contract by filing a motion with the
                         Bankruptcy Court to approve such assignment at
                         any time prior to the closing of the Chapter 11
                         Cases, which assignment shall be governed by
                         Section 365 of the Bankruptcy Code, and the
                         Bankruptcy Court retains jurisdiction to decide such
                         assignment motions.”50



       49
          “Plan Supplement and Immaterial Amendments to the Second Amended Joint Plan of
Liquidation of Energy Conversion Devices, Inc. and United Solar Ovonic LLC” (Docket # 983 in Case
No. 12-43166).
       50
            Plan Supp. (Docket # 983 in Case No. 12-43166) at 2-3 ¶ 4.

                                                   19


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       Exhibit 3 to the Plan Supplement listed the executory contracts that the Debtor ECD was

assuming, as of the “Effective Date” of the Plan.51 In that exhibit, ECD listed the 1999 License

Agreement and the 2000 Stockholders Agreement as executory contracts being assumed. But

Exhibit 3 did not list the 1998 Contract.52

       Also on July 16, 2012, ECD filed a motion entitled “Motion for an Order Authorizing the

Assumption and Cure of Executory Contracts” (the “Assumption Motion”).53 The Assumption

Motion provided in relevant part:

                                           RELIEF REQUESTED

                          4. Attached to this [Assumption] Motion as Exhibit 6 is a
                 schedule (the “Contract and Cure Schedule”), which includes a
                 description of each Contract to be assumed and the amount, if any,
                 necessary to cure such Contracts (the “Cure Amounts”) pursuant
                 to section 365 of the Bankruptcy Code.
                 ....
                          6. No Contract will be deemed assumed until the later of:
                 (i) the Effective Date of the Plan; or (ii) the entry of an Order
                 authorizing the assumption.

                        7. The Debtors anticipate a potential assignment of one or
                 more of the Contracts in connection with or subsequent to its
                 assumption. The Debtors will supplement this [Assumption]
                 Motion or file an additional motion seeking such assignment.54

The proposed order attached to the Assumption Motion provided, in relevant part: “2. Pursuant

to Section 365(a) of the Bankruptcy Code, each Contract listed on Exhibit 6 to the [Assumption]




       51
            Ex. 3 to Docket # 983 in Case No. 12-43166 at pdf. pp. 34-42.
       52
            See id. at pdf. p. 38, pdf. p. 40.
       53
            Docket # 981 in Case No. 12-43166.
       54
            Id. at 2 (bold in original).

                                                   20


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Motion is assumed effective as of the date listed on Exhibit 6.”55 The 1999 License Agreement

and the 2000 Stockholders Agreement were both listed on Exhibit 6 to the Assumption Motion,

but the 1998 Contract was not listed.56 No order was ever entered regarding the Assumption

Motion.

       On July 30, 2012, the Court entered an order confirming the Plan (the “Confirmation

Order”).57 Paragraph 4.k of the Confirmation Order modified Article VII.A of the Plan, which

dealt with executory contracts and unexpired leases:

                  k.       The following is added to the end of Article VII.A:

                           Notwithstanding the foregoing, the executory
                           contracts and unexpired leases designated by the
                           Debtors on Exhibit 3 to the Plan Supplement and
                           Amendment to the Second Amended Joint Plan of
                           Liquidation of Energy Conversion Devices, Inc.
                           and United Solar Ovonic LLC [Docket No. 983],
                           together with any additional executory contract
                           identified by the Debtors by filing a Notice of
                           Assumption prior to the Effective Date of the Plan
                           (collectively, the “Plan Assumed Contracts”) will be
                           assumed pursuant to Section 1123(b)(2) of the
                           Bankruptcy Code by the Debtors upon the Effective
                           Date of the Plan. . . . 58

       On August 24, 2012, the Debtors filed an amended Plan supplement and amendments to




       55
            Id. at pdf. p. 6.
       56
            Id. at pdf. pp. 7-14.
       57
          “Findings of Fact, Conclusions of Law, and Order Approving Disclosure Statement and
Confirming Second Amended Joint Plan of Liquidation of Energy Conversion Devices, Inc. and United
Solar Ovonic LLC” (Docket # 1064 in Case No. 12-43166).
       58
            Confirmation Order (Docket # 1064 in Case No. 12-43166) at 12 ¶ 4.k.

                                                     21


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the Plan (the “Amended Plan Supplement”).59 The Amended Plan Supplement provided notice

that John Madden had been selected as the Liquidation Trustee and amended Exhibit 3 to the

Plan Supplement.60 The Amended Plan Supplement listed the executory contracts that the

Debtor ECD was assuming under the Plan as of the “Effective Date” of the Plan.61 It listed the

1999 License Agreement and the 2000 Stockholders Agreement as executory contracts that ECD

was assuming, but it did not list the 1998 Contract.62

       On August 28, 2012, the Debtors provided notice that “[t]he conditions to effectiveness

[of the Plan] have now been satisfied and accordingly, . . . that the Effective Date of the Plan is

August 28, 2012.”63 As of August 28, 2012, therefore, ECD assumed the 1999 License

Agreement and the 2000 Stockholders Agreement, but ECD did not assume the 1998 Contract.

As a result, according to the Defendants, the 1998 Contract was rejected, effective August 28,

2012. After that date, Ovonyx stopped paying royalties to ECD.64

       2. ECD’s sale of Ovonyx stock to Micron and ECF’s assumption and assignment to
          Micron of its rights under the 2000 Stockholders Agreement

       Before the Effective Date of the confirmed Plan, on August 3, 2012, ECD filed a motion


       59
           “Amended Plan Supplement and Immaterial Amendments to the Second Amended Joint Plan
of Liquidation of Energy Conversion Devices, Inc. and United States Solar Ovonic LLC” (Docket # 1212
in Case No. 12-43166).
       60
            Id. at 1-2 ¶¶ 1.
       61
            Am. Ex. 3 to Docket # 1212 in Case No. 12-43166 (“Amended List of Assumed Contracts”)
at pdf. pp. 3-19.
       62
            See id. at pdf. p. 38, pdf. p. 40.
       63
         Docket # 1220 in Case No. 12-43166 (“Notice of Effective Date of Debtors’ Second
Amended Joint Plan of Liquidation of Energy Conversion Devices, Inc. and United Solar Ovonic LLC”).
       64
            First Am. Compl. at ¶ 79.

                                                   22


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(the “Sale and Assignment Motion”), seeking an order authorizing (1) the sale of ECD’s stock in

Ovonyx to the “Purchaser” Micron, for $12,000,000, “free and clear of all liens, claims, interests

and encumbrances,” and (2) the assumption by ECD of the 2000 Stockholders Agreement and

the assignment of its rights under that agreement to Micron.65 At the time, ECD had a “38.6%

equity interest (35.2% on a fully diluted basis) in Ovonyx and the related [2000] Stockholders

Agreement.”66 The Sale and Assignment Motion provided, in part:

                          9. The [2000] Stockholders Agreement governs certain
                  rights of [ECD], Ovonyx and certain other shareholders of Ovonyx
                  with respect to corporate governance and other matters of Ovonyx
                  and its respective shareholders. . . .

                  ....

                          14. The Equity Purchase Agreement is subject to the
                  [F]irst [O]ffer [R]ight contained in the Stockholders
                  Agreement, but free and clear of certain participation rights of
                  other stockholders of Ovonyx, Inc. to participate by selling their
                  shares on the same terms as the Equity Purchase Agreement in lieu
                  of the Debtor’s shares.67

The Sale and Assignment Motion stated that “[ECD] issued notice of the contemplated

Transaction to the other parties to the [2000] Stockholders Agreement on August 3, 2012” as

required by Section 4.3 of the 2000 Stockholders Agreement, and as required by the Purchaser

Micron, requested that the Sale and Assignment Order “make clear that certain anti-assignment

provisions of the [2000] Stockholders Agreement are unenforceable in connection with the




       65
            Docket # 1085 in Case No. 12-43166 at pdf. pp. 1-2, 4.
       66
            Id. at pdf. p. 4.
       67
            Id. at pdf. pp. 4-5 (bold added).

                                                   23


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Transaction pursuant to section 365(f) of the Bankruptcy Code.”68 Those sections were 2.4

(“purport[ing] to prevent any assignee of [ECD] from obtaining [‘the right to designate two of

Ovonyx’s [B]oard members’]”); 4.2 (“contain[ing] a 30 day election period that may prevent the

closing of the Transaction”); and 4.4 (“contain[ing] a purported right, subject to the Purchaser

agreeing, of other stockholders to participate in the Transaction by selling their shares in lieu of

the Debtor selling its shares”).69

        The Sale and Assignment Motion did not contain any reference to the 1998 Contract or

the 1999 Licensing Agreement.

        A copy of the Equity Purchase Agreement, signed and dated August 3, 2012, was

attached to the Sale and Assignment Motion.70 It contained the following representations and

warranties by ECD, which are cited in the Defendants’ motions:

                           4.5         Title.

                          (a) General. ECD has good, valid, marketable and
                  undivided title to the Ovonyx Shares and the [2000] Stockholders
                  Agreement free and clear of all Claims, Interests and
                  Encumbrances (except to the extent that the express terms of the
                  [2000] Stockholders Agreement themselves constitute
                  Encumbrances), and, subject to entry of the Bankruptcy Sale
                  Order, upon the Closing Purchaser will be vested with all
                  right, title and interest of ECD, at and as of the Closing, in, to
                  and under the Ovonyx Shares and [2000] Stockholders
                  Agreement free and clear of all Claims, Interests and
                  Encumbrances (except to the extent that the express terms of
                  the [2000] Stockholders Agreement themselves constitute
                  Encumbrances).


        68
             Id. at pdf. pp. 10 n.3, 9 ¶ 26.
        69
             Id. at 9 ¶ 27, 10 ¶ 29.
        70
             Id. at pdf. pp. 36-70.

                                                    24


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                        (b) Ovonyx Shares. The Ovonyx Shares are validly issued
               and outstanding and are fully paid and nonassessable. The Ovonyx
               Shares are not subject to any agreement, contract, commitment
               or understanding, including any agreement, contract,
               commitment or understanding restricting or otherwise relating
               to the voting, dividend rights or transfer of the Ovonyx Shares,
               other than this Agreement and the [2000] Stockholders
               Agreement. Other than the Ovonyx Shares and the [2000]
               Stockholders Agreement: (i) ECD does not own, beneficially or of
               record, any shares of capital stock or other equity interests in
               Ovonyx or any options, warrants or other securities or rights
               convertible into or exchangeable for any shares of capital stock or
               other equity interests in Ovonyx; (ii) to ECD’s Knowledge, there
               are no agreements, contracts, commitments, understandings or
               other rights outstanding that provide for, or obligate any
               Person to enter into any agreement, contract, commitment,
               understanding or to grant other rights that provide for, the
               sale or issuance to ECD of any shares of capital stock or other
               equity interests in Ovonyx or any options, warrants or other
               securities or rights convertible into or exchangeable for any
               shares of capital stock or other equity interests in Ovonyx; and
               (iii) to ECD’s Knowledge, there is no agreement, contract,
               commitment or understanding giving ECD a right to receive
               benefits similar to the rights enjoyed by or accruing to holders
               of capital stock of Ovonyx.

                       (c) [2000] Stockholders Agreement. The [2000]
               Stockholders Agreement is in full force and effect and is the valid
               and binding obligation of each party thereto, enforceable against
               each party thereto in accordance with its terms, subject to
               bankruptcy and other Laws affecting creditors’ rights and to
               general principles of equity, including principles of commercial
               reasonableness, good faith and fair dealing (regardless of whether
               enforcement is sought in a proceeding in Law or in equity). Neither
               ECD nor, to ECD’s Knowledge, any other Person is in breach or
               violation of or default under, the [2000] Stockholders Agreement.
               To ECD’s Knowledge, no event has occurred and no circumstances
               exist which, if not remedied, would result in such a breach,
               violation or default (with or without notice or lapse of time, or
               both) or would give rise to a right of payment, termination,
               modification, acceleration or cancellation under any provisions of
               the [2000] Stockholders Agreement. A true and complete copy of
               the [2000] Stockholders Agreement, as amended to Execution


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                 Date, is attached hereto as Exhibit C.
                 ....
                         [4.6](g) No Other Outstanding Equity Interests. Except as
                 set forth in the Ovonyx Capitalization Schedule attached hereto:

                        (i) no other capital stock of Ovonyx is authorized, issued or
                 outstanding;

                         (ii) there are no outstanding options, warrants or other
                 securities or rights convertible into or exchangeable for any shares
                 of capital stock or other equity interests in Ovonyx;

                         (iii) except for the Ovonyx Stockholder’s Agreement, there
                 are no agreements, contracts, commitments, understandings or
                 other rights outstanding that provide for, or obligate Ovonyx to
                 enter into any agreement, contract, commitment or understanding
                 or to grant other rights that provide for, the sale or issuance by
                 Ovonyx of any securities contemplated by clause (i) or (ii) above;
                 and

                        (iv) there are no agreements, contracts, commitments or
                 understandings giving any Person a right to receive benefits
                 similar to the rights enjoyed by or accruing to holders of
                 capital stock of Ovonyx.71

       On August 22, 2012, the Court entered an order granting the Sale and Assignment Motion

(the “Sale and Assignment Order”), which provided, in relevant part:72

                         NOW THEREFORE, IT IS ORDERED THAT:

                         1. The Motion is GRANTED, as further described herein.
                 ....
                        3. The Equity Purchase Agreement, attached to the
                 [Sale and Assignment] Motion as Exhibit 6-A, and all of the
                 terms and conditions thereof, together with all other related
                 documents and instruments, are approved and incorporated
                 herein in their entirety.



       71
            Id. at pdf. pp. 48-50 (bold added).
       72
            Docket # 1194 in Case No. 12-43166.

                                                  26


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               ....

                        7. Pursuant to Bankruptcy Code sections 105(a), 363(b),
               363(f) and 365(f), the Debtor is authorized and directed to transfer
               the Purchased Assets to the Purchaser and, subject only to the
               [F]irst [O]ffer [R]ight set forth in section 4.3 of the Assigned
               Contract but free and clear of any participation right of other
               Ovonyx stockholders, upon the Closing, the transfer of the
               Purchased Assets to Purchaser under the Equity Purchase
               Agreement will be a legal, valid and effective transfer, and will
               vest the Purchaser with all right, title and interest of the
               Debtor, at and as of the Closing, to the Purchased Assets, free
               and clear of all of the following (collectively, the “Interests”): . .
               transfer restrictions under any shareholder or similar
               agreements or any other agreements, arrangements, contracts,
               commitments, understandings, obligations or interests of any
               kind or nature whether known or unknown, legal or equitable,
               matured or unmatured, contingent or noncontingent,
               liquidated or unliquidated, asserted or unasserted, whether
               arising prior to or subsequent to the commencement of this
               chapter 11 case, whether imposed by agreement,
               understanding, law, equity or otherwise, including, but not
               limited to: . . . (b) those Interests arising under all rights of first
               refusal . . . provided, however, that all such Interests, to the extent
               applicable, attach to the cash proceeds of the sale of the Purchased
               Assets in the order of their priority, with the same validity, force
               and effect which they now have as against the Purchased Assets,
               subject to any claims and defenses the Debtor or its estate may
               possess with respect thereto.
               ....
                        15. Purchaser would not have entered into the Equity
               Purchase Agreement and would not have consummated the
               Transaction, thus adversely affecting the Debtor, its estate and
               creditors, if the sale of the Purchased Assets to the Purchaser
               and the Debtor’s assumption of the Assigned Contract and the
               assignment or transfer of the Assigned Contract to the
               Purchaser were not free and clear of all Interests of any kind
               or nature, as set forth in this Order and including, without
               limitation, those provisions set forth in paragraph 11 above, or
               if the Purchaser would, or in the future could, be liable for any
               Interests.
               ....
                        20. This Order (a) shall be effective as a determination that,


                                                 27


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                 on the Closing, all Interests of any kind or nature whatsoever
                 existing as to the Purchased Assets prior to the Closing have been
                 unconditionally released, discharged and terminated, and that the
                 conveyances described herein have been effected and (b) shall be
                 binding upon and shall govern the acts of all entities. . . . Upon the
                 Closing, the Debtor and any persons holding an Interest in the
                 Purchased Assets as of the Closing are authorized and directed to
                 execute such documents and take all other actions as may be
                 reasonably necessary to release their Interests in the Purchased
                 Assets, if any, as such Interests may have been recorded or may
                 otherwise exist. Without limiting the foregoing, Ovonyx is hereby
                 ordered, immediately upon the Closing (including, for the
                 avoidance of doubt, in the event the Closing occurs prior to the
                 expiration of the applicable 30 day election period set forth in
                 section 4.2 of the Assigned Contract and the Transaction remains
                 subject to rescission and unwinding as provided in the Equity
                 Purchase Agreement) to make such entries in its books and
                 records, including its stock ledger, as are necessary to reflect the
                 transfer of the Ovonyx Shares from the Debtor to Purchaser and
                 Purchaser’s resulting ownership of the Ovonyx Shares and to treat
                 Purchaser as the record and beneficial owner of the Ovonyx Shares
                 for all purposes.
                 ....
                          26. Nothing contained in any chapter 11 plan confirmed in
                 these cases or the order confirming any such plan shall conflict
                 with or deviate from the terms of this Order.73

       After the sale of ECD’s stock to Micron closed, Ovonyx stopped making royalty

payments to ECD. Ovonyx never provided notice to ECD that it was going to stop the payments.

The First Amended Complaint alleges that “Ovonyx received at least $6,654,569 in revenues for

fiscal years ending May 31 for year 2013, 2014, and 2015” but did not pay ECD 0.5% of this

amount.74

F. The series of transactions in July 2015



       73
            Id. at pp. 5-7, 10-11, 14 (bold added).
       74
            First Am. Compl. 15 ¶¶ 79-80 (bold omitted).

                                                      28


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        The First Amended Complaint describes a series of related transactions that occurred in

July 2015.75

        1. The merger of Oscar Merger Corp into Ovonyx

        On July 12, 2015, Micron, Oscar Merger Corp. (“Oscar”), which was a wholly-owned

subsidiary of Micron, and Ovonyx entered into a agreement entitled “Agreement and Plan of

Merger” (the “Merger Agreement”).76 Under the Merger Agreement, Oscar was “merged with

and into [Ovonyx] (the ‘Merger’), the separate corporate existence of [Oscar] . . . cease[d], and

[Ovonyx] . . . continue[d] as the surviving corporation.”77 The general effect of the Merger was

that “all the property, rights, privileges, powers and franchises of [Ovonyx] and [Oscar]” vested

in Ovonyx “and all debts, liabilities and duties” of Ovonyx and Oscar became “the debts,

liabilities and duties of Ovonyx.”78 The end result of the Merger was that after the “Effective

Time” of the Merger, Micron owned 100% of the equity of the surviving Ovonyx entity. All

stock and stock options of Ovonyx that existed prior to the Merger were extinguished, and

Micron’s shares in Oscar were converted to 100% of the shares of the surviving Ovonyx entity,

thereby making the surviving Ovonyx entity a wholly-owned subsidiary of Micron.79 Micron

also owned all voting rights to elect the Board of Directors of the surviving Ovonyx entity.



        75
             See id. at 16 ¶ 85 through 24 ¶ 125.
        76
           See Merger Agreement at 1. An executed copy of the Merger Agreement is attached as
Exhibit 8 to Docket # 40 in Adversary Proceeding No. 18-4320, and was filed under seal.
        77
             Id. at 11 ¶ 2.1 (“The Merger”) (underlining in original).
        78
             Id. at 11 ¶ 2.3 (“General Effects of the Merger”).
        79
             See id. at 12-13 ¶ 2.6 (“Effect of Merger on Capital Stock”); see also First Am. Compl. at 16
¶ 85.

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       The Merger Agreement summarized the end result of the Merger in this way:

                         B. On the terms and subject to the conditions set forth in
                 this [Merger] Agreement, as of the Effective Time of the Merger
                 [(“[t]he time of filing of the Articles of Merger” with the Nevada
                 state Secretary of State)] and pursuant thereto, (i) all of the issued
                 and outstanding capital stock of [Ovonyx] immediately prior to the
                 Effective Time will be converted into the right to receive the
                 consideration set forth herein, (ii) all of the issued and outstanding
                 options to acquire shares of capital stock of [Ovonyx] will be
                 cancelled and extinguished and will be converted into the right to
                 receive the consideration set forth herein, and (iii) [Micron], which
                 is [Oscar’s] sole stockholder, will become the sole stockholder and
                 the sole holder of any rights to acquire capital stock of [Ovonyx].80

       In the Merger Agreement, Ovonyx represented that, with exceptions not relevant here, it

was

                 in compliance in all material respects with, and has not breached,
                 violated, or defaulted under in any material respect, or received
                 notice that it has breached, violated or defaulted under, any of the
                 terms or conditions of any [Ovonyx] Contract, nor to the
                 Knowledge of [Ovonyx] has there occurred any event or condition
                 that could constitute such a breach, violation or default in any
                 material respect with the lapse of time, giving of notice or both. . . .
                 [T]o [Ovonyx’s] Knowledge, no party obligated to [Ovonyx]
                 pursuant to any [Ovonyx] Contract is subject to any default
                 thereunder.81

Lowrey, who was still a shareholder of Ovonyx until the Merger, “received in excess of . . . $20.6

million on account of . . . the [M]erger.”82

       2. The sale and transfer of the intellectual property of Ovonyx to IPLLC

       The Merger Agreement included a provision obligating Ovonyx,


       80
            Merger Agreement at 1 ¶ B (“Recitals”).
       81
            Id. at 27 ¶ 3.14(c) (“Agreements, Contracts and Commitments”).
       82
            First Am. Compl. at 18 ¶ 92 (bold omitted).

                                                    30


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                 [u]pon receipt of instruction from [Micron] to . . . immediately
                 prior to the Effective Time . . . enter into a patent sale and transfer
                 agreement with Carlow Innovations, LLC (“IPLLC”), [(the
                 predecessor of Defendant Ovonyx Memory Technology, LLC
                 (“OMT”))] on terms and conditions acceptable to [Micron] in
                 its sole discretion, providing for the transfer and sale of all of
                 [Ovonyx] Registered Intellectual Property to IPLLC
                 immediately prior to the Effective Time[.]83

       On July 31, 2015, IPLLC (predecessor to Defendant OMT) and Ovonyx entered into an

agreement entitled “Asset Sale and Transfer Agreement” (the “OMT Agreement”), as

contemplated by Merger Agreement.84 Under that agreement, “OMT agreed to pay to Ovonyx

each calendar quarter a percentage of certain licensing revenues, ranging from 10% to 18%,”85

but “OMT had no obligation to pay Ovonyx any licensing revenues that OMT received in the

first thirty days after execution of the OMT Agreement.86 The transfer of patent rights by

Ovonyx to OMT under the OMT Agreement “consisted of the substantial majority of the assets

of Ovonyx.”87

       3. The grant of royalty-free licenses by OMT to Intel and to Micron.

       Also, on July 31, 2015, IPLLC (predecessor to OMT) entered into a “License Agreement”




       83
            Merger Agreement at 43 ¶ 6.13 (bold added).
       84
           A copy of the OMT Agreement is attached as Exhibit 6-4 to Docket # 58 (which was filed
under seal).
       85
          First Am. Compl. at 19 ¶ 101 (bold omitted). The First Amended Complaint treats IPLLC and
OMT as the same entity and uses both names interchangeably because IPLLC is the predecessor to OMT.
The Court will do the same to avoid confusion.
       86
            Id. at 19 ¶ 103.
       87
            Id. at 19 ¶ 100.

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with Intel (the “OMT/Intel License Agreement”).88 The First Amended Complaint alleges that

under the OMT/Intel License Agreement, OMT granted to Intel a perpetual world-wide, royalty-

free license.89 Also in July 2015, OMT granted to Micron a fully paid-up, perpetual, irrevocable,

non-terminable, world-wide royalty-free license.90

        Neither Ovonyx nor Lowrey provided notice to the Trust of any of the transactions that

occurred in July 2015,91 which the Court will refer to collectively as “the July 2015

Transactions.”

G. The Trust’s demand for royalty payments from Ovonyx

        “On June 6, 2018, the Trust made demand on Ovonyx to pay all owed Royalties and to

confirm that Ovonyx will pay future Royalties. Ovonyx has refused to pay the Royalty.”92

H. The First Amended Complaint

        On July 12, 2018, almost 6 years after the Effective Date of the Plan, the Trust filed a




        88
             A copy of the OMT/Intel License Agreement is attached as Exhibit 6-5 to Docket # 58.
        89
            First Am. Compl. at 16-18 ¶¶ 82, 90, 22 ¶ 118; see also Ex. 6-5 to Docket # 58 at 1-2, 6; Tr. of
Hr’g on Mots. to Dismiss (Docket # 173) at 140 (“OMT entered into a separate deal with Intel giving
Intel [a] perpetual royalty free license for $15,000,000.”). However, during oral argument, the Trust’s
counsel also made statements that implied that it was Ovonyx which had granted Intel the perpetual
world-wide royalty-free license. For example, counsel for the Trust stated that, despite transferring
substantially all of its assets to OMT, Ovonyx “entered into an amendment of an existing license
agreement” with Intel to assure that Intel would have a perpetual world-wide royalty-free license.” (See
id. at 96.) Counsel for the Trust also stated that “[u]nder Section 2.5 of the sale agreement, Ovonyx
could, and . . . did, grant a royalty free license to all of the transferred assets to one third party which was
Intel.” (Id. at 141.) Whether or not Intel obtained its perpetual world-wide license from OMT or
Ovonyx is not material to the Court’s decision on the motions to dismiss.
        90
             First Am. Compl. at 16 ¶ 83.
        91
             See id. at 18-19 ¶ 96.
        92
             Id. at 22 ¶ 116.

                                                      32


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complaint commencing this adversary proceeding.93 On August 2, 2018, the Trust filed a first

amended complaint (the “First Amended Complaint”), which is now the operative complaint.94

The First Amended Complaint contains seven unnumbered counts. Five of the seven counts (the

first through fourth and the sixth) seek damages based on alleged breaches of the First Refusal

Right and of the Royalty Right in the 1998 Contract and the 1999 Licensing Agreement. Those

alleged breaches include: (1) the failure of Ovonyx and Lowrey to give notice to ECD of the July

2015 Transactions, including the Merger Agreement and the OMT Agreement, so that ECD

could exercise its First Refusal Right; and (2) the failure of Lowrey to cause Ovonyx to pay ECD

.05% of Ovonyx’s licensing revenues in accordance with the Royalty Right. The fifth and

seventh counts of the First Amended Complaint seek to avoid transfers that occurred as a result

of the July 2015 Transactions and related relief.

       More specifically, the first count of the First Amended Complaint is against Ovonyx and

Lowrey for breach of the 1998 Contract and the 1999 Licensing Agreement.95 The second count

is against only Micron and is based on the doctrines of alter ego/successor liability.96 It alleges,

in part, that “Micron acquired all of the stock of Ovonyx in July 2015[,] . . . [and] Micron is

liable for” Ovonyx’s material breaches of the 1998 Contract and the 1999 Licensing

Agreement.97



       93
            Docket # 1.
       94
            Docket # 8.
       95
            First Am. Compl. at ¶¶ 126-36.
       96
            Id. at ¶¶ 137-145.
       97
            Id. at ¶ 143.

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       The third count also is against only Micron, and is for Micron’s alleged tortious

interference with ECD’s contractual rights under the 1998 Contract and the 1999 Licensing

Agreement.98

       The fourth count is against only OMT, for tortious interference with ECD’s contractual

rights under the 1998 Contract and the 1999 Licensing Agreement.99

       The fifth count is a fraudulent transfer claim against OMT, under the Michigan Uniform

Voidable Transfer Act.100 In this count, the Trust alleges that Ovonyx entered into the OMT

Agreement “with the intent to hinder, delay, or defraud the other creditors of Ovonyx.”101

       The sixth count is against Intel for aiding and abetting a tortious interference with the

1998 Contract and the 1999 Licensing Agreement.102

       The seventh count is against Intel and seeks a declaratory judgment that “Intel may not

use intellectual property of Ovonyx that was transferred to OMT under the OMT Agreement.”103

       All of the Defendants have filed motions to dismiss.

III. Standards governing motions to dismiss under Fed. R. Civ. P. 12(b)(6)

       The Defendants seek dismissal under Fed. R. Civ. P. 12(b)(6), applicable in this

adversary proceeding under Fed. R. Bankr. P. 7012(b), arguing that all of the claims in the



       98
             Id. at ¶¶ 146-56.
       99
             Id. at ¶¶ 157-67.
       100
             Id. at ¶¶ 168-73.
       101
             Id. at ¶ 170.
       102
             Id. at ¶¶ 174-87.
       103
             Id. at ¶¶ 188-95.

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Trust’s First Amended Complaint fail to state a claim upon which relief can be granted. In

Wahrman v. Bajas (In re Bajas), 443 B.R. 768 (Bankr. E.D. Mich. 2011), this Court discussed

the standard for dismissal under Fed. R. Civ. P. 12(b)(6):

               A motion under Rule 12(b)(6) tests the “sufficiency of [a]
               complaint.” Conley v. Gibson, 355 U.S. 41, 45, 78 S.Ct. 99, 2
               L.Ed.2d 80 (1957). A court must examine the plaintiff’s allegations
               and determine whether, as a matter of law, “the plaintiff is entitled
               to legal relief even if everything alleged in the complaint is true.”
               Mayer v. Mylod, 988 F.2d 635, 638 (6th Cir.1993). “[A] court
               considering a motion to dismiss under Rule 12(b)(6) ‘must accept
               all well-pleaded factual allegations of the complaint as true and
               construe the complaint in the light most favorable to the plaintiff.’”
               Benzon v. Morgan Stanley Distribs., Inc., 420 F.3d 598, 605 (6th
               Cir.2005) (quoting Inge v. Rock. Fin. Corp., 281 F.3d 613, 619
               (6th Cir.2002) (citing Turker v. Ohio Dep’t of Rehab. & Corr., 157
               F.3d 453, 456 (6th Cir.1998))).

               In Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955,
               167 L.Ed.2d 929 (2007), the United States Supreme Court revisited
               the standards that govern Rule 12(b)(6) motions. In doing so, the
               Court rejected “the accepted rule that a complaint should not be
               dismissed for failure to state a claim unless it appears beyond
               doubt that the plaintiff can prove no set of facts in support of his
               claim which would entitle him to relief.” Twombly, 550 U.S. at
               561, 127 S.Ct. 1955 (quoting Conley v. Gibson, 355 U.S. 41,
               45–46, 78 S.Ct. 99, 2 L.Ed.2d 80 (1957)). The Court explained,

                      Federal Rule of Civil Procedure 8(a)(2) requires
                      only “a short and plain statement of the claim
                      showing that the pleader is entitled to relief,” in
                      order to “give the defendant fair notice of what the
                      . . . claim is and the grounds upon which it rests[.]”
                      While a complaint attacked by a Rule 12(b)(6)
                      motion to dismiss does not need detailed factual
                      allegations, a plaintiff's obligation to provide the
                      “grounds” of his “entitle[ment] to relief” requires
                      more than labels and conclusions, and a formulaic
                      recitation of the elements of a cause of action will
                      not do[.] Factual allegations must be enough to raise
                      a right to relief above the speculative level, . . . on


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                      the assumption that all the allegations in the
                      complaint are true (even if doubtful in fact)[.]

               Id. at 555–56, 127 S.Ct. 1955 (emphasis added) (citations and
               footnote omitted). The Court went on to hold that:

                      stating . . . a claim requires a complaint with enough
                      factual matter (taken as true) to suggest [grounds for
                      relief]. Asking for plausible grounds to infer [a
                      right to relief] does not impose a probability
                      requirement at the pleading stage; it simply calls for
                      enough fact to raise a reasonable expectation that
                      discovery will reveal evidence of [an entitlement to
                      relief]. And, of course, a well-pleaded complaint
                      may proceed even if it strikes a savvy judge that
                      actual proof of those facts is improbable, and “that a
                      recovery is very remote and unlikely.”

               Id. at 556, 127 S.Ct. 1955 (citation and footnote omitted). See also
               Erickson v. Pardus, 551 U.S. 89, 93, 127 S.Ct. 2197, 2200, 167
               L.Ed.2d 1081 (2007) (Fed.R.Civ.P. 8(a)(2) “requires only ‘a short
               and plain statement of the claim showing that the pleader is entitled
               to relief.’ Specific facts are not necessary[.]”)

               More recently, in Ashcroft v. Iqbal, [556 U.S. 662], 129 S.Ct.
               1937, 173 L.Ed.2d 868 (2009), the Supreme Court reiterated the
               “plausibility” requirement it announced in Twombly, and further
               explained that concept:

                      To survive a motion to dismiss, a complaint must
                      contain sufficient factual matter, accepted as true, to
                      “state a claim to relief that is plausible on its face.”
                      A claim has facial plausibility when the plaintiff
                      pleads factual content that allows the court to draw
                      the reasonable inference that the defendant is liable
                      for the misconduct alleged. The plausibility
                      standard is not akin to a “probability requirement,”
                      but it asks for more than a sheer possibility that a
                      defendant has acted unlawfully.

                      Two working principles underlie our decision in
                      Twombly. First, the tenet that a court must accept as
                      true all of the allegations contained in a complaint is


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                      inapplicable to legal conclusions. Threadbare
                      recitals of the elements of a cause of action,
                      supported by mere conclusory statements, do not
                      suffice. (Although for the purposes of a motion to
                      dismiss we must take all of the factual allegations in
                      the complaint as true, we “are not bound to accept
                      as true a legal conclusion couched as a factual
                      allegation”). Rule 8 marks a notable and generous
                      departure from the hyper-technical, code-pleading
                      regime of a prior era, but it does not unlock the
                      doors of discovery for a plaintiff armed with
                      nothing more than conclusions. Second, only a
                      complaint that states a plausible claim for relief
                      survives a motion to dismiss. Determining whether
                      a complaint states a plausible claim for relief will,
                      as the Court of Appeals observed, be a
                      context-specific task that requires the reviewing
                      court to draw on its judicial experience and
                      common sense. But where the well-pleaded facts do
                      not permit the court to infer more than the mere
                      possibility of misconduct, the complaint has
                      alleged-but it has not “show[n]”—“that the pleader
                      is entitled to relief.”

               [556 U.S. at 678-79], 129 S.Ct. at 1949–50 (citations omitted).

Bajas, 443 B.R. at 768, 770-72.

       The Defendants filed documents with their motions to dismiss that were not attached to

the Trust’s First Amended Complaint, but which the Defendants want the Court to consider in

ruling on their motions. The Plaintiff Trust also has filed documents in opposition to the

Defendants’ motions to dismiss, that were not attached to Plaintiff’s First Amended Complaint.

       None of the parties object to the Court’s consideration of these documents in ruling on

the motions to dismiss. Ovonyx and Micron argue that “[w]hen ruling on a motion, the Court

may consider and construe documents referred to in and integral to the claims asserted in the




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First Amended Complaint.”104 Ovonyx and Micron argue further that all of the documents that

have been attached to the motions to dismiss (i.e., the 1998 Contract; the 1999 License

Agreement; the 2000 Stockholders Agreement; and the Merger Agreement) are integral to the

Trust’s claims in the First Amended Complaint, so that in deciding the motions, the Court should

apply the plausibility standard applicable to motions to dismiss under Fed. R. Civ. P. 12(b)(6),

rather than the Civil Rule 56 summary judgment standard.105 The Court agrees.

       In Jasper v. Sony Music Entm’t, Inc., 378 F. Supp. 2d 334, 338 (S.D.N.Y. 2005), the

court explained:

                  In considering a motion to dismiss, the court is limited to the
                  contents of the complaint. However, “complaint” has been
                  construed to include “the facts stated in the complaint or in
                  documents attached to the complaint as exhibits or incorporated in
                  the complaint by reference.” Kramer v. Time Warner Inc., 937
                  F.2d 767, 773 (2d Cir.1991) (emphasis added). Thus, documents
                  and statements that are not attached to or quoted in the complaint
                  itself, but that are incorporated by reference into the complaint and
                  are essential to its allegations, may be considered on a motion to
                  dismiss without converting the motion to a motion for summary
                  judgment. Cortec Industries, Inc. v. Sum Holding L.P., 949 F.2d
                  42, 47 (2d Cir.1991) (citations omitted). The classic examples of
                  documents that may be considered on a motion to dismiss even
                  though the plaintiff does not physically attach them to the
                  complaint are the contracts that underlie the claims in suit[.]

Id.; see also Com. Money Ctr., Inc. v. Union Ins. Co., 508 F.3d 327, 335-36 (6th Cir. 2007)

(citation omitted) (“[W]hen a document is referred to in the pleadings and is integral to the

claims, it may be considered without converting a motion to dismiss into one for summary

judgment.”); Travis v. ADT Sec. Servs., Inc., 884 F. Supp. 2d 629, 632 n.1 (E.D. Mich. 2012)


       104
             Defs. Ovonyx’s and Micron’s Br. in Supp. of Mot. to Dismiss (Docket # 40) at 14.
       105
             Id. at 15.

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(relying on Com. Money Ctr., Inc. v. Union Ins. Co., 508 F.3d 327, 335-36 (6th Cir. 2007))

(deciding to consider a services contract that was attached to the defendant’s motion to dismiss

even though it was not attached to the plaintiff’s complaint, because such contract was integral to

the plaintiff’s claims); QQC, Inc. v. Hewlett-Packard Co., 258 F. Supp. 2d 718, 721 (E.D. Mich.

2003) (internal quotation marks and citation omitted) (“[A]lthough a court may not consider

matters outside the pleadings on a motion to dismiss, documents properly introduced by a

defendant are considered part of the pleadings if they are referred to in the plaintiff's complaint

and are central to [the plaintiff’s] claim.”).

IV. Jurisdiction

        This Court has subject matter jurisdiction over this adversary proceeding under 28 U.S.C.

§§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a) (E.D. Mich.). The Court has “related

to” subject matter jurisdiction over each of the Plaintiff Trust’s claims in this adversary

proceeding, and each is a non-core proceeding. See generally Allard v. Coenen (In re Trans-

Industries, Inc.), 419 B.R. 21, 26-28 (Bankr. E.D. Mich. 2009). At this time, fewer than all of

the parties in this adversary proceeding have consented to the bankruptcy court entering a final

judgment, under 28 U.S.C. § 157(c)(2).106 But in ruling on the Defendants’ motions to dismiss

today, the Court will not be entering any final judgment.

V. Discussion

A. The 1998 Contract was an executory contract that ECD rejected in its Chapter 11 case.



        106
             See, e.g., Report of Parties’ Rule 26(f) Conference (Docket # 72) at 8. The deadline for all
the parties to give such consent was March 20, 2020. See Adversary Proceeding Scheduling Order
(Docket # 76) at 2 ¶ j. The Court may revisit that deadline, and may discuss it with the parties in an
upcoming status conference.

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       Under §§ 365(a) and 1107 of the Bankruptcy Code, ECD, as a Chapter 11 debtor in

possession, had the right to assume or reject any executory contract to which it was a party in its

Chapter 11 case, subject to the Court’s approval. Section 365(a) states, in relevant part: “(a)

Except as provided in sections 765 and 766 of this title and in subsections (b), (c), and (d) of this

section, the trustee, subject to the court’s approval, may assume or reject any executory contract

. . . of the debtor.” 11 U.S.C. § 365(a). Section 1107 gives a debtor in possession, such as ECD

in this case, the same rights as the trustee to assume or reject any executory contract. See 11

U.S.C. § 1107(a). Under 11 U.S.C. § 365(d)(2), ECD had the right to assume or reject any

executory contract “at any time before the confirmation of a plan.”

       Therefore, if the 1998 Contract was an executory contract, ECD had the right to timely

assume or reject it.

       1. The 1998 Contract was an executory contract as of the petition date and as of the
          Plan’s Effective Date.

       The parties disagree however, over whether the 1998 Contract was an executory contract.

The Defendants argue that the 1998 Contract was an executory contract, both as of the petition

date and as of the Plan’s Effective Date. The Trust disagrees. The Court agrees with the

Defendants.

       a. The petition date is the relevant date here.

       The relevant date for determining whether the 1998 Contract was an executory contract is

the petition date. See COR Route 5 Co., LLC v. Penn Traffic Co. (In re Penn Traffic Co.), 524

F.3d 373, 381 (2d Cir. 2008) (citation omitted) (“Executoriness and the debtor’s rights with

respect to assumption or rejection of an executory contract are normally assessed as of the



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petition date (the date on which a voluntary bankruptcy such as [the debtor’s] is commenced.”)).

Although, as noted in the Penn Traffic case, “[s]ome courts have . . . denied debtors’

post-petition attempts to assume or reject contracts that were executory ‘as of the petition date’ in

light of post-petition events affecting those contracts[,]” such courts “have looked to the impact

of post-petition events where the contract expired post-petition by its own terms, such that there

were no longer any obligations to assume or reject, or where the debtor itself had taken

affirmative action under a contract that affected the existence of outstanding performance

obligations.” Id. (citing cases). Neither of these two circumstances were present here, and the

Court finds no other reason to deviate from the general rule of determining whether a contract is

executory as of the petition date.

       b. The tests for determining whether the 1998 Contract was executory

       The Bankruptcy Code does not contain a definition of “executory contract.” In the Sixth

Circuit, two approaches have been used to determine whether a contract is executory. These are

often referred to as the “Countryman approach” and the “functional approach.” In Chattanooga

Mem’l Park v. Still (In re Jolly), 574 F.2d 349 (6th Cir. 1978), the Sixth Circuit Court of Appeals

discussed these two approaches:

                       Congress did not provide the courts with a definition of
               “executory contracts,” except to the extent that a lease is an
               example. 11 U.S.C. § 1006(5), Bankruptcy Act § 606(5). . . . A
               definition frequently used by the courts is “a contract under which
               the obligations of both the bankrupt and the other party to the
               contract are so far unperformed that the failure of either to
               complete performance would constitute a material breach excusing
               the performance of the other.” Countryman, Executory Contracts in
               Bankruptcy: Part I, 57 Minn.L.Rev. 439, 460 (1973).

                       Such definitions are helpful, but do not resolve this


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               problem. The key, it seems, to deciphering the meaning of the
               executory contract rejection provisions, is to work backward,
               proceeding from an examination of the purposes rejection is
               expected to accomplish. If those objectives have already been
               accomplished, or if they can’t be accomplished through rejection,
               then the contract is not executory within the meaning of the
               Bankruptcy Act.
               ....
                       Thus, executory contracts involve obligations which
               continue into the future. S. Rep. No. 94-458, 94th Congress, 1st
               Sess. (1975). They include leases, employment contracts and
               agreements to buy or sell in the future. Generally, they are
               agreements which include an obligation for the debtor to do
               something in the future.

Id. at 350–51 (emphasis added). Other cases have emphasized the Countryman approach. See

N.L.R.B. v. Bildisco & Bildisco, 465 U.S. 513, 522 n.6 (1984) (citations omitted) (“The

Bankruptcy Code furnishes no express definition of an executory contract, see 11 U.S.C.

§ 365(a), but the legislative history to § 365(a) indicates that Congress intended the term to mean

a contract ‘on which performance is due to some extent on both sides.’”); Terrell v. Albaugh (In

re Terrell), 892 F.2d 469, 471 & n.2 (6th Cir. 1989) (relying on Jolly, 574 F.2d at 350-51 and the

legislative history of 11 U.S.C. § 365 and explaining that although “[t]he Bankruptcy Code does

not explicitly define the term ‘executory contract’ . . . Congress apparently had in mind the

definition of executory contracts set forth in Countryman, Executory Contracts in Bankruptcy:

Part I, 57 Minn.L.Rev. 439, 460 (1973)” because according to the legislative history of 11

U.S.C. § 365, “Congress intended the term to be defined as a contract ‘on which performance

remains due to some extent on both sides’”).

       In In re DMR Fin. Servs., Inc., 274 B.R. 465, 469-71 (Bankr. E.D. Mich. 2002), the court

held that both the Countryman approach and the functional approach apply for determining



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whether a contract is executory. Id.; see also see also In re Collins & Aikman Corp., 384 B.R.

751, 761-62 (Bankr. E.D. Mich. 2008) (describing both approaches to determining whether a

contract is an executory contract in the Sixth Circuit). The DMR court opined that “Jolly

encompasses the Countryman test by including the need for future obligations, the relief from

which is one of the main purposes to be accomplished by rejection.” 274 B.R. at 470 (emphasis

added). The DMR court noted that “[s]ubsequent [to Jolly,] Sixth Circuit cases have clearly

examined the debtor’s future performance obligations as part of the executory analysis.” Id.

(citing Terrell v. Albaugh (In re Terrell), 892 F.2d 469 (6th Cir. 1989)). The court held that

“consideration of future performance obligations . . . i[s] a necessary part of the analysis.” Id. at

471.

       Most recently, the United States Supreme Court, in describing what an executory contract

is within the meaning of § 365 of the Bankruptcy Code, reaffirmed the continued vitality of both

the Countryman approach and the functional approach, though not referring by name to these

approaches. In Mission Product Holdings, Inc. v. Tempnology, LLC, 139 S. Ct. 1652, 1657

(2019), the Supreme Court stated that an executory contract under § 365 is “a contract that

neither party has finished performing.” The Court explained that “[a] contract is executory if

‘performance remains due to some extent on both sides.’” Id. (citing NLRB v. Bildisco &

Bildisco, 465 U.S. 513, 522, n.6 (1984)). The Court explained further that an executory contract

is “an agreement [that] represents both an asset (the debtor’s right to the counterparty’s future

performance) and a liability (the debtor’s own obligations to perform).” Id. The Court

described an executory contract as the type of a contract that a trustee or debtor in possession can

evaluate in terms of whether future performance under the contract would be beneficial or


                                                 43


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burdensome to the estate, and that can be rejected under § 365, if found to be of no benefit or if

found to be burdensome to the estate:

               Section 365(a) enables the debtor (or its trustee), upon entering
               bankruptcy, to decide whether the contract is a good deal for the
               estate going forward. If so, the debtor will want to assume the
               contract, fulfilling its obligations while benefit[t]ing from the
               counterparty’s performance. But if not, the debtor will want to
               reject the contract, repudiating any further performance of its
               duties.

Id.

       Therefore, under Mission Product, executory contracts are defined both in terms of

whether there are obligations of both parties continuing into the future (the Countryman

approach), and whether there is a purpose that can be accomplished by rejection of the contract

(the functional approach).

       c. The 1998 Contract was executory.

       Here, regardless of which approach is applied, the 1998 Contract was an executory

contract on both the petition date and on the Plan’s Effective Date, although, as the Court has

already ruled above, the petition date is the relevant date. On both dates, each of the parties to

that contract, namely ECD and Lowrey, had material unfulfilled obligations under the contract

that continued into the future, and their failure to perform those obligations would constitute a

material breach of that contract. For example, on the petition date, under the 1998 Contract, both

parties had reciprocal continuing material obligations, including, but not limited to, the

obligations:

       C   to operate “as a partnership between ECD and Mr. Lowrey for all their activities in
           the field such as operating, licensing, expenditures, distributions, financing,



                                                 44


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            employing and contracting”;107

      •     “to promptly describe to the other in witnessed form any developed
            intellectual property in the field and to use, disclose, sell, trade, or negotiate
            rights in that property only with approval”;108

      •     “[b]efore and after termination . . . to cooperate in prosecution, protection, and
            allocation of ownership as described [in the 1998 Contract]”;109

      •     to utilize “all ECD proprietary and confidential information in the field
            originated before and after [the 1998 C]ontract . . . exclusively . . . to support
            this joint endeavor’s efforts to manufacture, license and sublicense in the
            field;”110

      •     “to conduct all activities in the field in [the] Entity such as manufacturing and
            licensing;”111

      •     “to use confidentially without public disclosure the other’s IP in the field and
            without the right to sub-license absent approval, a license that shall expire
            upon termination”;112

      •     to “cooperate reasonably in disclosing, transferring, assigning, or licensing, as
            the case may be, to the Entity all pertinent information and assets in the field
            to the reasonable extent allowed by law including that learned or acquired in
            the field before and after Entity formation under the control of ECD or Mr.
            Lowrey, such as but not limited to: revenues, royalties, contracts, and IP”;113

      C     to not originate “any press releases and public relations in the field” without mutual




      107
            1998 Contract at MTI000033 ¶ 6.
      108
            Id. at ¶ 2.
      109
            Id.
      110
            Id. at MTI000033 ¶ 5.
      111
            Id. at ¶ 7.a.
      112
            Id. at MTI000034 ¶ 14.d.
      113
            Id. at MTI000033 ¶ 7.b.

                                                   45


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              approval prior to termination;114 and

        •     to “not contest the others patent validity in the field including after
              termination.”115

        Lowrey also had individual continuing material obligations under the 1998 Contract,

including: directing all “activities in the field.”116 As noted above, such activities encompassed a

broad range of ongoing duties.117

        ECD had material continuing obligations that applied only to it under the 1998 Contract,

including:

        •         giving Lowrey and the Entity “full access to the ECD Troy Facilities and relevant
                  ECD personnel for analytical work and process technology development in
                  support of their work in the field as reasonably requested by Mr. Lowrey”;118

        •         disclosing to Lowrey “all ECD proprietary and confidential information in the
                  field originated before and after [the 1998 C]ontract”;119

        •         indemnifying Lowrey and holding him harmless for his activities and any
                  liabilities related to [the 1998 C]ontract except for gross negligence, willful
                  misconduct, or breach of [the 1998 C]ontract, and to defend him and promptly pay
                  for his reasonable legal expenses in defending litigation related to [the 1998
                  [C]ontract and his related actions prior to termination, including for litigation

        114
              Id. at MTI000034 ¶ 12.
        115
              Id. at MTI 000035 ¶ 17.e.
        116
              Id. at MTI000032 ¶ 2.
        117
              See id.
        118
            Id. at MTI000034 ¶ 9. The Trust argues that the ECD closed the Troy Facilities before the
bankruptcy case was filed and therefore ECD’s obligation to give Lowrey full access to that facility
could not be a continuing obligation for purposes of the executory contract analysis. Even assuming,
without deciding, that ECD’s closure of the Troy Facilities terminated its obligation to provide Lowrey
with access to it, as the Trust alleges, rather than being merely a breach of that provision of the 1998
Contract, ECD had other obligations under that provision, such as the obligation to provide Lowrey with
full “access to . . . relevant ECD personnel.”
        119
              Id. at MTI000033 ¶ 5.

                                                      46


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                    arising thereafter”;120

        •           “provid[ing] Lowrey coverage under ECD’s Director and Officer’s Insurance plus
                    all the usual and customary benefits and protections normally accorded a V.P. of
                    Research and Development except salary, bonuses, and severance.”121

        Paragraph 23 of the 1998 Contract further shows that the parties had obligations that

continued into the future, because it explicitly states this:

                    23. Continuing obligations. If either party cancels prior to the
                    cancellation date, neither party shall have any continuing
                    obligation to the other, except for these obligations that shall
                    continue regardless of cancellation or any future events such as
                    termination, unless approved otherwise:

                            a)      Mr. Lowrey and ECD agree not to use or
                                    disclose the other’s confidential information
                                    until such information is public through no
                                    fault of their own,
                            b)      ECD shall continue ECD’s indemnification
                                    obligation to Mr. Lowrey as described
                                    below,
                            c)      both agree to cooperate in prosecuting and
                                    defending the other’s ownership rights in
                                    intellectual property at no out-of-pocket
                                    expense to the cooperating non-owner,
                            d)      any intellectual property jointly originated
                                    by the parties shall be subject to approval
                                    prior to any use, licensing, or assigning to
                                    others except under the IP cancellation and
                                    termination rights of each, if applicable,
                            e)      if the Entity is formed, both ECD and Mr.
                                    Lowrey each agree not to use or disclose this
                                    Entity’s confidential information without
                                    approval, and
                            f)      the Entity shall agree and execute
                                    agreements with its employees and
                                    contractors not to use or disclose the


        120
              Id. at MTI000036 ¶ 23(g).
        121
              Id.

                                                     47


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                                 Entity’s, Mr. Lowrey’s, ECD’s, or former
                                 employer’s confidential information,
                         g)      the parties agree to honor other ongoing
                                 rights described herein such as the right of
                                 first refusal and cross-licenses to the other
                                 party including after termination.122

The “Continuing Obligations” listed in paragraph 23 above, standing alone, would make the

1998 Contract an executory contract.

       The 1998 Contract also explicitly makes certain other contractual provisions “subject to”

the parties’ “continuing obligations” or “ongoing obligations.”123

       The Court agrees with the Defendants’ characterization of these continuing and ongoing

obligations:

                 These obligations are not ministerial or insignificant; they reflect
                 the parties’ clear intent to enter into an ongoing collaboration to
                 develop and commercialize intellectual property in the field both
                 before and after Ovonyx was formed. ECD and Lowrey owed each
                 other ongoing material obligations both before and during ECD’s
                 bankruptcy, making the 1998 Contract executory as a matter of
                 law.124

       The continuing material obligations of both parties make the 1998 Contract executory

under the Countryman approach. There are many cases where courts applying, at least in part,

the Countryman approach, have deemed licensing agreements with continuing obligations similar

to those in the 1998 Contract to be executory contracts within the meaning of § 365 of the

Bankruptcy Code. See Mission Prod. Holdings, Inc. v. Tempnology, LLC, 139 S. Ct. 1652, 1662,


       122
             Id. at MTI000036 ¶ 24 (italics added).
       123
             See, e.g., id. at MIT000034-35 ¶¶16-17, MTI000035.
       124
          Defs.’ Ovonyx and Micron’s Reply Br. in Supp. of Mot. To Dismiss First Am. Compl.
(Docket # 95) at 4 (footnote omitted) (citations omitted).

                                                      48


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(2019) (stating that “[m]any licensing agreements involving trademarks or other property [such

as the ‘trademark licensing agreement’ before the Court] are “executory contracts” where “[t]he

licensor not only grants a license, but provides associated goods or services during its term; the

licensee pays continuing royalties or fees”); Lubrizol Enters., Inc. v. Richmond Metal Finishers,

Inc. (In re Richmond Metal Finishers, Inc.), 756 F.2d 1043, 1045 (4th Cir. 1985) (applying the

Countryman test to find that a non-exclusive technology licensing agreement “was an executory

contract, within contemplation of 11 U.S.C. § 365(a)” where both parties to the contract had

reciprocal obligations, which included the “continuing core obligations of notice and

forebearance in licensing;” the duty to indemnify; the duty to provide an accounting; the duty to

pay royalties; and other additional contingent duties that “extended over the life of the agreement

and remained unperformed”); RCI Tech. Corp. v. Sunterra Corp. (In re Sunterra Corp.), 361

F.3d 257, 264 (4th Cir. 2004) (applying the Countryman test to conclude that a software licensing

agreement was executory within the meaning of 11 U.S.C. § 365(a), because both parties to the

contract owed the other party “an ongoing obligation to maintain the confidentiality of the source

code of the software developed by the other”); Everex Sys., Inc. v. Cadtrak Corp. (In re CFLC,

Inc.), 89 F.3d 673, 677 (9th Cir. 1996) (finding that a patent license was an executory contract

where one party had the duty to “continue to refrain from suing [the other party] for

infringement” and the other party had a continuing duty to “mark all products made under the

license with proper statutory patent notice”).

       In addition, the material continuing obligations of ECD also make the 1998 Contract

executory under the functional approach, because there was still a purpose to be served by the

assumption/rejection decision. ECD could still evaluate whether or not having to perform its


                                                 49


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continuing obligations to Lowrey described above would be burdensome to the bankruptcy estate

going forward compared to the benefits to the estate of the reciprocal obligations that would be

owed to it by Lowery, and reject or assume the 1998 Contract based on its benefit/burden

evaluation.

        2. ECD rejected the 1998 Contract.

         Because the 1998 Contract was an executory contract, after ECD filed for relief under

Chapter 11, under §§ 365(a), 365(d)(2),125 and 1123(b)(2),126 ECD had three choices regarding

this contract: it could assume it; it could reject it, or it could do nothing. See Diamond Z Trailer,

Inc. v. JZ L.L.C. (In re JZ L.L.C.), 371 B.R. 412, 422–23 (B.A.P. 9th Cir. 2007).

        The parties agree that if the 1998 Contract was executory, as the Court has now ruled,

then ECD rejected that contract. ECD affirmatively acted to reject the 1998 Contract under the

        125
              These provisions of § 365 provide:

                  (a) Except as provided in sections 765 and 766 of this title and in
                  subsections (b), (c), and (d) of this section, the trustee, subject to the
                  court’s approval, may assume or reject any executory contract or
                  unexpired lease of the debtor.

                  ....

                  (d)(2) In a case under chapter 9, 11, 12, or 13 of this title, the trustee
                  may assume or reject an executory contract or unexpired lease of
                  residential real property or of personal property of the debtor at any time
                  before the confirmation of a plan but the court, on the request of any
                  party to such contract or lease, may order the trustee to determine within
                  a specified period of time whether to assume or reject such contract or
                  lease.

11 U.S.C. § 365.
        126
              Section 1123(b)(2) provides: “(b) Subject to subsection (a) of this section, a plan may--
. . . (2) subject to section 365 of this title, provide for the assumption, rejection, or assignment of any
executory contract or unexpired lease of the debtor not previously rejected under such section[.]” 11
U.S.C. § 1123(b)(2).

                                                        50


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terms of its confirmed plan, Article VII.A., by not filing an application to assume it under Article

IV of the Plan;127 by not listing it as one of the contracts to be assumed on Exhibit 3 to the Plan

Supplement;128 by not listing it on Exhibit 3 to the Amended Plan Supplement;129 by not listing it

as one of the contracts to be assumed in the Assumption Motion;130 by not listing it in the

proposed order attached to the Assumption Motion;131 and by not filing a Notice of Assumption

of that contract prior to the Effective Date of the Plan, as provided for under paragraph 4.k of the

Confirmation Order.132

        Thus, ECD rejected the 1998 Contract in its bankruptcy case. The effect of that rejection

is discussed in Part V.C of this Opinion, below.

B. ECD’s Royalty Right in the 1998 Contract was incorporated into, and adopted by, the
   1999 License Agreement.

        The Trust argues that it does not matter whether the 1998 Contract was rejected by ECD,


        127
            Article IV of the Plan stated that “all other executory contracts . . . of the Debtors which are
not the subject of a pending application to assume as of the Effective Date, shall be deemed rejected.”
        128
            The Plan Supplement stated that “executory contracts designated by the Debtors on Exhibit 3
to the Plan Supplement . . . together with any additional executory contract identified by the Debtors by
filing a Notice of Assumption prior to the Effective Date of the Plan will be assumed pursuant to Section
1123(b)(2) of the Bankruptcy Code by the Debtors upon the Effective Date of the Plan.” (Docket # 983
in Case No. 12-43166 at 3.)
        129
              The Amended Plan Supplement amended Exhibit 3 to the Plan Supplement.
        130
            The Assumption Motion stated: “Attached to this Motion as Exhibit 6 is a schedule . . . which
includes a description of each Contract to be assumed and the amount, if any, necessary to cure such
Contracts . . . pursuant to section 365 of the Bankruptcy Code.”
        131
             That proposed order stated, in relevant Part: “2. Pursuant to Section 365(a) of the
Bankruptcy Code, each Contract listed on Exhibit 6 to the [Assumption] Motion is assumed effective as
of the date listed on Exhibit 6.”
        132
            Paragraph 4.k of the Confirmation Order allowed the Debtors to assume any other executory
contracts not previously assumed “by filing a Notice of Assumption prior to the Effective Date of the
Plan.”

                                                     51


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because even if it was rejected, the terms and conditions and rights and obligations under that

contract were fully incorporated into the 1999 License Agreement. This included ECD’s Royalty

Right and ECD’s First Refusal Right. Because of this, and because ECD assumed the 1999

License Agreement, the Trust argues, the rejection of the 1998 Contract would have no impact on

the Royalty Right or the First Refusal Right in the 1998 Contract.

       The Defendants argue that the terms of the 1998 Contract were not incorporated into the

1999 License Agreement.

       The Court finds it unnecessary to decide whether all the terms of the 1998 Contract were

incorporated, by reference or otherwise, into the 1999 License Agreement. Instead, the Court

will focus on the contract rights at issue, namely the Royalty Right and the First Refusal Right.

As to the latter, the Court finds it unnecessary to decide whether the First Refusal Right was

incorporated into the 1999 License Agreement. This is because, as the Court discusses in Part

V.D.1.a of this Opinion, below, the 2000 Stockholders Agreement superceded, and thereby

eliminated, ECD’s First Refusal Right from the 1998 Contract and any such right that was

incorporated into the 1999 License Agreement.

       As for ECD’s Royalty Right, the Court concludes that the 1999 License Agreement did

incorporate that right, and that Ovonyx adopted and ratified the duty to pay ECD the royalty

described in the 1998 Contract. As a result, Ovonyx owed a duty, under the 1999 License

Agreement, to honor ECD’s Royalty Right.

       The language of the 1999 License Agreement makes clear that the parties to that

agreement — i.e., ECD, Lowrey, and Ovonyx — intended that the “Entity” to be formed, as

contemplated by the 1998 Contract, was Ovonyx, and makes clear the parties’ intent that Ovonyx


                                                52


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was to have and use the intellectual property rights described in the 1998 Contract, and that in

exchange, Ovonyx was to pay ECD the royalty specified in the 1998 Contract. All of this was

expressly contemplated in the 1998 Contract, for the “Entity” to be formed.133

        The 1999 License Agreement identified Ovonyx as the Entity to be formed that was

referred to in the 1998 Contract. And the 1999 License Agreement recites: “WHEREAS,

pursuant to the terms and conditions of the [1998] Contract, Ovonyx desires to acquire

exclusive rights to such intellectual property rights developed by both ECD and Mr. Lowrey and

that relate to devices and products in the field[.]”134 The 1999 License Agreement grants “to

Ovonyx a royalty-bearing, worldwide, exclusive right and license under ECD’s past, present

and future IP,” without specifying the percentage or amount of royalty to be paid. But the 1998

Contract requires “the Entity” to be formed (which turned out to be Ovonyx) to pay a royalty of

“0.5% of the Entity’s subsequent revenues to ECD.”135 And the 1999 License Agreement made

clear that this royalty obligation and percentage specified in the 1998 Contract continued in

effect. It stated that “All terms and conditions and rights and obligations of the [1998] Contract

remain in full force and effect.”136

        By signing the 1999 License Agreement with these provisions in it, Ovonyx clearly


        133
             The 1998 Contract provided, in relevant part, that “ECD shall grant the Entity an exclusive
license in the field with a right to sub-license its intellectual property if approved.” 1998 Contract at
MIT00002331 ¶ 14.a). The 1999 License Agreement carried out this obligation of ECD under the 1998
Contract.
        134
              1999 License Agreement at MTI000038 (bold added).
        135
         See 1999 License Agreement at MTI00002335 ¶ 1 (bold added); 1998 Contract at
MIT00002331 ¶ 11.
        136
              1999 License Agreement at MTI000039 ¶ 5.

                                                    53


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ratified, adopted, and agreed to be bound by the terms and conditions of the 1998 Contract, at

least with respect to the payment of royalties under ECD’s Royalty Right.137 Under Michigan

law, “[a] corporation will be held liable for preincorporation contracts made by the promoters or

incorporators if the corporation subsequently ratifies or adopts the contracts, and the promoters

will not be held liable.” Medco Health Care Servs., Inc. v. Bragg, No. 174335, 1996 WL

33364162, at *1 (Mich. Ct. App. May 28, 1996) (citing Henderson v. Sprout Bros., Inc., 440

N.W.2d 629, 634 (Mich. Ct. App. 1989)) (“[A] corporation may be liable on preincorporation

contracts of promoters or incorporators if these contracts are ratified or adopted by the

corporation. Michigan Trust Co. v. Herpolsheimer, 256 Mich. 589, 598–600, 240 N.W. 6

(1932)”) and Campbell v Rukamp, 244 N.W. 222, 223 (1932) (“Had the proposed corporation

been duly organized and the purchase contract ratified then” the promoters could not be held




       137
            In Tucker v. Estate of Budman, No. 235204, 2004 WL 134021, at *3–4 (Mich. Ct. App. Jan.
27, 2004) (footnote omitted) (citation omitted), the court discussed the meaning of ratification and
adoption under Michigan law:

               The term “ratification” is defined in the Restatement of the Law Second,
               Agency, § 82, as “the affirmance by a person of a prior act which did not
               bind him but which was done or professedly done on his account,
               whereby the act, as to some or all persons, is given effect as if originally
               authorized by him.” “An affirmance of an unauthorized transaction can
               be inferred from a failure to repudiate it.” § 94. The receipt (§ 98) or
               retention (§ 99) of benefits, with knowledge of the facts, may constitute
               an affirmance. In general “the liabilities resulting from ratification are
               the same as those resulting from authorization.” § 100.

               Michigan Law is in accord. Unauthorized acts of a person purporting to
               act as an agent are deemed ratified if the principal accepts the benefits of
               the unauthorized acts with knowledge of the material facts. Where both
               parties to a void lease continued to treat the lease as valid, the parties
               were held to have adopted the lease and the lease was enforceable
               according to its terms. Michigan Trust Co v. Herpolsheimer, 256 Mich.
               589, 598; 240 NW 6 (1932).

                                                   54


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personally liable on the contract.)).138

        This conclusion is bolstered by the conduct of Ovonyx for several years after it entered

into the 1999 License Agreement. Ovonyx accepted all of the benefits of that 1999 License

Agreement when it used the licensing rights it acquired through that agreement to generate

significant revenues for itself, and performed its obligation to ECD under Royalty Right of the

1998 Contract by paying ECD a 0.5% royalty beginning in 2000 and continuing until ECD sold


        138
           Medco Health is an unpublished opinion, although the cases it cites, Henderson and
Campbell, are published opinions. In re Skymark Properties II, LLC, 597 B.R. 363, 382 n.72 (Bankr.
E.D. Mich. 2019), this Court explained that although unpublished Michigan appellate opinions are not
binding precedent, they can be cited as persuasive authority:

                        Under Mich. Ct. R. 7.215(C)(1) “[a]n unpublished
                        opinion is not precedentially binding under the rule of
                        stare decisis.” However, Michigan courts may consider
                        unpublished opinions as persuasive authority. See, e.g.,
                        People v. Green, 260 Mich. [Ct.] App. 710, 680 N.W.2d
                        477, 484 n.5 (2004)(“Although unpublished opinions are
                        not binding precedent, [Mich. Ct. R.] 7.215(C)(1), we
                        utilize it as a guide and view it as persuasive in light of
                        the limited case law in this area.”); Cedroni Assocs., Inc.
                        v. Tomblinson, Harburn Assocs., 290 Mich. [Ct.] App.
                        577, 802 N.W.2d 682, 709 & n.5 (2010) (Kelly, J.,
                        dissenting) (viewing a per curiam unpublished opinion
                        of the Michigan Court of Appeals as “[m]ore persuasive
                        and on point” than a published opinion relied on by the
                        majority).

                McCallum v. Pixley (In re Pixley ), 456 B.R. 770, 788 n. 19 (Bankr. E.D.
                Mich. 2011); see also Wells v. THB America, LLC (In re Clements Mfg.
                Liquidation Co., LLC ), 486 B.R. 400, 403 n. 8 (Bankr. E.D. Mich. 2012)
                (unpublished Michigan Court of Appeals decisions may be cited as
                persuasive authority); Paris Meadows, LLC v. City of Kentwood, 287
                Mich.[Ct.] App. 136, 783 N.W.2d 133, 139 n. 3 (2010) (quoting Mich.
                Envtl. Council & Pub. Interest Research Grp. in Mich. v. Mich. Pub.
                Serv. Comm'n. (In re Application of Ind. Mich. Power Co.), 275 Mich.
                [Ct.] App. 369, 738 N.W.2d 289 (2007)) (unpublished opinions of the
                Michigan Court of Appeals may be “considered instructive or
                persuasive”); Cox v. Hartman, 322 Mich.[Ct.] App. 292, 911 N.W.2d
                219, 228 (2017) (same).

                                                    55


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its stock to Micron in 2012. The First Amended Complaint alleges that “[a]fter 1999 and

through 2011, Ovonyx actively worked on developing new technologies and developing new

patents. . . . During this period, Ovonyx, under Lowrey’s direction was, among other things,

actively working on developing memory devices based on intellectual property owned by ECD

and licensed to Ovonyx.”139 The First Amended Complaint also alleges that, “[f]rom June 1999

to May 2012, Ovonyx received over $58 million in revenues” and that “Ovonyx paid to ECD

approximately 0.5% of this amount[.]”140 Given these facts, under Michigan law, Ovonyx

ratified and adopted what Lowrey and ECD had agreed to on its behalf before its formation, and

was bound by the term of the 1998 Contract that gave ECD the Royalty Right.

       For these reasons, ECD’s Royalty Right from the 1998 Contract clearly is an obligation of

Ovonyx, under the 1999 License Agreement. Cf. Whittlesey v. Herbrand Co., 187 N.W. 279, 280

(Mich. 1922) (quoting Short v. Van Dyke, 52 N.W. 643 (Minn. 1892)).141 That Royalty Right is

unaffected by ECD’s later rejection of the 1998 Contract, especially given that ECD assumed the

1999 License Agreement in its bankruptcy case.142


       139
             First Am. Compl. at 13 ¶¶ 64-65 (bold omitted).
       140
             Id. at 12 ¶ 62.
       141
             In Whittlesey, the Michigan Supreme Court held:

                  “In a written contract a reference to another writing, if the reference be
                  such as to show that it is made for the purpose of making such writing a
                  part of the contract, is to be taken as a part of it just as though its
                  contents had been repeated in the contract. But if the reference be made
                  for a particular purpose, expressed in the contract, it becomes part of it
                  only for that purpose.”
       142
            Ovonyx and Micron argue that the 1998 Contract cannot be assumed under § 365 by
incorporating it into the 1999 License Agreement, because “assumption must be express, and not ‘by
implication.’” See Defs. Ovonyx’s and Micron’s Br. in Supp. of Mot. to Dismiss (Docket # 40) at 18-19.

                                                      56


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       Moreover, ECD’s rejection of the 1998 Contract did not affect ECD’s Royalty Right in

any event. As explained in the next part of this Opinion, ECD’s rejection of the 1998 Contract

did not terminate ECD’s Royalty Right under that contract.

C. ECD’s rejection of the 1998 Contract was a breach, not a rescission or termination, of
   that contract. Such rejection did not terminate ECD’s Royalty Right.

       Having found that ECD rejected the 1998 Contract, the Court will consider what effect

that rejection had on ECD’s Royalty Right. It is not necessary to consider what effect the

rejection had on ECD’s Right of First Refusal, because, as discussed below, that right was

eliminated by the 2000 Stockholders Agreement.

       The parties disagree on the effect of the rejection. The Defendants argue that because

ECD rejected the 1998 Contract, as a matter of law, it cannot enforce any of its rights under that

contract, including the Royalty Right. The Defendants reason that rejection of an executory

contract is a breach of that contract; the effect of that breach is governed by state law; and under

state law, a debtor who rejects its burdensome performance obligations under an executory

contract cannot avail itself of the benefits of the other party’s performance under that contract.143

       The Trust argues that even if the 1998 Contract was an executory contract that was

rejected, such rejection is a breach and not a termination of that contract, and ECD can still

enforce its Royalty Right.




But this argument misses the mark. The 1999 License Agreement was expressly assumed by ECD in its
bankruptcy case. And for the reasons discussed above, it is clear that the assumed 1999 License
Agreement included the contractual obligation of Ovonyx to pay ECD the royalty in the amount specified
in the 1998 Contract.
       143
          Id. at 17-18. The other Defendants incorporate by reference the arguments that Ovonyx and
Micron make in their briefs.

                                                 57


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       The effect of the Debtor’s rejection of the 1998 Contract is governed by the recent

decision of the United States Supreme Court in Mission Product Holdings, Inc. v. Tempnology,

LLC, 139 S. Ct. 1652 (2019). In Mission Product, the Supreme Court had to decide: “What is

the effect is of a debtor’s (or trustee’s) rejection of [an executory] contract under Section 365 of

the Bankruptcy Code.” Id. at 1661.

       In Mission Product, the debtor corporation and a non-debtor corporation entered into a

licensing agreement pre-petition, under which the debtor granted the non-debtor party “a non-

exclusive license to use [the debtor’s] trademarks, both in the United States and around the

world.” Id. at 1658. The debtor filed a voluntary petition for relief under Chapter 11 before the

licensing agreement expired, and then rejected the licensing agreement under § 365 of the

Bankruptcy Code. Id. The debtor took the view that rejection of an executory contract under

§ 365 has “the effect of a contract rescission in the non-bankruptcy world: Though also allowing

a damages claim, the rejection terminates the whole agreement along with all rights it conferred.”

Id. at 1661. The non-debtor party to the contract argued that a rejection has “the same

consequence as a contract breach outside bankruptcy: It gives the counterparty a claim for

damages, while leaving intact the rights the counterparty has received under the contract.” Id.

The Supreme Court held, in relevant part, “that both Section 365’s text and fundamental

principles of bankruptcy law command the . . . rejection-as-breach approach. . . . Rejection of a

contract—any contract—in bankruptcy operates not as a rescission but as a breach.” Id.

       The Court looked first to the text of the relevant bankruptcy court provisions to determine

the effect of a debtor’s rejection of an executory contract under § 365(a). The Court stated that


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“the text of the Code’s principal provisions on rejection . . . does much of the work.” Id. The

Court explained:

                Section 365(g) describes what rejection means. Rejection
                “constitutes a breach of [an executory] contract,” deemed to occur
                “immediately before the date of the filing of the petition.” Or said
                more pithily for current purposes, a rejection is a breach. And
                “breach” is neither a defined nor a specialized bankruptcy term. It
                means in the Code what it means in contract law outside
                bankruptcy. See Field v. Mans, 516 U.S. 59, 69, 116 S.Ct. 437, 133
                L.Ed.2d 351 (1995) (Congress generally meant for the Bankruptcy
                Code to “incorporate the established meaning” of “terms that have
                accumulated settled meaning” (internal quotation marks omitted)).
                So the first place to go in divining the effects of rejection is to
                non-bankruptcy contract law, which can tell us the effects of
                breach.

Id. at 1661-62 (internal cross-reference omitted); see also id. at 1658 (citing 11 U.S.C.

§ 365(g)(1) and stating that “[a]ccording to Section 365(g), ‘the rejection of an executory

contract[] constitutes a breach of such contract’ . . . [which] is deemed to occur ‘immediately

before the date of the filing of the [bankruptcy] petition,’ rather than on the actual post-petition

rejection date.”).

        The Supreme Court explained further that under non-bankruptcy contract law, when one

party materially breaches a contract, the non-breaching party has a choice of either continuing to

perform under the contract, and suing for damages for the breach, or refusing to continue to

perform under the contract. See id. at 1662. (citing 13 R. Lord, Williston on Contracts § 39:32,

pp. 701–702 (4th ed. 2013)). The choice of which course to take is in the hands of the non-

breaching party. The non-breaching party may continue the contract or terminate it. The

breaching party “has no ability, based on its own breach, to terminate the agreement.” Id.

        The Court provided the following example to illustrate the effect of rejection of a contract


                                                  59


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in a non-bankruptcy setting:

                        Consider a made-up executory contract to see how the law
                of breach works outside bankruptcy. A dealer leases a photocopier
                to a law firm, while agreeing to service it every month; in
                exchange, the firm commits to pay a monthly fee. During the lease
                term, the dealer decides to stop servicing the machine, thus
                breaching the agreement in a material way. The law firm now has a
                choice (assuming no special contract term or state law). The firm
                can keep up its side of the bargain, continuing to pay for use of the
                copier, while suing the dealer for damages from the service breach.
                Or the firm can call the whole deal off, halting its own payments
                and returning the copier, while suing for any damages incurred. See
                13 R. Lord, Williston on Contracts § 39:32, pp. 701–702 (4th ed.
                2013) (“[W]hen a contract is breached in the course of
                performance, the injured party may elect to continue the contract or
                refuse to perform further”). But to repeat: The choice to terminate
                the agreement and send back the copier is for the law firm. By
                contrast, the dealer has no ability, based on its own breach, to
                terminate the agreement. Or otherwise said, the dealer cannot get
                back the copier just by refusing to show up for a service
                appointment. The contract gave the law firm continuing rights in
                the copier, which the dealer cannot unilaterally revoke.

Id. at 1662 (italics in original).

        After discussing non-bankruptcy breach of contract law, the Court applied its principles

to rejection of executory contracts in bankruptcy: “A rejection does not terminate the contract.

When it occurs, the debtor and counterparty do not go back to their pre-contract positions.

Instead, the counterparty retains the rights it has received under the agreement. As after a breach,

so too after a rejection, those rights survive.” Id. Based on the “rejection-as-breach approach,”

the Court held “that under Section 365, a debtor’s rejection of an executory contract in

bankruptcy has the same effect as a breach outside bankruptcy. Such an act cannot rescind rights

that the contract previously granted.” Id. at 1666. Construing § 365 in this manner, the Court

held that the debtor-licensor’s rejection of the license agreement could not revoke the trademark


                                                 60


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license or the non-debtor licensee’s right to continue to use that trademark. Id.

        The holding in Mission Product compels the conclusions that ECD’s rejection of the

1998 Contract was a breach of that contract, and that the Court must determine the effect of such

breach by applying non-bankruptcy contract law. In this case, Michigan contract law is the

applicable non-bankruptcy law, because the 1998 Contract states that it is to be interpreted,

construed, and enforced under Michigan law.

        In Schnepf v. Thomas L. McNamara, Inc., 93 N.W.2d 230, 232 (Mich. 1958), the

Michigan Supreme Court explained:

                Where there has been a material breach which does not indicate an
                intention to repudiate the remainder of the contract, the injured
                party has a genuine election either of continuing performance or of
                ceasing to perform. Any act indicating an intent to continue will
                operate as a conclusive election, not indeed of depriving him of a
                right of action for the breach which has already taken place, but
                depriving him of any excuse for ceasing performance on his own
                part. Anything which draws on the other party to execute the
                agreement after the default in respect of time or which shows that it
                is deemed a subsisting agreement after such default will amount to
                a waiver. (Italics ours.) 12 Am.Jur. p. 968, § 390. Sinclair Refining
                Co. v. Costin, Tex.Civ.App., 116 S.W.2d 894, 898.

Id. (bold added); see also Blazer Foods, Inc. v. Rest. Properties, Inc., 673 N.W.2d 805, 812 n.7

(Mich. Ct. App. 2003) (citing Schnepf v. Thomas L. McNamara, Inc., 93 N.W.2d 230, 232

(Mich. 1958); Arnone v. Chrysler Corp., 6 Mich. App. 224, 228, 148 N.W.2d 902 (1967), and 2

Restatement Contracts, 2d (1981), § 236, comment b, p 214) (“When one party to a contract

materially breaches the contract by failing to perform duties under it, the other party can either

consider the contract terminated and sue for total breach, or he can continue his performance and

sue for partial breach.”)).



                                                 61


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        Although ECD materially breached the 1998 Contract by rejecting it in its bankruptcy

case, ECD did not indicate its intention to repudiate the 1998 Contract, especially given the fact

that ECD assumed the 1999 License Agreement, and the 1999 License Agreement stated that

“[a]ll terms and conditions and rights and obligations of the [1998] Contract remain in full force

and effect.” In any event, under Mission Product, and Schnepf, whether the 1998 Contract

survived ECD’s rejection of it depended on whether Lowrey (who was the only other party to the

1998 Contract) chose to terminate that contract or to continue performing under it. After ECD

rejected the 1998 Contract under § 365, under Michigan law, Lowrey, the non-breaching party to

that contract, had two choices: (1) he could either consider the contract terminated, refuse to

perform his obligations under it, and sue ECD for damages for total breach, without himself

being liable for any damages resulting from his nonperformance,144 or (2) continue to perform his

obligations and receive benefits under the 1998 Contract, and sue for damages for a partial

breach. If Lowrey chose the latter course, he could not later decide to terminate the 1998

Contract.

        Lowrey chose to continue performing and receiving benefits under the 1998 Contract well

after the effective date of ECD’s rejection of the 1998 Contract (August 28, 2012). Lowrey

remained in his position as President and Chief Executive Officer of the “Entity” (Ovonyx)

whose formation was contemplated by the 1998 Contract, performing all of the duties




        144
            Had Lowery elected this course of action — termination and cessation of performance — he
might have relied on the general rule that under Michigan law, “[h]e who commits the first substantial
breach of a contract cannot maintain an action against the other contracting party for failure to perform.”
Pittman v. Experian Info. Sols., Inc., 901 F.3d 619, 639 (6th Cir. 2018) (citation omitted). But Schnepf
and the other cases cited above take this case out of this general rule, given Lowery’s continued
performance after ECD’s rejection of the 1998 Contract.

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contemplated by the 1998 Contract, until July 31, 2015.145 Similarly, Ovonyx continued

operating in the same manner as prior to rejection, in pursuit of the activities that the 1998

Contract contemplated it would have in the event it was formed. This included Ovonyx’s use of

ECD’s and Lowrey’s intellectual property that had been assigned to Ovonyx. Therefore, ECD’s

Royalty Right survived ECD’s rejection of the 1998 Contract in its bankruptcy case.

D. The First Amended Complaint’s first cause of action, against Lowrey and Ovonyx for
   breach of contract

       In the first cause of action in its First Amended Complaint, the Trust alleges that Lowrey

and Ovonyx breached ECD’s Royalty Right and First Refusal Right, under the 1998 Contract and

the 1999 License Agreement. The Court next will consider Lowrey’s and Ovonyx’s arguments

for dismissal of these claims.

       1. Lowrey’s alleged breach of ECD’s First Refusal Right under the 1998 Contract

       The Trust alleges in the first cause of action that Lowrey breached ECD’s First Refusal

Right under the 1998 Contract, by not providing notice to ECD of the July 2015 Transactions so

that ECD could exercise its First Refusal Right.146 Lowrey admits that he and ECD owed each

other a First Refusal Right under the 1998 Contract, but he argues that such right no longer

existed at the time of the July 2015 Transactions, because:

       •     The Trust rejected the 1998 Contract in the Plan.

       •     By its plain language the 2000 Stockholders Agreement superseded the First
             Refusal Right in the 1998 Contract and provides no First Refusal Right to the
             Trust.



       145
             See First Am. Compl. at 3 ¶ 7.
       146
             See id. at 24 ¶ 129.

                                                     63


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       •     Even if the 2000 Stockholders Agreement did provide the Trust with such a
             right, the Trust sold its rights in that agreement to Micron in 2012, thereby
             transferring any First Refusal Right to Micron.

       •     Because the Trust was no longer a shareholder in Ovonyx, it gave up any pro
             rata interest in any First Refusal Right outlined in Section 4 of the 2000
             Stockholders Agreement.

       •     The 2015 Merger falls squarely in the definition of a Sale Event in the 2000
             Stockholders Agreement. Thus, Sections 6 and 7 of the 2000 Stockholders
             Agreement apply with respect to First Refusal Rights and therefore, only Intel,
             and not the Trust or any other party, is given a First Refusal Right.

       •     ECD’s confirmed Plan barred the Trust from exercising any First Refusal
             Right, even if it had one. Under the Plan, the function of the Trust is to
             liquidate assets, not acquire stock in other companies or to operate them.147

       The Court agrees with Lowrey that ECD’s First Refusal Right did not survive the 2000

Stockholders Agreement.

       a. The 2000 Stockholders Agreement superceded the 1998 Contract with respect to
          the First Refusal Right.

       The Court finds and concludes, based on paragraph 9.10 of the 2000 Stockholders

Agreement, that the 2000 Stockholders Agreement superceded the 1998 Contract with respect to

ECD’s First Refusal Right. Because certain provisions of the 2000 Stockholders Agreement

conflicted with, and were inconsistent with, ECD’s First Refusal Right under the 1998 Contract,

such right was extinguished by the 2000 Stockholders Agreement.

       Paragraph 9.10 of the 2000 Stockholders Agreement states, in relevant part: “The

provisions in this [2000 Stockholders] Agreement . . . will be deemed to supersede any

conflicting or inconsistent provisions contained in the [1998 Contract] between Lowrey and

[ECD] dated as of December 17, 1998, including the Ovonyx-ECD Commercialization


       147
             Def. Tyler Lowrey’s Br. in Supp. of Mot. to Dismiss First Am. Compl. (Docket # 50) at 11.

                                                   64


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Acknowledgment thereunder (collectively, the ‘[1998 Contract]’). . . .”148 ECD’s First Refusal

Right granted in paragraph 11 of the 1998 Contract clearly conflicts with, and is inconsistent

with, many of the provisions of the 2000 Stockholders Agreement, including provisions in

sections 4 (“Restrictions on Transfer of Stockholder Shares”), 6 (“Intel Right of First Offer”),

and 7 (Obligations in Connection With Approved Sale”).

       Paragraph 11 of the 1998 Contract provides that ECD and Lowrey are granting to each

other “a right of first refusal on the other’s sales of stock in [Ovonyx], intellectual property in the

field, and any stock or asset sales by [Ovonyx], a right exercisable only within thirty days of

notice and promptly executed on the same basis as the proposed purchaser.”149 This provision

required Lowrey (1) to give ECD 30 days notice of his sale of any of his stock in Ovonyx, and

(2) to give ECD the first right to purchase that stock on the same terms on which the proposed

purchaser has agreed to purchase the stock. It also required Lowrey (1) to give ECD 30 days

notice of any stock or asset sale by Ovonyx, and (2) to give ECD the first right to purchase the

stock or assets for sale by Ovonyx on the same terms on which the proposed purchaser has

agreed to purchase those stock shares or assets.

       By contrast, Section 4.1 of the 2000 Stockholders Agreement (“Transfer of Stockholder

Shares”) prohibits Lowrey from selling, transferring, assigning, pledging, or otherwise disposing

of any shares of his stock except as provided by Section 4 of that agreement.150 Section 4.3 of the



       148
             2000 Stockholders Agreement at MTI00000138 (italics added). This provision is quoted in
full in Part II.C of this Opinion.
       149
             1998 Contract at MTI000034 ¶ 11.
       150
          See 2000 Stockholders Agreement at MTI00000127. Section 4 of the 2000 Stockholders
Agreement is quoted in full in Part II.C of this Opinion.

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2000 Stockholders Agreement (“First Offer Right”) requires Lowrey (1) to give Ovonyx and the

other Stockholders 30 days written notice of his intent to transfer his stock in Ovonyx (if such

stock transfer is not a “Permitted Transfer” under Section 4.5 of that agreement), and (2) to give

Ovonyx the first right to purchase any stock of Ovonyx that he is selling on the same terms as

his proposed sale to another purchaser. This provision conflicts with the First Refusal Right in

the 1998 Contract, in two material ways.

       First, the notice requirement in this provision is materially different. Besides requiring

Lowrey to provide notice to Ovonyx of any sale of his Ovonyx stock, which the 1998 Contract

did not require, the only other parties to whom Lowrey was required to provide notice were the

“Other Stockholders” of Ovonyx. ECD’s right to notice of Lowrey’s sale of his stock of

Ovonyx was therefore dependent on ECD being a Stockholder of Ovonyx, at the time. There

was no such limitation on ECD’s right to notice in the 1998 Contract. At the time of the July

2015 Transactions, ECD was not a Stockholder of Ovonyx, having sold all of its shares in

Ovonyx to Micron three years earlier, in August 2012. Therefore, unlike under paragraph 11 of

the 1998 Contract, which required notice to ECD of any stock sale by Lowrey, under Section 4.3

of the Stockholders Agreement, Lowrey was not required to provide ECD with notice of any sale

of his stock in Ovonyx after ECD sold its stock to Micron.

       Second, the entity to whom Lowrey was required to offer the first right to purchase his

stock was different. Under the 2000 Stockholders Agreement, that entity was Ovonyx, while

under the 1998 Contract, that entity was ECD. Therefore, Ovonyx’s First Offer Right under

Section 4.3 of the 2000 Stockholders Agreement clearly conflicts with ECD’s First Refusal Right

under paragraph 11 of the 1998 Contract. If Lowrey complied with his duty under the 2000


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Stockholders Agreement to offer only Ovonyx the first right to purchase any of his Ovonyx stock

he was selling, he would have been in breach of his duty under the 1998 Contract to offer only

ECD that right. Given this conflict alone, Section 4.3 of the Stockholders Agreement supercedes

paragraph 11 of the 1998 Contract, eliminating ECD’s First Refusal Right under the 1998

Contract, based on Paragraph 9.10 of the 2000 Stockholders Agreement.

        In addition to Section 4.1, other sections of the 2000 Stockholders Agreement conflict

with ECD’s First Refusal Right under paragraph 11 of the 1998 Contract. Section 4.5

(“Permitted Transfers”) of the 2000 Stockholders Agreement is one such section. It permits

Lowrey to sell his Ovonyx stock “pursuant to a Public Sale” and “to or among members of . . .

[his] Family Group,” as those terms are defined in the 2000 Stockholder Agreement, without the

restrictions imposed by Sections 4.1 through 4.4 of the 2000 Stockholders Agreement, including

the prohibition of the transfer of any Ovonyx stock without providing a 30-day notice to Ovonyx

and other Shareholders, and without providing Ovonyx with the First Offer Right.151 This

additional transfer right that the 2000 Stockholders Agreement grants to Lowrey, based on his

status as one of the Shareholders of Ovonyx stock, conflicts with paragraph 11 of the 1998

Contract, which provides no such unfettered transfer right to Lowrey. By contrast, paragraph 11

of the 1998 Contract requires Lowrey to provide ECD with the First Refusal Right on the sale of

any of his Ovonyx stock, even if the proposed sale is a “Public Sale” or a sale to a member of



        151
           “‘Family Group’ means a Stockholder’s spouse and descendants (whether natural or adopted)
and any trust solely for the benefit of the Stockholder and/or the Stockholder’s spouse and/or
descendants.” 2000 Stockholders Agreement at MTI00000121.

         “‘Public Sale’ means any sale of Stockholder Shares to the public pursuant to an offering
registered under the Securities Act or to the public pursuant to the provisions of Rule 144 under the
Securities Act (or any similar provision then in force).” Id. at MTI00000122.

                                                    67


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Lowrey’s “Family Group.”

        Section 6 of the 2000 Stockholders Agreement is another section that conflicts with the

1998 Contract.152 That section, in relevant part, provides Intel, and only Intel, with a right to

notice of any “Sale Event” and a “Right of First Offer” if a “Sale Event” occurs.153 Under this

provision, a “Sale Event” is defined in great detail, and includes (1) any Stockholder’s sale of its

shares of Ovonyx’s capital stock which resulted in “any Person or group of affiliated Persons

(other than the owners of Common Stock as of the date of the Purchase Agreement or any of

their Affiliates) owning capital stock of [Ovonyx] possessing the voting power . . . to elect a

majority of [Ovonyx’s] board of directors,” (2) “any sale or transfer of more than 50% of the

assets of [Ovonyx] and it subsidiaries on a consolidated basis,” and (3) “any merger or

consolidation to which [Ovonyx] is a party,” with certain exceptions.154

        By contrast, paragraph 11 of the 1998 Contract requires notice to ECD, and only ECD, of

any sale by Lowrey of his stock in Ovonyx, “intellectual property in the field, and of any stock or

asset sales by [Ovonyx].” It also mandates that ECD be given the First Refusal Right. There is

no way for Lowrey to have complied with the notice and offer requirements of the 2000

Stockholders Agreement, if a Sale Event occurs, without breaching ECD’s First Refusal Right in

the 1998 Contract. Because the Right of First Offer in the 2000 Stockholders Agreement

conflicts with the First Refusal Right in the 1998 Contract, ECD’s First Refusal Right was

extinguished based on Section 9.10 of the 2000 Stockholders Agreement.

        152
              Section 6 is quoted in full in Part II.C of this Opinion.
        153
             The definition of “Sale Event” in the 2000 Stockholders Agreement is quoted in full in Part
II.C of this Opinion.
        154
              2000 Stockholders Agreement at MTI00000122.

                                                        68


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       Section 7 of the 2000 Stockholders Agreement also conflicts with Lowrey’s obligations

under paragraph 11 of the 1998 Contract. Section 7.1 of the 2000 Stockholders Agreement

requires Lowrey to “consent to and raise no objections against [any] Approved Sale, and if the

Approved Sale is structured as a sale of stock,” this provision requires Lowrey to “agree to sell

[his] Stockholder Shares on the terms and conditions approved by the Board and the holders of a

majority of the Stockholder Shares then outstanding.”155 Because complying with his obligations

under Section 7 of the 2000 Stockholders Agreement would put Lowrey in breach of his

obligations under ECD’s First Refusal Right in the 1998 Contract, the 2000 Stockholders

Agreement supercedes the 1998 Contract with regard to that right.

       b. All of ECD’s actions and representations in the bankruptcy case further
          evidence ECD’s intent and understanding that only the 2000 Stockholders
          Agreement govern the rights of the parties regarding the sale or transfer of stock
          and assets of Ovonyx.

       ECD’s actions and representations in its bankruptcy case further evidence ECD’s intent

and understanding that only the 2000 Stockholders Agreement govern the rights of the parties to

that contract, regarding the sale and transfer of stock and assets of Ovonyx. ECD’s actions and

representations in the bankruptcy case include the following:

       •     ECD assumed both the 1999 License Agreement, which did not mention the First
             Refusal Right, and the 2000 Stockholders Agreement with its stated purposes of
             “limiting the manner and terms by which [Ovonyx’s] stock may be transferred,” and it
             rejected the 1998 Contract — the only contract that expressly contained the First
             Refusal Right.

       •     In paragraph 9 of the Sale and Assignment Motion, in which ECD sought an order
             approving the sale of its Ovonyx stock and the assignment of the 2000 Stockholders
             Agreement to Micron, ECD stated, in relevant part, that “[t]he [2000] Stockholders
             Agreement governs certain rights of [ECD], Ovonyx and certain other shareholders


       155
             Id. at MTI00000132.

                                                69


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                of Ovonyx with respect to corporate governance and other matters of Ovonyx and
                its respective shareholders,” but ECD did not mention the 1998 Contract or any
                rights under that contract in this paragraph or in any other provision of the Sale and
                Assignment Motion.156

          •     In paragraph 14 of the Sale and Assignment Motion, ECD stated that “[t]he Equity
                Purchase Agreement is subject to the [F]irst [O]ffer [R]ight contained in the
                [2000] Stockholders Agreement, but free and clear of certain participation rights
                of other stockholders of Ovonyx, Inc. to participate by selling their shares on the
                same terms as the Equity Purchase Agreement in lieu of the Debtor’s shares.”157
                In that motion, ECD did not mention the 1998 Contract, much less state that the
                Equity Purchase Agreement was subject to any rights, including the First Refusal
                Right, in the 1998 Contract. And under the 2000 Stockholders Agreement, anyone
                who was not a shareholder of Ovonyx had no participation or other rights regarding
                the transfer of Ovonyx stock or assets.

          •     In paragraph 19 of the Sale and Assignment Motion, ECD represented that it was “not
                aware of any parties holding liens, claims, interests [or] encumbrances in [its Ovonyx
                stock and the 2000 Stockholders Agreement].”158 This was an implicit but clear
                representation by ECD that the First Refusal Right contained in Paragraph 11 of the
                1998 Contract, which was mutual in that it ran in favor of both ECD and Lowrey, was
                no longer in effect. The only apparent explanation for that, in turn, was that such First
                Refusal Right had been superceded and eliminated by the 2000 Stockholders
                Agreement.

          •     In Paragraph 2.1 of the “Equity Purchase Agreement” with Micron, ECD agreed to
                “sell, transfer, assign, convey and deliver to [Micron], all of ECD’s right, title and
                interest in, to and under [all of its shares of Ovonyx stock] and the [2000]
                Stockholders Agreement, free and clear of all Claims, Interests and
                Encumbrances (except to the extent that the express terms of the [2000]
                Stockholders Agreement themselves constitute Encumbrances).”159
                “Encumbrances” was defined broadly in the Equity Purchase Agreement and
                included, among many other encumbrances,



          156
                See Sale and Assignment Mot. (Docket # 1085 in Case No. 12-43166) at pdf. p. 5 (bold
added).
          157
                Id. at pdf. p. 5 (bold added).
          158
                Id. at pdf. p. 7.
          159
           Equity Purchase Agreement (Docket # 1085 in Case No. 12-43166) at pdf. p. 46 ¶ 2.1
(“Purchase and Sale”) (bold added).

                                                      70


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                         contractual commitments, rights of first refusal,
                         . . . rights limited to ECD, . . . transfer restrictions
                         under any shareholder or similar agreements or any
                         other agreements, arrangements, contracts,
                         commitments, understandings, obligations or
                         interests of any kind or nature whether known or
                         unknown, legal or equitable, matured or unmatured,
                         contingent or noncontingent, liquidated or
                         unliquidated, asserted or unasserted, whether arising
                         prior to or subsequent to the commencement of the
                         Bankruptcy Case, whether imposed by agreement,
                         understanding, Law, equity or otherwise, including,
                         but not limited to . . . rights of first refusal. . . . 160

                This provision clearly expresses the intent of the parties that their rights be
                governed only by the 2000 Stockholders Agreement and that any first refusal
                rights in any other contract, commitment, or understanding be extinguished.
                Based on this language and the following other language in the Equity Purchase
                Agreement, the First Refusal Right under the 1998 Contract, to the extent it
                restricted Lowrey’s right to transfer his Ovonyx stock or ECD’s right to transfer
                its Ovonyx stock, was clearly terminated once the Equity Purchase Agreement
                was approved by the Court, if that First Refusal Right had not already been
                superceded by the 2000 Stockholders Agreement. The Equity Purchase
                Agreement expressly stated that it was free and clear of any rights of first refusal,
                which would include the Right of First Refusal under the 1998 Contract (if it was
                still in effect).

      •     Paragraph 4.5(a) of the Equity Purchase Agreement provided that the sale of Ovonyx
            stock and the assignment of the 2000 Stockholders Agreement was

                         free and clear of all Claims, Interests and
                         Encumbrances (except to the extent that the
                         express terms of the [2000] Stockholders
                         Agreement themselves constitute
                         Encumbrances), and, subject to entry of the
                         Bankruptcy Sale Order, upon the Closing [Micron]
                         will be vested with all right, title and interest of
                         ECD, at and as of the Closing, in, to and under the
                         [shares of Ovonyx stock] and [2000] Stockholders
                         Agreement free and clear of all Claims, Interests
                         and Encumbrances (except to the extent that the


      160
            Id. at pdf. p. 43 (underlining in original) (bold added).

                                                     71


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                         express terms of the [2000] Stockholders
                         Agreement themselves constitute
                         Encumbrances.)”161

      •     Paragraph 4.5(b) of the Equity Purchase Agreement stated that ECD’s shares of
            Ovonyx stock

                         are not subject to any agreement, contract,
                         commitment or understanding, including any
                         agreement, contract, commitment or understanding
                         restricting, or otherwise relating to the voting,
                         dividend rights or transfer of [shares of Ovonyx
                         stock] other than this Agreement [(the Equity
                         Purchase Agreement)] and the [2000]
                         Stockholders Agreement.162

            This representation by ECD would have been false if the First Refusal Right in the
            1998 Contract had not been superceded by the 2000 Stockholders Agreement, because
            the First Refusal Right restricted ECD’s sale of its Ovonyx stock. It required ECD to
            provide Lowrey with notice of the sale and to give Lowrey the Right of First Refusal
            for the stock.

      •     Paragraph 6.1(iv) of the Equity Purchase Agreement stated:

                         Notwithstanding anything in this Agreement to the
                         contrary, (A) ECD shall deliver to Ovonyx and the
                         Other Stockholders (as defined in the [2000]
                         Stockholders Agreement) a notice of the
                         transactions contemplated by this Agreement in the
                         form attached hereto as Exhibit D (the “Offer
                         Notice”) in accordance with Sections 4.3 and 9.8
                         of the [2000] Stockholders Agreement within two
                         Business Days following the Execution Date and
                         (B) such delivery by ECD of the Offer Notice shall
                         not constitute a breach of this Section 6.1(c) or any
                         other provision of this Agreement or give rise to any
                         right of [Micron] to terminate this Agreement under
                         Article 11. ECD shall promptly (but in any event
                         within one Business Day) notify [Micron] if it


      161
            Id. at pdf. p. 48 ¶ 4.5(a) (“General”).
      162
            Id. at pdf. p. 48 ¶ 4.5(b) (“Ovonyx Shares”) (bold added).

                                                      72


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                          receives from Ovonyx or any Other Stockholder (as
                          defined in the [2000] Stockholders Agreement)
                          any written notice purporting to exercise rights to
                          purchase any of the Ovonyx Shares as
                          contemplated by Section 4.3 of the [2000]
                          Stockholders Agreement and deliver to [Micron] a
                          copy of such written notice. On the Execution Date,
                          ECD shall send the Offer Notice by reputable
                          express courier service to Ovonyx and Other
                          Stockholders (as defined in the [2000]
                          Stockholders Agreement) in accordance with
                          section 9.8 of the [2000] Stockholder
                          Agreement.163

              This provision showed that ECD was complying with the notice requirement in the
              2000 Stockholders Agreement rather than the notice requirements in the 1998
              Contract. As discussed above, the notice requirements of the two contracts were
              materially different, and inconsistent with each other.

        •     On August 22, 2019, the Court entered an order granting the Sale and Assignment
              Motion (the “Sale and Assignment Order”), thereby approving ECD’s sale of its
              Ovonyx stock, and the assumption and assignment of the 2000 Stockholders
              Agreement, to Micron.164 The Order, in relevant part, incorporated all of the terms of
              the Equity Purchase Agreement,165 and stated, in relevant part, (1) that ECD was
              representing that the sale was free and clear of all “Interests” as defined in the Sale
              and Assignment Order (which included “rights of first refusal,” and “transfer
              restrictions under any shareholder or similar agreements” ),166 and “subject only to the


        163
              Id. at pdf. p. 53 ¶ 6.1(iv) (“Pre-Closing Covenants of ECD”) (bold added).
        164
           See Order (A) Granting Debtor Energy Conversion Devices, Inc[.]’s Motion to Sell
Certain Equity Interests in Ovonyx, Inc. Free and Clear of Liens, Claims, Interests and
Encumbrances, (B) Authorizing the Assumption and Assignment of [2000] Stockholders Agreement
In Connection Therewith and (C) Granting Certain Related Relief (Docket # 1194 in Case No. 12-
43166).
        165
           See id. at pdf. p. 5 ¶ 3 (underlining in original) (“3. The Equity Purchase Agreement, attached
to the Motion as Exhibit 6-A, and all of the terms and conditions thereof, together with all other related
documents and instruments, are approved and incorporated herein in their entirety.”).
        166
              The term “Interests” was defined broadly in the Sale and Assignment Motion as

                  liens, security interests, collateral assignments, encumbrances, claims (as
                  defined in section 101(5) of the Bankruptcy Code), obligations,

                                                      73


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              [F]irst [O]ffer [R]ight set forth in section 4.3 of the [Equity Purchase Agreement],”167
              and (2) that Micron relied on, and would not have entered into the Equity Purchase
              Agreement but for ECD’s representation that the sale was free and clear of
              Interests,168 and (3) that the Sale and Assignment Order (a) shall be effective as a
              determination that, on the Closing, all Interests of any kind or nature whatsoever
              existing as to the Purchased Assets prior to the Closing have been unconditionally
              released, discharged and terminated.”169 ECD has never moved the Court to amend,
              modify, or set aside the Sale and Assignment Order.



                   liabilities, demands, guarantees, actions, suits, defenses, deposits,
                   credits, allowances, options, rights, restrictions, limitations, contractual
                   commitments, rights of first refusal, rights of setoff or recoupment,
                   third party rights, rights limited to the Debtor, other agreement terms
                   tending to limit any rights or privileges of the Debtor under any
                   contracts, conditional sale contracts, title retention contracts, mortgages,
                   leases, deeds of trust, hypothecations, indentures, security agreements,
                   easements, licenses, servitudes, proxies, voting trusts, transfer
                   restrictions under any shareholder or similar agreements or any
                   other agreements, arrangements, contracts, commitments,
                   understandings, obligations or interests of any kind or nature whether
                   known or unknown, legal or equitable, matured or unmatured, contingent
                   or noncontingent, liquidated or unliquidated, asserted or unasserted,
                   whether arising prior to or subsequent to the commencement of this
                   chapter 11 case, whether imposed by agreement, understanding, law,
                   equity or otherwise, including, but not limited to: (a) those Interests that
                   purport to give any party a right or option to effect a setoff against or any
                   forfeiture, modification or termination of Debtor’s interests in the
                   Purchased Assets, or any similar rights if any; (b) those Interests arising
                   under all mortgages, deeds of trust, security interests, conditional sale or
                   other title retention agreements, pledges, liens, judgments, demands,
                   encumbrances, rights of first refusal or charges of any kind or nature, if
                   any; and (c) those Interests arising in connection with any agreements,
                   the transactions contemplated under the Equity Purchase Agreement,
                   acts, or failures to act, of the Debtor or any of the Debtor’s predecessors,
                   affiliates, or representatives, including, but not limited to, Interests
                   arising under any doctrines of successor liability or similar theories
                   under applicable state or federal law or otherwise[.]

Sale and Assignment Order (Docket # 1194 in Case No. 12-43166) at pdf. pp. 6-7 ¶ 7; see also id. at pdf
pp. 8 ¶ 11, 9 ¶ 12, 11 ¶ 20.
        167
              Id. at pdf. p. 6 ¶ 7.
        168
              Id. at pdf. p. 10 ¶ 15.
        169
              Id. at 11 ¶ 20.

                                                        74


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        The language in the Equity Purchase Agreement, and the Sale and Assignment Motion,

confirms that ECD believed and intended that only the 2000 Stockholders Agreement controlled

the rights and obligations of the parties, with respect to any rights of first refusal or transfer

restrictions.

        For the above reasons, the Court concludes that ECD’s First Refusal Right in the 1998

Contract was extinguished by the 2000 Stockholders Agreement. To the extent Count I of the

First Amended Complaint for breach of contract against Lowrey is based on Lowrey’s alleged

breach of ECD’s First Refusal Right, such count must be dismissed.

        c. Paragraph 23(g) of the 1998 Contract does not save the First Refusal Right from
           being superceded by the 2000 Stockholders Agreement.

        The Court’s conclusion that the 2000 Stockholders Agreement superceded the First

Refusal Right in the 1998 Contract is consistent with ¶ 23(g) in the 1998 Contract, to the extent

that ¶ 23(g) applies. That paragraph provides that the First Refusal Right continues regardless of

any future event, “unless approved otherwise.”170 The parties’ approval of the terms of the 2000

Stockholders Agreement, which were inconsistent with the First Refusal Right in the 1998

Contract, extinguished the First Refusal Right and satisfied the ¶ 23(g) condition for the First

Refusal Right not to continue — namely, that it be “approved otherwise.”

        d. ECD’s First Refusal Right did not spring back to life because of any events that
           occurred after ECD entered the 2000 Stockholders Agreement.

        The Trust argues that even if the 2000 Stockholders Agreement superseded and

terminated ECD’s Refusal Right, as the Court has now ruled, two events that occurred after 2000



        170
              1998 Contract at MTI000036 ¶ 23(g).

                                                    75


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each had the effect of reviving ECD’s First Refusal Right.

       The first such event is ECD’s assumption of the 2000 Stockholders Agreement and

assignment of that agreement to Micron, as part of ECD’s 2012 sale of its Ovonyx stock to

Micron. The Trust argues that:

                  [O]nce ECD’s estate assumed and assigned the 2000
                  [Stockholders] Agreement to Micron, Micron bore all of the
                  obligations of that document, not ECD’s estate. To the extent that
                  the 2000 [Stockholders] Agreement purportedly burdened ECD’s
                  rights under the 1998 [Contract] (or the 1999 [License]
                  Agreement), ECD’s estate was relieved of that burden when
                  Micron took assignment of the 2000 [Stockholders] Agreement but
                  did not take the 1998 [Contract].171

This is so, according to the Trust, because:

                  [p]ursuant to Bankruptcy Code section 365(k), a debtor’s estate is
                  relieved of all ongoing obligations upon the assumption and
                  assignment of an executory contract. As the court explained in
                  Concerto Software, Inc. v. Vitaquest Intern., Inc., 290 B.R. 448 (D.
                  Me. 2003), “the case law provides that an assumption and
                  assignment of an executory contract under section 365 substitutes
                  the assignee for the debtor.” Id. at 454; see also Wainer v. A.J.
                  Equities,Ltd, 984 F.2d 679, 683, 684 (5th Cir. 1993).172

       This argument by the Trust is without merit. First, the argument confuses liabilities with

rights. In assigning the 2000 Stockholders Agreement to Micron, as part of ECD’s 2012 sale of

its Ovonyx stock to Micron, ECD relieved itself of any liability for breach of the 2000

Stockholders Agreement occurring after the assignment. That is what Bankruptcy Code

§ 365(k) means in this context. It says:

                  Assignment by the trustee to an entity of a contract or lease


       171
             Trustee’s Omnibus Objection (Docket # 69) at 30-31.
       172
             Id. at 30.

                                                   76


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               assumed under this section relieves the trustee and the estate from
               any liability for any breach of such contract or lease occurring after
               such assignment.

11 U.S.C. § 365(k). This simply means, at most, that ECD and its bankruptcy estate would not

be liable for any breach of the 2000 Stockholders Agreement by anyone that occurred after ECD

assigned that agreement to Micron. Of course, ECD sold all of its stock to Micron at the same

time it assigned the 2000 Stockholders Agreement to Micron. After ECD no longer owned any

Ovonyx stock, it would not have been possible, in any event, for ECD to have breached any of

the provisions of the 2000 Stockholders Agreement requiring the giving of notice or first

refusal/first offer rights to any other party before ECD sold any Ovonyx stock.

       Whatever may have been the practical and legal effect that this assignment had on

relieving ECD of potential liability under the 2000 Stockholders Agreement, that assignment did

nothing to create any new rights for ECD, or to revive any of ECD’s rights that had previously

terminated, such as ECD’s First Refusal Right. And the Trust cites no authority suggesting

otherwise.

        ECD’s First Refusal Right was a right, which was superseded and thereby extinquished

when ECD entered into the 2000 Stockholders Agreeement with Ovonyx, Lowery, Intel, and

Ward Parkinson. That agreement gave the shareholders of Ovonyx detailed notice and first offer

rights with respect to a sale of Ovonyx stock by any of the shareholders and with respect to

certain sales of Ovonyx assets. As discussed above, these rights were wholly inconsistent with

ECD’s First Refusal Right under the 1998 Contract and the 1999 License Agreement, and

therefore the 2000 Stockholders Agreement expressly superseded ECD’s First Refusal Right.

       Nor was the 2000 Stockholders Agreement merely a “burden” on ECD’s First Refusal


                                                77


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Right, as the Trust tries to characterize it. Rather, the 2000 Stockholders Agreement superceded,

and thereby terminated, ECD’s First Refusal Right. See Salvage I Enters., Inc. v. Dayton

Hudson Corp., 870 F.2d 657 (6th Cir. 1989) (unpublished) (quoting, with approval, the district

court’s holding that under Michigan law, when one agreement supercedes an earlier agreement,

“‘the effect is to supersede and rescind the earlier contract, leaving the later agreement as the

only agreement of the parties on the subject.’” (quoting Joseph v. Rottschafer, 227 N.W. 784,

786 (Mich. 1929)).

        The Trust cites no logic or authority supporting its view that its First Refusal Right

somehow was revived in 2012, when ECD assumed the 2000 Stockholders Agreement and

assigned it to Micron. The Court rejects the Trust’s argument.

        The second event that occurred, which the Trust says somehow revived its First Refusal

Right, is that, according to the Trust, “as part of the July 2015 Transactions, the 2000

[Stockholders] Agreement was terminated.”173 From this, the Trust argues: “Thus, even if that

agreement did supersede the 1998 [Contract’s] First Refusal Rights, the 2000 [Stockholders]

Agreement’s termination necessarily restores the First Refusal Rights because there no longer

would be any inconsistencies or conflicts.”174

         This argument too is without merit. First, the Trust cites no legal authority in support of

this argument. Second, the Trust does not actually allege in its First Amended Complaint that the


        173
              Trustee’s Omnibus Objection (Docket # 69) at 31 n.17.
        174
            Id.; see also id. at 13 (where the Trust states: “Though no Defendant discloses it, all parties to
the 2000 [Stockholders] Agreement agreed by July 10, 2015 to terminate the 2000 [Stockholders]
Agreement in connection with the Merger Agreement and in anticipation of the Merger. Termination of
the 2000 [Stockholders] Agreement terminated any first refusal rights under that agreement. 2000
[Stockholders] Agreement § 2.6.”) The Court notes that § 2.6 of the 2000 Stockholders Agreement says
no such thing. (See 2000 Stockholders Agreement at MTI00000126, § 2.6).

                                                     78


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2000 Stockholders Agreement was terminated, or when precisely that termination occurred.

Rather, this is asserted in the Trust’s brief, and then only in the vague terms quoted above.

Third, it is the “July 2015 Transactions” which the Trust asserts violated its First Refusal Right.

Under this argument by the Trust, the revival of ECD’s First Refusal Right did not occur until the

“July 2015 Transactions” allegedly terminated the 2000 Stockholders Agreement. But ECD’s

allegedly revived First Refusal Right could not have been violated by the very “July 2015

Transactions” that somehow revived that First Refusal Right. This argument by the Trust puts

the proverbial cart before the horse.

       Fourth and finally, and as discussed above, when ECD’s First Refusal Right was

superceded and thereby terminated, upon ECD’s entry into the 2000 Stockholders Agreement,

that was a permanent extinguishment of that First Refusal Right, by agreement of the parties,

including ECD. ECD’s First Refusal Right was not placed in some sort of suspended animation

in 2000; it was terminated in 2000.

       2. Ovonyx’s alleged breach of ECD’s First Refusal Right under the 1999 License
          Agreement

       The Trust alleges, in the first cause of action in the First Amended Complaint, that

Ovonyx breached ECD’s First Refusal Right under the 1999 License Agreement, by failing to

“provide notice to ECD [of the July 2015 Transactions] so that ECD could exercise the First

Refusal Right.”175 Because the Court has found that the First Refusal Right was extinguished by

the 2000 Stockholders Agreement, Ovonyx could not have breached that right in July 2015 —

such a right no longer existed.



       175
             First Am. Compl. at 24 ¶ 130.

                                                 79


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        But even if the First Refusal Right had still existed in July 2015, it would not have

imposed any obligation on Ovonyx to honor ECD’s First Refusal Right, under the plain meaning

of the language used in the 1998 Contract, which allegedly was incorporated into the 1999

License Agreement. The First Refusal Right in the 1998 Contract only imposed obligations on

ECD and Lowrey. The 1998 Contract stated, in relevant part that “both Mr. Lowrey and ECD

grants the other a right of first refusal. . . .”176 At the time the 1998 Contract was signed, Ovonyx

had not yet been formed, and Ovonyx was not a signatory to that contract. In addition, there is no

provision in the 1998 Contract that expresses an intent that the “Entity” to be formed have any

duty to honor the First Refusal Right, although there are many other provisions in the 1998

Contract that do express an intent to bind that “Entity” to other obligations.177

        Because ECD’s First Refusal Right was superceded by the 2000 Stockholders Agreement,

and because there is no basis in the language of the 1998 Contract (or the 1999 License

Agreement) for finding a contractual obligation on the part of Ovonyx to ECD under the First


        176
              1998 Contract (Ex. 5 to Docket # 40) at MTI000034 ¶ 11.
        177
             See, e.g., id. at MTI000032 ¶ 1 (“ECD, Mr. Lowrey, and the Entity agree not to enter into any
agreements in this field without the approval described below until termination, and thereafter only in
compliance with the terms of this contract.”); MTI000033 ¶ 6 (“Lowrey and ECD shall operate
consistent with limitations on liabilities offered by ECD and subsequently the Entity . . . .”); MTI000033
¶ 7.d) (“Subject to approval, the Entity can select a site other than Troy and can vary the scope and
business plan for its actual manufacturing, operations and further licensing activities[.]”); MTI000033
¶ 7.e) (“The Entity may provide moneys to upgrade applicable ECD equipment and support activities
upon approval.”); MTI000034 ¶ 10 (“Upon ECD’s written request, the Entity shall thereafter pay every
three months 0.5% of the Entity’s subsequent revenues to ECD.”); MTI000034 ¶ 17.b) (“ECD and the
Entity shall each assign to Mr. Lowrey his solely originated or invented IP.”); MTI000034 ¶ 17 (“Mr.
Lowrey and ECD, and the Entity if formed, shall fully cooperate on any assignments necessary to effect
this allocation upon termination, and in any further prosecution such as at the PTO at no expense to the
cooperating non-owner.”); MTI000036 ¶ 23.f) (“[T]he Entity shall agree and execute agreements with its
employees and contractors not to use or disclose the Entity’s, Mr. Lowrey’s, ECD’s, or former
employer’s confidential information[.]”); MTI000036 ¶ 27 (“If the Entity is formed both the Entity and
ECD shall thereafter jointly and severally assure ECD’s indemnification obligation to Mr. Lowrey
. . . .”).

                                                   80


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Refusal Right, the Trust’s breach of contract claim against Ovonyx must be dismissed, to the

extent it is based on a breach of ECD’s First Refusal Right.

       3. Lowrey’s alleged breach of ECD’S Royalty Right under the 1998 Contract

       a. Lowrey is not liable for the alleged breach of the ECD’s Royalty Right.

       The Trust also alleges, in the first count of the First Amended Complaint, that Lowrey

breached ECD’s Royalty Right under the 1998 Contract, by not causing Ovonyx to pay ECD

0.5% of Ovonyx’s revenues after ECD sold its Ovonyx shares in 2012.178 Lowrey argues that

“[b]y the plain language of the 1998 Contract Ovonyx, not [Lowrey], was obligated to pay

royalties [to ECD]” and that he cannot be held personally liable for the failure of Ovonyx to pay

the royalty.179 The Court agrees with Lowrey.

       The relevant language in the 1998 Contract states: “Upon ECD’s written request, the

Entity shall thereafter pay every three months 0.5% of the Entity’s subsequent revenues to

ECD.”180 The plain meaning of this language is that, if formed, the Entity would have an

obligation to pay ECD a royalty in the amount of 0.5% of its revenues. Absent from this

language is any mention of Lowrey personally guaranteeing this payment obligation of the Entity,

or otherwise being liable for the Entity’s failure to pay.

       That the Entity to be formed, and not Lowrey, would have an obligation to pay ECD the

royalties makes sense when considered in the context of the stated purpose and the terms of the

1998 Contract. That contract contemplated the formation of an Entity in which all of the


       178
             See First Am. Compl. at 24 ¶ 129.
       179
             Def. Lowrey’s Br. in Supp. of Mot. to Dismiss First Am. Compl. (Docket # 50) at 7.
       180
             1998 Contract at MTI000034 ¶ 10 (bold added).

                                                   81


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activities in the field were to be conducted.181 In furtherance of this purpose, the 1998 Contract

provided that ECD would “grant the Entity an exclusive license in the field with a right to sub-

license its intellectual property if approved,” and ECD also would assign to the Entity all of

Lowrey’s “rights in intellectual property in the field” that Lowrey was required to assign to ECD

before the Entity’s formation.182 Part of the consideration for ECD’s transfer of those rights and

interests to Ovonyx, was a royalty that Ovonyx was to pay to ECD based on the revenues

Ovonyx generated by use of those transferred rights and interests.

        This is consistent with what actually happened, at least from 1999 until 2012.

        Ovonyx was formed, and upon its formation, ECD, Lowrey, and Ovonyx entered into the

1999 License Agreement under which ECD granted “without encumbrance, to Ovonyx a

royalty-bearing, worldwide, exclusive right and license under ECD’s past, present and future IP

(as defined in the [1998] Contract), including the right to sublicense,” and Lowrey assigned

“without encumbrance, to Ovonyx all rights title and interest in and to Mr. Lowrey’s past, present

and future IP.”183

        As discussed in Part V.B of this Opinion above, by signing the 1999 License Agreement,

Ovonyx ratified and adopted the terms and conditions of the 1998 Contract, at least with respect

to ECD’s Royalty Right. As a result of this, under Michigan law, not only did Ovonyx become

liable to pay ECD under the Royalty Right, but also Ovonyx’s shareholders (including Lowrey)

were absolved of any such liability. In this situation, “[a] corporation will be held liable for

        181
             See id. at MTI000033 ¶ 7.a) (“Mr. Lowrey and ECD shall conduct all activities in the field in
this Entity such as manufacturing and licensing[.]”).
        182
              Id. at MTI000034 ¶¶ 14.a) - b).
        183
              1999 License Agreement at MTI000038 ¶¶ 1-2 (bold added).

                                                    82


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preincorporation contracts made by the promoters or incorporators if the corporation

subsequently ratifies or adopts the contracts, and the promoters will not be held liable.”

Medco Health Care Servs., Inc. v. Bragg, No. 174335, 1996 WL 33364162, at *1 (Mich. Ct.

App. May 28, 1996) (emphasis added) (citing Henderson v. Sprout Bros., Inc., 440 N.W.2d 629,

634 (Mich. Ct. App. 1989) and Campbell v. Rukamp, 244 N.W. 222, 223 (Mich. 1932)

(explaining that “[h]ad the proposed corporation been duly organized and the mentioned

purchase contract ratified, then” the promoters could not be held personally liable on that

contract)).

       Given the foregoing Michigan case law, the Court is not aware of any basis under

Michigan law, given the facts of this case, to hold Lowrey personally liable for Ovonyx’s breach

of ECD’s Royalty Right.

       b. Lowrey is not personally liable for Ovonyx’s alleged breach of ECD’s Royalty
          Right.

       Although it is not entirely clear, it appears that the Trust may also be relying on Lowrey’s

position as one of the controlling shareholders of Ovonyx, and/or his position as President and

CEO of Ovonyx, as grounds for holding him personally liable for Ovonyx’s breach of its

obligation to pay ECD a royalty. But the facts alleged in the First Amended Complaint are

insufficient, as a matter of Michigan law, for concluding that Lowrey is personally liable for

Ovonyx’s failure to pay ECD a royalty.

       i. The general rule under Michigan law, that corporations exist separately from
          their owners

       “It is well-settled that Michigan courts will respect the separate existence of business

entities from their owners. This is true even when a single shareholder or member owns the


                                                83


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entity.” Alpha Inv., L.L.C. v. Alpha Real Estate, L.L.C., No. 291939, 2010 WL 4977902, at *3

(Mich. Ct. App. Dec. 7, 2010) (citations omitted) (holding that “in the absence of evidence that

would warrant disregarding the separate existence of the entities involved, [an incorporator who

signed the purchase agreement at issue which stated that he ‘was acting on behalf of two entities

that had not yet been formed’] could not be individually liable for breaches of those

contracts”).184

        ii. Exceptions to Michigan’s general rule respecting the corporate form

        a. Piercing the corporate veil/alter ego

        As an exception to the general rule, Michigan courts will disregard a corporation’s

separate existence and hold an individual shareholder(s)/owner(s) personally liable where the

corporate form is used to commit a fraud or a wrong; or, in the words of one case, where “the

owner exercised its control over the entity in a manner amounting to a fraud or wrong under such

circumstances that a court ‘would aid in the consummation of a wrong’ if it were to honor the

separate existence of the entity.” Green v. Ziegelman, 873 N.W.2d 794, 806 (Mich. Ct. App.

2015) (italics in original) (relying on and quoting Gledhill v. Fisher & Co., 262 N.W. 371, 372

(Mich. 1935)).

        In Servo Kinetics, Inc. v. Tokyo Precision Instruments Co. LTD, 475 F.3d 783, 798 (6th

Cir. 2008), the Sixth Circuit Court of Appeals, applying Michigan law, explained:



        184
            Ovonyx attempts to distinguish the facts in Alpha from the facts in this case by stating that in
Alpha, “it was clear that the promoter was ‘acting on behalf of’ two entities that he had yet to form when
he signed the agreements. Lowrey assumed no such role on behalf of the Entity – he signed on his own
behalf as an individual party to the 1998 [Contract].” (Trustee’s Omnibus Objection (Docket # 69) at 39-
40.) The Court disagrees with Ovonyx’s reading of the 1998 Contract. It is clear that Lowrey and ECD
signed the 1998 Contract both on their own behalf and on the behalf of the “Entity” that the contract
contemplated would be formed.

                                                    84


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                      Under Michigan law, there is a presumption that the
               corporate form will be respected. Seasword v. Hilti, 449 Mich. 542,
               537 N.W.2d 221, 224 (1995) (citing Herman v. Mobile Homes
               Corp., 317 Mich. 233, 26 N.W.2d 757, 761 (1947)). “This
               presumption, often called the ‘corporate veil,’ may be pierced only
               where an otherwise separate corporate existence has been used to
               ‘subvert justice or cause a result that [is] contrary to some
               overriding public policy.’” Id. (alteration in original) (quoting
               Wells v. Firestone, 421 Mich. 641, 364 N.W.2d 670, 674 (1984)).
               Michigan courts will not pierce the corporate veil unless (1) the
               corporate entity was a mere instrumentality of another entity or
               individual; (2) the corporate entity was used to commit a fraud or
               wrong; and (3) the plaintiff suffered an unjust loss. Foodland
               Distribs. v. Al–Naimi, 220 Mich. [Ct,] App. 453, 559 N.W.2d 379,
               381 (1996) (citing SDC Chem. Distribs., Inc. v. Medley, 203 Mich.
               [Ct.] App. 374, 512 N.W.2d 86, 90 (1994)); see also Gledhill v.
               Fisher & Co., 272 Mich. 353, 262 N.W. 371, 372 (1935).

Id.; see also Bodnar v. St. John Providence, Inc., No. 337615, 2019 WL 1049639, at *9 (Mich.

Ct. App. Mar. 5, 2019) (same); Llewellyn-Jones v. Metro Prop. Grp., LLC, 22 F. Supp. 3d 760,

796 (E.D. Mich. 2014) (applying Michigan law) (same).

               A court, in considering whether an entity is used as a mere
               instrumentality, may consider factors such as “undercapitalization
               of the corporation, the maintenance of separate books, the
               separation of the corporate and individual finances, the use of the
               corporation to support fraud or illegality, the honoring of corporate
               formalities, and whether the corporation is merely a sham.”
               Laborers’ Pension Trust Fund v. Sidney Weinberger Homes, Inc.,
               872 F.2d 702, 704–5 (6th Cir.1988).

Llewellyn-Jones, 22 F. Supp. 3d at 796; see also GKN Driveline Newton LLC v. Stahl Specialty

Co., No. 15-CV-14427, 2016 WL 1746012, at *5 (E.D. Mich. May 3, 2016) (noting that the

Sixth Circuit, in Int’l Union, United Auto., Aerospace & Agr. Implement Workers of Am. v.

Aguirre, 410 F.3d 297, 302–03 (6th Cir. 2005) (quoting Laborers’ Pension Trust Fund v. Sidney

Weinberger Homes, 872 F.2d 702, 704–05 (6th Cir. 1988)), “stated that courts should consider

additional specific factors, such as ‘undercapitalization of the corporation, the maintenance of

                                                85


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separate books, the separation of corporate and individual finances, the use of the corporation to

support fraud or illegality, the honoring of corporate formalities, and whether the corporation is

merely a sham’”).

        Under Michigan law, a breach of contract can satisfy the “fraud or wrong” element for

piercing the corporate veil. Servo Kinetics, 475 F.3d at 799-800 (citations omitted) (“Turning to

the second element, we hold that, assuming that a jury concluded that [the plaintiff] could

recover for breach of contract, this breach would constitute a “fraud or wrong” for the purpose of

veil-piercing liability.”).

        The Green court, relying on the Michigan Supreme Court’s decision in Gledhill v. Fisher

& Co., 262 N.W. 371 (Mich. 1935) as a foundation, laid out the analysis a court should make

“when considering whether to disregard the separate existence of an artificial entity.” 873

N.W.2d at 807. The Green court explained:

                [A] court must first examine the totality of the evidence
                surrounding the owner’s use of an artificial entity and, in
                particular, the manner in which the entity was employed in the
                matter at issue. From this evidence, the trial court must determine
                whether the evidence establishes that the owner operated the entity
                as his or her alter ego—that is, as a sham or mere agent or
                instrumentality of his or her will.

                        The court then must determine whether the manner of use
                effected a fraud or wrong on the complainant. In considering this
                element, it is not necessary to prove that the owner caused the
                entity to directly harm the complainant; it is sufficient that the
                owner exercised his or her control over the entity in such a manner
                as to wrong the complainant. But it bears repeating that
                establishing an entity for the purpose of avoiding personal
                responsibility is not by itself a wrong that would warrant
                disregarding the entity’s separate existence.

                       Finally, the trial court must determine whether the wrong
                would cause the complainant to suffer an unjust loss. If

                                                86


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               disregarding the separate existence would harm innocent third
               parties, it may be just to allocate the loss to the complainant,
               notwithstanding the wrong. Similarly, a loss is not unjust if the
               complainant had full knowledge of the circumstances surrounding
               the owner’s use of the entity and agreed to proceed despite that
               knowledge. If, considering the totality of the equities, the trial court
               would be consummating a wrong by honoring an entity’s separate
               existence, the court may disregard the entity’s separate existence.

873 N.W.2d at 807-08 (citations omitted).

       Piercing the corporate veil is not an independent substantive cause of action under

Michigan law. Rather, it is a remedy used only for the benefit of third parties, and used only if

the corporation has been found liable on some other independent claim. Spartan Tube & Steel,

Inc. v. Himmelspach (In re RCS Engineered Prods. Co., Inc.), 102 F.3d 223, 226 (6th Cir. 1996)

(applying Michigan law) (“[A]n alter ego claim is not by itself a cause of action.”).

       b. Personal liability assessed against corporate officers who cause the corporation
          to commit a crime or a tort

       Michigan courts also will disregard the corporate form and hold an officer(s) of a

corporation personally liable for his own tortious or criminal acts, even when such officer was

acting for the benefit of the corporation, and for the actions of the corporation where that officer

caused the corporation to act criminally or tortiously. In Livonia Bldg. Materials Co. v. Harrison

Const. Co., 742 N.W.2d 140, 143–44 (Mich. Ct. App. 2007), the court stated:

               Officers of a corporation may be held individually liable when they
               personally cause their corporation to act unlawfully. People v.
               Brown, 239 Mich. [Ct.] App. 735, 739–740, 610 N.W.2d 234
               (2000). “ [A] corporate employee or official is personally liable for
               all tortious or criminal acts in which he participates, regardless of
               whether he was acting on his own behalf or on behalf of the
               corporation.’” Id., quoting Attorney General v. Ankersen, 148
               Mich. [Ct.] App. 524, 557, 385 N.W.2d 658 (1986).

Id.; see also Dep’t of Agric. v. Appletree Mktg., L.L.C., 779 N.W.2d 237, 246–47 (Mich. 2010)

                                                 87


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(same); Llewellyn-Jones, 22 F. Supp. 3d at 795 (internal quotation marks and citations omitted)

(stating that “Michigan law has long provided that corporate officials may be held personally

liable for their individual tortious acts done in the course of business, regardless of whether they

were acting for their personal benefit or the corporation's benefit,” and that “Michigan courts

have recognized [that][o]fficers of a corporation may be held individually liable when they

personally cause their corporation to act unlawfully.”). In either of such cases, it is not necessary

to pierce the corporate veil to hold the officer personally liable. Dep’t of Agric., 779 N.W. 2d at

247.

       The Trust has not alleged any facts that would establish any of these grounds for holding

Lowrey personally liable for Ovonyx’s failure to pay ECD a royalty. The Trust has not alleged

that, in failing to pay the royalties to ECD from 2012 on, Ovonyx was a mere instrumentality of

Lowrey, nor has the Trust alleged sufficient facts from which the Court plausibly could conclude

this. Nor has the Trust alleged that, with respect to the failure of Ovonyx to pay ECD the

royalties, Lowrey personally committed a crime or a tort or that he caused Ovonyx to commit a

crime or a tort. Therefore, under the facts alleged in the First Amended Complaint, there is no

basis for the Court to hold Lowrey personally liable for Ovonyx’s breach of its obligation to pay

the royalties under ECD’s Royalty Right. To the extent the first count of the complaint against

Lowrey is based on such a breach, it fails to state a plausible claim upon which relief can be

granted, and must be dismissed.

       4. Ovonyx’s alleged breach of ECD’S Royalty Right under the 1999 License
          Agreement

       In the first cause of action the Trust also alleges that Ovonyx breached ECD’s Royalty

Right under the 1999 License Agreement, by not paying the 0.5% royalty to ECD after ECD sold

                                                 88


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its stock to Micron in 2012.185 To this extent the Trust has stated a plausible claim against

Ovonyx. For the reasons discussed in Part V.B of this Opinion, above, Ovonyx was bound to

pay ECD the royalty at issue, by the 1999 License Agreement and its incorporation of ECD’s

Royalty Right from the 1998 Contract, as well as by Ovonyx’s ratification and adoption of the

royalty payment provision in the 1998 Contract.

       And Ovonyx acted as though it thought itself obligated to pay ECD the royalties at issue.

Ovonyx paid ECD a quarterly royalty in the amount of 0.5% of all of Ovonyx’s revenues

beginning in 2000 and continuing for approximately 12 years. And the First Amended

Complaint also alleges that “[i]n at least one known instance, including on May 23, 2012, the

Ovonyx Board of Directors approved and ratified Royalty payments to ECD.”186 The First

Amended Complaint also alleges that although Ovonyx stopped making royalty payments to

ECD, it kept its obligation to do so on the books and records of Ovonyx for at least one year after

the sale of ECD’s Ovonyx stock.187 The First Amended Complaint states, in relevant part:

                         78. For at least a year after the Bankruptcy Sale, Ovonyx
                 continued to represent in its financial statements that it was
                 obligated to pay the 0.5% Royalty as required under the 1998
                 [Contract] and the 1999 [License] Agreement. [For example, in
                 Ovonyx’s financial statements for fiscal year ending May 31,
                 2013, Ovonyx represented that it has paid ECD the Royalty,
                 with no indication that its obligations had terminated.]

                         79. However, Ovonyx failed to pay any Royalties after the
                 [the closing of ECD’s sale of its stock.] [Indeed, Ovonyx made
                 the intentional decision not to pay the Royalty, but did so in


       185
             First Am. Compl. at 24 ¶ 130.
       186
             Id. at 13 ¶ 63 (bold and brackets omitted).
       187
             Id. at 15 ¶ 78.

                                                     89


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                   secret – at no time did Ovonyx inform ECD, or provide any
                   notice, that Ovonyx was not going to honor its contractual
                   obligations.]”188

The Trust also alleges that it was not until May 2018 that Ovonyx, through Lowrey, first

disclosed to the Trust that “after the sale of ECD’s interest in Ovonyx to Micron . . . when

Lowrey was the senior officer of Ovonyx, [Ovonyx] made the knowing decision to not pay

the Royalty . . . in secret – the Trust was never informed.”189

        There is nothing in the record to indicate why Ovonyx stopped paying ECD a royalty after

ECD’s sale of its stock to Micron in 2012.190 And there is little in the way of argument by

Ovonyx justifying such cessation of the royalty payments.

        Ovonyx argues that “ECD’s rejection of the 1998 Contract prohibits the Trust from

enforcing it against Ovonyx as a matter of law.”191 But this agument is based on Ovonyx’s

erroneous legal conclusion that rejection of a contract under 11 U.S.C. § 365 constitutes a

recision or termination of the contract. But for the reasons explained in Part V.C of this Opinion

above, ECD’s rejection of the 1998 Contract was only a breach, not a rescission or termination of

that contract, and ECD’s Royalty Right survived the rejection.

        Nor did ECD’s 2012 sale of its Ovonyx stock to Micron, or ECD’s assumption and



        188
              Id. at 15 ¶¶ 78-79 (bold in original).
        189
              Id. at 4 ¶ 10 (bold in original).
        190
            During the hearing, when the Court asked counsel for Ovonyx if there was “anything in the
record [regarding] why Ovonyx stopped paying royalties to ECD when they did,” counsel responded that
there was not. (See Tr. (Docket # 173) at 17).
        191
             Defs. Ovonyx’s. and Micron’s Br. in Supp. of Mot. to Dismiss (Docket # 40) at 17; see also
id. at 2 (“ECD never assumed the 1998 Contract in its bankruptcy case, and thus, as a matter of law, it
cannot enforce it now.”).

                                                       90


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assignment of the 2000 Stockholder’s Agreement, eliminate ECD’s Royalty Right. As explained

in Part V.B above, Ovonyx’s obligation to pay ECD a royalty arose out of the 1999 License

Agreement under which Ovonyx received valuable licensing rights in return for agreeing to be

bound by the royalty terms of the 1998 Contract, including the obligation under that contract to

pay ECD 0.5% of all of Ovonyx’s revenues as a royalty. ECD’s Royalty Right under the 1998

Contract was not based on, and did not depend on, ECD’s ownership of stock of Ovonyx.

Rather, Ovonyx’s obligation to pay ECD a royalty was part of the consideration Ovonyx paid for

rights to use intellectual property that Ovonyx obtained under the 1999 License Agreement.

Therefore, ECD’s sale of its Ovonyx stock to Micron had no impact on Ovonyx’s obligation to

pay ECD a royalty.

       With regard to the 2000 Stockholders Agreement, which ECD assumed and assigned to

Micron when it sold the Ovonyx stock to Micron in 2012, the Trust notes: “No party argues that

the 2000 [Stockholders] Agreement has any bearing on Ovonyx’s obligations to pay the Royalty.

No provision in the 2000 [Stockholders] Agreement in any way limits Ovonyx’s obligations to

pay the Royalty.”192 The Court agrees.

       For these reasons, the Court concludes that the First Amended Complaint plausibly

alleges a claim for breach by Ovonyx of its contractual obligation to pay ECD a royalty under the

1999 License Agreement and the 1998 Contract. To the extent Ovonyx’s motion seeks a

dismissal of the first count of the First Amended Complaint with regard to ECD’s Royalty Right,

the motion must be denied.                                          ,

E. The First Amended Complaint’s second cause of action, against Micron, based on alter


       192
             Trustee’s Omnibus Objection (Docket # 69) at 33.

                                                   91


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   ego/successor liability

       In the second cause of action in the First Amended Complaint, the Trust alleges that

because Ovonyx “materially breached the 1999 License Agreement[,]” and Micron “acquired all

of the stock of Ovonyx in July 2015,” Micron was the successor in interest to Ovonyx and

became “liable for the obligations of Ovonyx.”193 The Trust also alleges, in the alternative, that

Micron is the alter ego of Ovonyx and “abused the corporate form of Ovonyx by causing Ovonyx

to enter into the OMT Agreement and to orchestrate transactions by which Micron and its joint

venture partner Intel would receive the benefit of a royalty free license for Ovonyx’s technology

relating to 3D XPoint [technology it was developing and marketing,] without complying with the

1998 [Contract] and the 1999 [License] Agreement.”194 The Trust reasons that because Micron is

the “alter ego of Ovonyx” it “is responsible for the obligations of Ovonyx under the 1999

[License] Agreement.”195

       Micron argues that because the Trustee’s alter ego and successor liability theories of

recovery are not independent causes of action, but rather are only remedies, any recovery under

either theory “hinges on an underlying breach of contract by Ovonyx.”196 Because “the Trust’s

breach-of-contract claim against Ovonyx fails as a matter of law,” Micron says, it follows that

“the Trust’s second cause of action for alter ego/successor liability against Micron” also fails.197



       193
             First Am. Compl. at 25 ¶¶ 142-43.
       194
             Id. at 25-26 ¶¶ 144-45.
       195
             Id. at 26 ¶ 145.
       196
             Defs.’ Ovonyx’s and Micron’s Br. in Supp. of Mot. to Dismiss (Docket # 40) at 31-32 ¶ IV.B.
       197
             Id.

                                                   92


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Micron argues further that the Trust has not “pled sufficient facts to support [the elements of alter

ego liability or successor liability on Micron].”198

        Micron is correct that under Michigan law, alter ego liability and successor liability are

only remedies, not independent causes of action. See, e.g., Spartan Tube & Steel, Inc. v.

Himmelspach (In re RCS Engineered Prod. Co., Inc.), 102 F.3d 223, 226 (6th Cir. 1996)

(applying Michigan law) (“[A]n alter ego claim is not by itself a cause of action.”); Mikron Digit.

Imaging, Inc. v. Omega Med. Imaging, Inc., No. 16-13134, 2017 WL 372019, at *8 (E.D. Mich.

Jan. 26, 2017) (citing Morris v. Schnoor, No. 315006, 2014 WL 2355705, at *44 (Mich. Ct. App.

May 29, 2014) and holding that because “each of [the plaintiff’s] underlying claims against [the

defendant] fail . . . the successor liability claim cannot survive as a separate cause of action.”).

        The Trust agrees, but argues that “[w]hen alter ego/successor liability is pled as a separate

cause of action, courts allow the claim to stand if the underlying actions survive[.]”199 The Trust

is correct. See, e.g., GKN Driveline Newton LLC v. Stahl Specialty Co., No. 15-CV-14427, 2016

WL 1746012, at *5 (E.D. Mich. May 3, 2016) (internal quotation marks and citations omitted)

(stating that “[i]t is well established that piercing the corporate veil is not itself a cause of

action” and that “[t]his is because piercing the corporate veil is an equitable theory or remedy,

rather than a cause of action upon which relief can be granted” but “[a]lthough plead as a

separate claim” deciding to “construe [the p]laintiff’s [veil] piercing claim as a request for

equitable relief based on [the p]laintiff’s underlying breach of contract claim.”).

        Because one of the Trust’s claims against Ovonyx survives — i.e., the claim that Ovonyx


        198
              Id.
        199
              Trustee’s Omnibus Objection (Docket # 69) at 41 ¶ III.D.1.

                                                     93


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breached the 1998 Contract and the 1999 License Agreement with respect to the Royalty Right

— the Court must consider whether the First Amended Complaint has plausibly pled a basis for

the Court to impose liability on Micron for such breach. Thus, the Court will consider the

Trust’s alter-ego and successor liability theories against Micron.

          1. The Trust’s alter ego theory

          Regarding the the Trust’s alter ego claim against Micron, the First Amended Complaint

states:

                    144. Micron abused the corporate form of Ovonyx by causing
                    Ovonyx to enter into the OMT Agreement and to orchestrate
                    transactions by which Micron and its joint venture partner Intel
                    would receive the benefit of a royalty free license for Ovonyx’s
                    technology relating to 3D XPoint without complying with the 1998
                    [Contract] and the 1999 [License] Agreement.

                    145. Micron, as alter ego of Ovonyx, is responsible for the
                    obligations of Ovonyx under the 1999 Agreement.200

          As discussed in Part V.D.3.b of this Opinion, above, with regard to the alter ego claim

against Lowrey, “Michigan courts will not pierce the corporate veil unless (1) the corporate entity

was a mere instrumentality of another entity or individual; (2) the corporate entity was used to

commit a fraud or wrong; and (3) the plaintiff suffered an unjust loss.” Servo Kinetics, Inc. v.

Tokyo Precision Instruments Co. LTD, 475 F.3d 783, 798 (6th Cir. 2008) (citations omitted).

The Trust must plausibly allege facts that support each of these three elements.

          The Trust has not expressly alleged that Ovonyx was a “mere instrumentality” of Micron.

But the Trust has alleged sufficient facts from which the Court could plausibly conclude that, at

least beginning when Micron became the 100% shareholder of Ovonyx as a result of the July


          200
                First Am. Compl. at 25-26 ¶¶ 144-45.

                                                       94


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2015 Merger, Ovonyx was a “mere instrumentality” of Micron, and that the other alter ego

elements are met.

        Here, a distinction must be drawn between Micron’s ownership and control of Ovonyx

before the July 2015 Merger, and after that Merger. Before the Merger, according to the Trust’s

allegations, Micron owned only 37.1% of the stock of Ovonyx.201 For the time period 2012 until

July 2015, when Ovonyx failed to pay any royalties due under ECD’s Royalty Right, the

allegations of the First Amended Complaint do not permit the conclusion that Ovonyx was a

mere intsrumentality of Micron. The factual allegations do not plausibly support such a

conclusion. For this time period, there are no allegations about the factors which Michigan

courts evaluate to determine whether one corporation is the “mere instrumentality” of another,

and whether a defendant has abused the corporate form; such as “undercapitalization of the

corporation,” the failure to maintain separate books, the failure to separate corporate finances

from individual finances, “the use of the corporation to support fraud or illegality,” and “whether

the corporation is merely a sham.” See Llewellyn-Jones, 22 F. Supp. 3d at 796. Also lacking is

any allegation regarding the degree of control that Micron allegedly had over Ovonyx during this

pre-Merger time period, and the ways in which Micron controlled Ovonyx, if at all, during that

time period (e.g., through common management and decision making or intertwined financial

affairs).

        In Trustees of Detroit Carpenters Fringe Benefit Funds v. Patrie Const. Co., 618 F.

App’x 246, 251-54 (6th Cir. 2015), the court determined that the amended complaint did not

allege “sufficient factual content in support of [the] alter-ego contentions to survive a motion to


        201
              See id. at 17-18 ¶ 90 (alleging that Micron did not already own 62.9% of the Ovonyx stock).

                                                     95


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dismiss under Rule 12(b)(6),” where the amended complaint contained only “[g]eneralized and

conclusory allegations regarding common ownership, employees, management, control, and

decisionmaking,” and although it alleged that the defendant controlled each of the companies at

issue, the complaint contained no allegations regarding the degree of control.

       Compounding this problem for the Trust are allegations in the First Amended Complaint

that tend to support a finding that, before the 2015 Merger occurred, Ovonyx was operating

independently of, and not under the control, of Micron. For example, the First Amended

Complaint states that:

                         93.     [Ovonyx negotiated with Micron for several months
                 prior to executing the Merger [Agreement]. Ovonyx established a
                 so-called Sale Transaction Committee, comprised of Lowrey, Ward
                 Parkinson, and Robert Jecmen, (the “Sale Committee”). Allegedly
                 the Sale Committee engaged the services of two valuation firms,
                 but Ovonyx failed to provide copies of any valuations obtained in
                 connection with the merger in response to the Rule 2004
                 Subpoena.]202

       But for the time period beginning in July 2015, when Ovonyx became the 100%

shareholder of Ovonyx under the Merger, the First Amended Complaint does allege sufficient

facts to plausibly show the alter ego elements, with respect to breach of ECD’s Royalty Right.

As 100% shareholder, of course, Micron had complete control over Ovonyx. And the alter ego

elements — (1) that Ovonyx was a mere instrumentality of Micron; (2) that Ovonyx was used by

Micron to commit a fraud or wrong; and (3) that the Trust suffered an unjust loss — are

sufficiently pled, based on the allegations and claims discussed in detail later in this Opinion.

See discussion of the Trust’s third cause of action against Micron (Micron’s tortious interference



       202
             First Am. Compl. at 18 ¶ 93.

                                                 96


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with contract, through the use and control of Ovonyx) (Part V.F of this Opinion); discussion of

the Trust’s sixth cause of action against Intel (aiding and abetting Micron’s tortious interference

with contract, through Micron’s use and control of Ovonyx) (Part V.I of this Opinion); and

discussion of the Trust’s fifth cause of action against OMT (fraudulent transfer that Micron

caused Ovonyx to make to OMT) (Part V.H of this Opinion).

        For the reasons just discussed, the Trust’s alter ego claim against Micron will survive

Micron’s motion to dismiss.

        2. The Trust’s successor liability theory

        The Trust’s successor liability claim against Micron will not survive, however, for the

reasons discussed below.

        It appears that the allegations in the First Amended Complaint by which the Trust seeks

to support its successor liability claim against Micron are the following:

                           142.      Ovonyx has materially breached the 1999 Agreement.

                        143. Micron acquired all of the stock of Ovonyx in July
                  2015. By acquiring such stock, Micron is liable for the obligations
                  of Ovonyx.203

In other words, the Trust is alleging that Micron is liable for Ovonyx’s debt to the Trust, for

breach of contract, because Micron acquired all of the stock of Ovonyx. The Trust appears to

argue that these allegations are sufficient to state a claim for successor liability, in part, because

one of the steps by which Micron acquired all the stock of Ovonyx was a merger of Micron’s

wholly-owned subsidiary, Oscar Merger Corp., into Ovonyx. Even though this was not a merger

of Micron with Ovonyx, but rather a merger of Micron’s subsidiary with Ovonyx, the Trust


        203
              Id. at 25 ¶¶ 142-43.

                                                      97


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argues:

                    “The traditional rule of successor liability examines the nature of
                    the transaction between predecessor and successor corporations. If
                    the acquisition is accomplished by merger, with shares of stock
                    serving as consideration, the successor generally assumes all its
                    predecessor’s liabilities.” Foster v. Cone-Blanchard Mach. Co.,
                    597 N.W.2d 506, 509 (Mich. 1999). Here, Micron obtained all of
                    Ovonyx’s outstanding shares, and control over Ovonyx under the
                    Merger Agreement. Compl. ¶ 85. The Trust has thus alleged that
                    it thus assumed both the benefits and liabilities of Ovonyx.204

          In the Foster case cited by the Trust, the Michigan Supreme Court discussed successor

liability:

                            The traditional rule of successor liability examines the
                    nature of the transaction between predecessor and successor
                    corporations. If the acquisition is accomplished by merger, with
                    shares of stock serving as consideration, the successor generally
                    assumes all its predecessor's liabilities. However, where the
                    purchase is accomplished by an exchange of cash for assets, the
                    successor is not liable for its predecessor’s liabilities unless one of
                    five narrow exceptions applies. The five exceptions are as follows:

                            “(1) where there is an express or implied
                            assumption of liability; (2) where the transaction
                            amounts to a consolidation or merger; (3) where
                            the transaction was fraudulent; (4) where some of
                            the elements of a purchase in good faith were
                            lacking, or where the transfer was without
                            consideration and the creditors of the transferor
                            were not provided for; or (5) where the transferee
                            corporation was a mere continuation or
                            reincarnation of the old corporation. (19 Am Jur 2d,
                            Corporations, § 1546, pp. 922–924; Malone v. Red
                            Top Cab Co., 16 Cal.App.2d 268, 273 [60 P.2d 543
                            (1936) ].)” [Turner, supra at 417, n. 3, 244 N.W.2d
                            873, quoting Schwartz v. McGraw–Edison Co., 14
                            Cal.App.3d 767, 92 Cal.Rptr. 776 (1971).]



          204
                Trustee’s Omnibus Objection (Docket # 69) at 44.

                                                      98


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               The traditional rule reflects the general policy of the corporate
               contractual world that liabilities adhere to and follow the corporate
               entity. It serves to protect creditors and shareholders, to facilitate
               determination of tax responsibilities, and to promote free
               alienability of business assets.

Foster v. Cone-Blanchard Mach. Co., 597 N.W.2d 506, 509–10 (Mich. 1999) (footnote omitted)

(bold and italics added); see also Bestfoods v. Aerojet-Gen. Corp., 173 F. Supp. 2d 729, 757

(W.D. Mich. 2001) (same) (citing Foster, 597 N.W.2d at 509-10).

       In addition to the above “traditional” grounds described in Foster for finding successor

liability, the Foster court noted that it also had applied a “continuity of enterprise” theory to find

successor liability, in a products liability case, Turner v. Bituminous Cas. Co., 244 N.W.2d 873

(Mich. 1976). In Foster, the court described the “continuity of enterprise” theory:

               After examining the relevant policy concerns, this Court in Turner
               [v. Bituminous Cas. Co., 244 N.W.2d 873 (Mich. 1976)],
               concluded that a continuity of enterprise between a successor and
               its predecessor may force a successor to “accept the liability with
               the benefits” of such continuity. Turner held that a prima facie case
               of continuity of enterprise exists where the plaintiff establishes the
               following facts: (1) there is continuation of the seller corporation,
               so that there is a continuity of management, personnel, physical
               location, assets, and general business operations of the predecessor
               corporation; (2) the predecessor corporation ceases its ordinary
               business operations, liquidates, and dissolves as soon as legally and
               practically possible; and (3) the purchasing corporation assumes
               those liabilities and obligations of the seller ordinarily necessary
               for the uninterrupted continuation of normal business operations of
               the selling corporation. Turner identified as an additional principle
               relevant to determining successor liability, whether the purchasing
               corporation holds itself out to the world as the effective
               continuation of the seller corporation.

Id. at 510 (footnote omitted) (citation omitted).

       At least one case has held that the three requirements for finding successor liability under

a “continuity of enterprise” theory, as described in the Turner and Foster cases, quoted above,

                                                    99


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are the same as the requirements for finding a “de facto merger,” which is a traditional basis for

successor liability. See Bestfoods, 173 F. Supp. 2d at 757 & n.7 (W.D. Mich. 2001).

       Under the Trust’s allegations in this case, there was no formal merger of Micron with

Ovonyx. The only merger alleged was the merger of Micron’s 100% subsidiary corporation with

(and into) Ovonyx. But that merger is not a sufficient basis for finding Micron liable for

Ovonyx’s debts under a successor liability theory. See Bestfoods, 173 F. Supp. 2d at 758.

       In Bestfoods, a corporation (“CPC”) decided to acquire another corporation (“Ott I”). Ott

I had owned and operated a chemical manufacturing facility, and had environmental liabilities as

a result, under the Comprehensive Environmental Response, Compensation, and Liability Act

(“CERCLA”), “for past and future costs incurred in the environmental cleanup of the soil,

surface water and groundwater surrounding a dormant chemical manufacturing plant[.]” Id. at

732. Under an amendment to a purchase agreement entered into by and between CPC and Ott I,

CPC was to form a wholly-owned subsidiary (“Ott II”) prior to closing the sale, which would

acquire Ott I and would receive all the benefits and assume all of the liabilities that inured to

CPC under the original purchase agreement between CPC and Ott I. Id. at 736. The amended

agreement further provided that CPC would “‘have no liability whatsoever with respect to any of

said obligations and undertakings.’” Id.

       The Bestfoods court assumed “for purposes of . . . discussion that Ott II could be

considered the successor corporation to Ott I by virtue of a de facto merger.” Id. at 757 (italics in

original). Even under this assumption, the court found that Ott II’s parent company, CPC, had no

liability. The court stated: “[T]he court is aware of no case holding that a parent corporation

may be held liable solely on the basis of a de facto merger of a subsidiary with the


                                                 100


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predecessor corporation.” Id. (italics in original) (bold added). The Bestfoods court further

stated:

                         Applying the elements of de facto merger to the transaction
                 between Ott I and CPC leading to the formation of Ott II, I
                 conclude that the governments have failed to demonstrate a de
                 facto merger between Ott I and CPC . . . While CPC purchased and
                 paid for the assets with its own stock, it did so by establishing a
                 subsidiary corporation, a clearly lawful and permissible structure
                 for limiting corporate liability. As the Supreme Court has
                 emphasized, a wholly owned subsidiary is presumed to be
                 independent for liability purposes. See [United States v.] Bestfoods,
                 524 U.S. 51[,] 61–62 (1998), 118 S.Ct. 1876. The mere fact that
                 CPC purchased Ott I’s assets in exchange for its own stock is
                 insufficient, standing alone, to confer liability. See Chrysler Corp.
                 [v. Ford Motor Co.], 972 F. Supp. [1097,] 1111 [(E.D. Mich.
                 1997)].

                 ....

                 The governments cite no case in which a parent company has
                 been held liable as a successor to a company whose assets have
                 been obtained by a stock transfer and then held and operated
                 by a subsidiary of the parent.

Id. at 758 (italics in original) (bold added).

          Under the standards established by Michigan law for finding successor liability, the Trust

has not pled a plausible claim against Micron. Although Micron ultimately became the owner of

all of the stock of Ovonyx, this was not accomplished by a merger of Ovonyx and Micron.

Micron acquired some of the stock of Ovonyx by purchasing it from ECD in 2012, in ECD’s

bankruptcy case, not by merging with Ovonyx. Before Micron acquired the remaining stock of

Ovonyx in the 2015 Merger, Micron owned only 37.1% of the stock of Ovonyx.205 And when



          205
          See First Am. Compl. at 17-18 ¶ 90 (alleging that Micron did not already own 62.9% of the
Ovonyx stock).

                                                 101


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Micron acquired the remainder of the stock of Ovonyx, this was not accomplished by a merger

between Ovonyx and Micron. Rather, Oscar Merger Corp., a wholly owned subsidiary of

Micron, merged with and into Ovonyx, and Ovonyx, then a wholly-owned subsidiary of Micron,

continued operating as the surviving entity of the Merger, assuming all of the debts, liabilities,

and duties of Oscar, while Oscar Merger Corp. became defunct, ceasing all of its operations.

        For these reasons, the Trust has failed to state a claim upon which relief can be granted

against Micron based on successor liability. The second cause of action in the First Amended

Complaint must be dismissed.

F. The Trust’s third cause of action, against Micron for tortious interference with contract

        The Trust’s third cause of action is a tortious interference with contract claim against

Micron.206 Under Michigan law,

                        Tortious interference with a contract requires “(1) the
                existence of a contract, (2) a breach of the contract, and (3) an
                unjustified instigation of the breach by the defendant.” Health Call
                of Detroit v. Atrium Home & Health Care Servs., Inc., 268
                Mich.App. 83, 89–90, 706 N.W.2d 843 (2005). Under Michigan
                law, the third element of this involves a showing of “a per se
                wrongful act or [the commission of] a lawful act with malice and
                without justification for the purpose of invading the contractual
                rights or business relationship of another.” Urban Associates, Inc.
                v. Standex Elecs., Inc., 216 Fed.Appx. 495, 514 (6th Cir.2007)
                (internal quotations omitted). “A per se wrongful act is one that is
                ‘inherently wrongful or an act that can never be justified under any
                circumstances’.” Id. (quoting Prysak v. R.L. Polk Co., 193
                Mich.App. 1, 13, 483 N.W.2d 629 (1992)). And when a party’s
                actions are “motivated by legitimate business reasons,” a court will
                not find the improper motive necessary for tortious interference
                with contract. Id. (citing Prysak, 193 Mich.App. at 13, 483 N.W.2d
                629).


        206
            This claim is made only as an alternative to the Trust’s alter ego claim. (Tr. of Hr’g on Mots.
to Dismiss (Docket # 173) at 125.)

                                                    102


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Crestmark Bank v. Electrolux Home Prod., Inc., 155 F. Supp. 3d 723, 745 (E.D. Mich. 2016)

(italics in original) (footnote omitted). If the interferer’s acts were not wrongful per se, “[t]he

‘plaintiff must demonstrate, with specificity, affirmative acts by the interferer which corroborate

the unlawful purpose of the interference.’” Rockwell Med., Inc. v. Yocum, 76 F. Supp. 3d 636,

648–49 (E.D. Mich. 2014), aff'd, 630 F. App’x 499 (6th Cir. 2015) (citation omitted); see also

Knight Enters. v. RPF Oil Co., 829 N.W.2d 345, 348 (Mich. Ct. App. 2013) (citation omitted)

(same). In other words, the Trust must plausibly allege either (1) that Micron “committed an act

that was so wrongful that [it] had no justification whatsoever for committing that act, and did so

with malice and the intent to induce” Ovonyx to breach its contract with ECD; or (2) that Micron

“committed a lawful act with the malicious intent to instigate” Ovonyx to breach its contract with

ECD. See Knight Enters., 829 N.W.2d at 348.

        As to this count, Micron argues that the Trust’s allegations “offer little more than

conclusory recitations of the elements [of the tortious interference with contract claim] and

therefore, fail to plausibly state a claim.”207 The Court disagrees. The Court concludes that the

Trust has alleged facts which, if proven, plausibly would satisfy each of the elements of its

tortious interference with contract claim against Micron.

        1. The existence of a contract

        The first element of a tortious interference with contract claim is the existence of a

contract. The contracts on which the Trust relies are the 1998 Contract (which was executed by

ECD and Lowrey and which contains the Royalty Right and the First Refusal Right), and the



        207
              Defs. Ovonyx’s. and Micron’s Br. in Supp. of Mot. to Dismiss (Docket # 40) at 38 (citation
omitted).

                                                    103


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1999 License Agreement (which was executed by ECD, Lowrey, and Ovonyx and states, in

relevant part, that “[a]ll terms and conditions and rights and obligations of the [1998] Contract

remain in full force and effect”). Micron argues that the 1998 Contract is the only contract that

contains the Royalty Right and the First Refusal Right, and because that contract was rejected,

there is no enforceable contract on which the Trust can rely to establish the first element of its

tortious interference with contract claim.

       The Court disagrees. The Court has ruled, in Part V.D.1.a of this Opinion, above, that

ECD’s contractual First Refusal Right was superceded and terminated by the 2000 Stockholders

Agreement. But as the Court found, in Part V.C of this Opinion, above, ECD’s rejection of the

1998 Contract did not terminate the contract, and ECD’s Royalty Right survived its rejection of

the 1998 Contract.

       2. Breach of the contract(s)

       The second element of a tortious interference with contract claim is a breach of the

identified contract(s). The Trust bases its tortious interference claim on Lowrey’s and Ovonyx’s

alleged material breaches of the 1998 Contract and the 1999 License Agreement (1) by failing to

provide “any notice of the July 2015 Transactions, including the Merger Document and the OMT

Agreement,” thereby denying the Trust “the opportunity to exercise the First Refusal Right”;208

and (2) by Ovonyx failing to pay, and Lowrey failing to cause Ovonyx to pay, the 0.5% Royalty

to ECD.

       The Trust argues, in relevant part, that the July 2015 Transactions were undertaken for the

improper purpose of, and had the effect of, significantly impairing ECD’s Royalty Right:


       208
             First Am. Compl. at 26 ¶¶ 147-53.

                                                 104


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                  The [First Amended] Complaint alleges that Micron and Intel
                  engineered the purchase of Ovonyx’s shares by Micron and the
                  transfer of all of its substantial intellectual property rights to OMT
                  [as part of the July 2015 Transactions] in a way that significantly
                  reduced ECD’s Royalty and deprived it of its First Refusal Right.
                  Additionally, in connection with the Merger, Micron caused
                  Ovonyx to transfer substantially all of its valuable assets to OMT, a
                  shift in the status quo (i.e., Ovonyx would now not license its
                  own technology) that deprived ECD of its rights. These
                  allegations plausibly suggest . . . an improper purpose.209

        The First Amended Complaint alleges:

                  13.     [O]n July 31, 2015, Ovonyx transferred a majority of its
                          valuable intellectual property to Defendant Ovonyx
                          Memory Technology, LLC, (“OMT”), for virtually no
                          consideration. . . .
                  ...

                  107.    The effect of the OMT Agreement was that, at Micron’s
                          direction, Ovonyx transferred the bulk of its assets to OMT
                          for virtually no consideration, thus putting its assets beyond
                          the reach of Ovonyx’s creditors. . . .210

It further alleges:

                  89.     Given the size of Micron’s existing DRAM business and
                          the typical Ovonyx license agreement royalty rate, [the
                          potential royalty expense savings to Micron [(due to its
                          obtaining a royalty-free license as part of the July 2015
                          Transactions)] (based on Durcan’s 2018 single year
                          sales estimate as a result of the Micron Royalty-Fee
                          License) was many times greater than the $41.3 million
                          Duff & Phelps valued the Micron Royalty-free License
                          to Micron.]

                  90.     [In addition, a footnote to the D&P Valuation disclosed
                          that “As part of the transaction, Micron/Ovonyx
                          collectively received $28.5 million in cash from Intel, in


        209
              Trust’s Omnibus Objection (Docket # 69) at 48 (bold added) (citation omitted).
        210
              First Am. Compl. at 5 ¶ 13, 20 ¶ 107.

                                                      105


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                          which Intel bought-out its existing royalty obligations
                          under the existing license agreement with Ovonyx.”
                          This part of the transaction has the effect of (1) greatly
                          reducing the effective net cash consideration Micron
                          paid to acquire the 62.9% of Ovonyx it did not already
                          own to only $9.3 million (based on information provided
                          in the D&P Valuation) and (2) eliminating the entire
                          Royalty into perpetuity related to sales by Intel, the only
                          entity that has started significant commercialization of
                          3D XPoint.]
                 ....

                 154.     With respect to the breaches, Micron had actual knowledge
                          of the obligations owed to ECD under the 1998 [Contract]
                          and 1999 [License] Agreement. Among other things,
                          Micron could have, but chose not to, take assignment of the
                          1998 [Contract] and the 1999 [License] Agreement in
                          connection with its Bankruptcy Sale acquisition of ECD’s
                          stock in Ovonyx.

                 155.     On information and belief, Micron understood that
                          acquiring Ovonyx’s stock, including Lowrey’s shares,
                          without providing the Trust notice to exercise the First
                          Refusal Right would cause a breach of the 1998 [Contract]
                          and the 1999 [License Agreement].

                 156.     Micron acted with an improper purpose by ensuring that
                          Ovonyx would never provide notice to the Trust. Micron
                          knew that the effect of the agreement it designed, drafted,
                          and negotiated with Ovonyx would result in a breach of the
                          1998 [Contract] and the 1999 [License] Agreement, and
                          allow Micron to acquire Ovonyx, the phase-change
                          technology and the Ovonic Switch - critical to 3D
                          XPoint.211

       In its brief in support of its motion to dismiss, Micron argues that the Trust has not

alleged facts that plausibly show a breach of contract occurred.212 Micron argues that



       211
             Id. at 17-18 ¶¶ 89-90, 27 ¶¶ 154-56 (bold in original).
       212
             Defs. Ovonyx’s. and Micron’s Br. in Supp. of Mot. to Dismiss (Docket # 40) at 38-39.

                                                     106


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                even if [the 1998 Contract] was enforceable, there would be no
                breach as required by the second element of this claim because, as
                a matter of law, Ovonyx did not owe ECD or the Trust any right of
                first refusal with respect to the OMT Transfer or the Ovonyx
                Acquisition in light of the plain language of [the] 1998 Contract
                and superseding language of the 2000 [License] Agreement.”213

Micron does not address, at all, the Trust’s argument that ECD’s Royalty Right was breached, in

Micron’s brief in support of its motion to dismiss the Trust’s tortious interference with contract

claim.

         The Court agrees with Micron’s argument that any purported breach of the First Refusal

Right cannot be a basis for the breach of contract element of the Trust’s tortious interference with

contract claim, because, for the reasons stated earlier in this Opinion, the Court has found that

ECD’s First Refusal Right was extinguished by the 2000 Stockholder’s Agreement. To the

extent that the Trust relies on a breach of ECD’s First Refusal Right to satisfy the second element

of its tortious interference with contract claim, it has failed to state a plausible claim.

         However, for the reasons stated earlier in the Opinion, the Court has found that under the

1998 Contract and the 1999 License Agreement, Ovonyx, but not Lowrey, had an obligation to

pay ECD a royalty of 0.5% of Ovonyx’s revenues. Therefore, the Trust has plausibly alleged that

Ovonyx’s failure to pay such a royalty was a breach of the 1998 Contract and the 1999 License

Agreement.

         Moreover, the Trust has alleged facts to support a second, more subtle theory of breach of

contract by Ovonyx. As noted above, the Trust alleges that the transfer by Ovonyx in July 2015

of all of its intellectual property rights, for far less than the actual value of those assets, had a

         213
            Id. at 38. Ovonyx and Micron define “OMT Transfer” as the transfer in which Ovonyx sold
and transferred substantially all of its intellectual property assets to [IPLLC, the predecessor of OMT].”
Id. at 12. That is the definition the Court will hereinafter use when referring to the “OMT Transfer.”

                                                   107


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purpose and effect of significantly impairing or eliminating ECD’s contractual Royalty Right. It

greatly reduced the revenues of Ovonyx, on which the amount of royalties due to ECD (and its

successor, the Trust) were calculated, for virtually no value in return. In addition to being a

fraudulent transfer, as alleged in the Trust’s fifth cause of action against OMT (discussed in Part

V.H of this Opinion below,) the Trust appears to claim that this also was a breach of contract by

Ovonyx, because in effect it deprived the Trust of ECD’s contractual Royalty Right.

       In seeking dismissal, Micron has not argued that this breach of contract theory is not a

valid legal theory under Michigan contract law. None of the Defendants have argued this. In

fairness, this may be because of the emphasis of the parties on ECD’s First Refusal Right. In any

event, none of the parties have briefed this issue. Therefore, for purposes of ruling on the

motions to dismiss, the Court will assume, without definitively deciding at this time, that such

breach of contract theory is a valid legal theory under Michigan law.

       For these reasons, the Trust has plausibly pled the second element of the Trust’s tortious

interference with contract claim — breach of contract.

       3. Unjustified instigation of the breach by Micron

       The third and final element of a tortious interference with contract claim is an unjustified

instigation of the breach of contract. Micron argues that the Trust has not plausibly alleged that

Micron unjustifiably instigated a breach of contract, because “[t]he Trust does not allege that

Micron engaged in the OMT Transfer and the Ovonyx Acquisition for the purpose of inducing a

breach of Ovonyx’s alleged contractual obligations to the Trust.”214

       The Court disagrees. Viewing the allegations in the First Amended Complaint in a light


       214
             Id. at 40.

                                                108


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most favorable to the Trust, as the Court must, the Court finds that the Trust has alleged facts

that plausibly support the third element of its tortious interference claim; namely, an unjustified

instigation by Micron of Ovonyx’s breach of the 1998 Contract and the 1999 License Agreement.

The Trust has alleged that Micron knew about Ovonyx’s obligation to pay ECD the 0.5% royalty.

The Trust alleges that Micron knew about both the 1998 Contract and the 1999 License

Agreement, because ECD offered to assign those contracts to Micron, in connection with ECD’s

sale of its Ovonyx stock to Micron in 2012. But Micron refused the offer. The Trust alleges

further that, after Micron acquired control of Ovonyx through the 2015 Merger, Micron took a

series of specific affirmative acts (the acts that collectively, the Court has referred to as part of

the “July 2015 Transactions”) for the improper purpose and effect of greatly reducing or

eliminating any royalty that Ovonyx would owe to ECD on account of ECD’s Royalty Right

under the 1998 Contract and the 1999 License Agreement.

        The Trust alleges that the end result of the July 2015 Transactions was that substantially

all of Ovonyx’s intellectual property, from which it could generate the revenues that would be

used to calculate ECD’s 0.5% royalty, were transferred to and owned by OMT, “a company that

has no operations and no employees, but merely holds intellectual property rights.”215 After the

July 2015 Transactions, OMT was the entity that would primarily benefit from the licensing of

Ovonyx’s intellectual property, with Ovonyx only receiving a small percentage of the total

revenues that OMT generated using those acquired licensing rights. Worse yet for Ovonyx’s

bottom line was that OMT granted both Micron and Intel royalty-free licenses, and under the

OMT Agreement, OMT had no obligation to pay Ovonyx any licensing revenues that OMT


        215
              First Am. Compl. (Docket # 8) at 20 ¶ 105.

                                                    109


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received in the first thirty days after execution of the OMT Agreement. Notably, it was in this

30-day time frame that OMT expected to receive a $15 million payment from Intel “in

connection with a replacement license that was . . . extremely valuable to Intel.”216

       The Trust also alleges that this and some of the additional terms of the OMT Agreement

“made no commercial sense [from Ovonyx’s perspective].”217 The Trust argues further that

the OMT Agreement also made no commercial sense from OMT’s perspective. According to the

Trust, it doesn’t make sense that OMT would purchase assets that it would never actually be able

to market or use to generate income, and it makes no sense that it would accept only $1.5 million

instead of the $15 million that Intel had agreed to pay for the perpetual world-wide royalty-free

license.218 According to the Trust, it made no sense for OMT to purchase assets only to

immediately give those assets to Micron and Intel.219 Based on the alleged fact that the terms

made no commercial sense to either party to the OMT Agreement, the Trust argues that it is

plausible to conclude “that OMT seems to just . . . have been established by Micron or Intel

simply as a way to hold the IP away from Ovonyx . . . and thus avoid any of the obligations”

Ovonyx had to ECD under the 1998 Contract and the 1999 License Agreement.220

        Although the acts that comprise the July 2015 Transactions are not per se wrongful acts,

it is plausible, as the Trust argues, that Micron’s lawful acts were done with malice and without



       216
             Id. at 19-20 ¶ 103 (bold omitted).
       217
             Id. (bold in original)
       218
             See Tr. of Hr’g on Mots. to Dismiss (Docket # 173) at 142.
       219
             Id. at 146.
       220
             Id. at 143, 146.

                                                   110


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justification, for the purpose of evading ECD’s Royalty Right. Given these allegations, it is

plausible that Micron instigated Ovonyx to enter into the OMT Agreement as part of the July

2015 Transactions, for the purpose of having Ovonyx breach its agreement to pay ECD a 0.5%

royalty of all of its revenues. The Trust alleges that once Micron owned all of the stock of

Ovonyx and had replaced all of Ovonyx’s officers and directors with officers and directors of its

wholly-owned subsidiary that merged into Ovonyx, Micron not only failed to cause Ovonyx to

pay royalties to ECD, but it also reduced Ovonyx’s revenues to such an extent that should it ever

be required to honor ECD’s Royalty Right, the amount it would be required to pay would be de

minimus. These allegations make plausible the Trust’s claim that Micron had an improper

purpose in entering into the July 2015 Transactions.

       Therefore, at least to the extent that the First Amended Complaint relies on Ovonyx’s

breach of ECD’s Royalty Right, the Trust has stated a plausible claim for tortious interference

with contract against Micron. Micron’s motion to dismiss must be denied to the extent its seeks

a complete dismissal of the tortious interference with contract claim alleged in the Trust’s third

cause of action.

G. The Trust’s fourth cause of action, against OMT for tortious interference with contract

       The Trust’s fourth cause of action is against OMT, for tortious interference with contract.

       1. The Trust’s position

       The Trust’s claim against OMT is based on the part OMT played in the July 2015

Transactions. The Trust alleges that “OMT worked to strip Ovonyx of its assets and avoid the




                                                111


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obligations to ECD under the 1999 [License] Agreement.”221 The Trust alleges further that

“OMT participated in [the July 2015 Transactions] which had as its apparent purpose the

placement of Ovonyx’s valuable assets beyond the reach of creditors, for the financial benefit of

Micron and Intel.”222 The Trust alleges that in entering into the OMT Agreement, OMT sought

to avoid the obligations owed to ECD by Ovonyx under the First Refusal Right and the Royalty

Right. The Trust alleges:

                       89.     Given the size of Micron’s existing DRAM
                business and the typical Ovonyx license agreement royalty rate,
                [the potential royalty expense savings to Micron [(due to its
                obtaining a royalty-free license as part of the July 2015
                Transactions)] (based on Durcan’s 2018 single year sales
                estimate as a result of the Micron Royalty-Fee License) was
                many times greater than the $41.3 million Duff & Phelps
                valued the Micron Royalty-free License to Micron.]

                ....

                        99.   On July 31, 2015, Ovonyx and OMT entered into
                that certain “Asset Sale and Transfer Agreement” (the “OMT
                Agreement”). Pursuant to the OMT Agreement, Ovonyx
                transferred to OMT all of Ovonyx’s rights, title and interest in
                and to certain patent rights held by Ovonyx, including patents
                and technology owned by Ovonyx and rights under various
                license agreements.

                     100. The patent rights transferred by Ovonyx to
                OMT consisted of the substantial majority of the assets of
                Ovonyx.

                ....

                       105. On information and belief, OMT is a company that
                has no operations and no employees, but merely holds intellectual

       221
           Trust’s Omnibus Objection (Docket # 69) at 48 (citing paragraphs 99 through 100 of the
First Amended Complaint).
       222
             Id. at 48-49 (citing paragraphs 89 and 107 of the First Amended Complaint).

                                                  112


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                 property rights.

                 ....

                        107. The effect of the OMT Agreement was that, at
                 Micron’s direction, Ovonyx transferred the bulk of its assets to
                 OMT for virtually no consideration, thus putting its assets
                 beyond the reach of Ovonyx’s creditors. The royalty OMT
                 “paid” to Ovonyx amounts to a participation in the receipts
                 from Ovonyx’s own assets, which had the effect of eliminating
                 almost all of ECD’s Royalty.

                 ....

                       164.       Ovonyx has materially breached the 1999 [License]
                 Agreement.

                         165. With respect to the breaches, based on existing
                 license agreements Ovonyx has entered into that were being
                 assigned to OMT, OMT had actual knowledge of the obligations
                 owed to ECD under the 1998 [Contract] and 1999 [License]
                 Agreement.

                 ....

                          167. OMT acted with an improper purpose by ensuring
                 that Ovonyx would never provide notice to the Trust. On
                 information and belief, OMT entered into the OMT Agreement to
                 facilitate Micron’s acquisition of Ovonyx and would acquire rights
                 to intellectual property for consideration that was far below market
                 value.223

       2. OMT’s position

       OMT argues that the Trust’s tortious interference with contract claim should be

dismissed, for all of the same reasons argued by Micron for dismissing the Trust’s tortious

interference claim against Micron. The Court rejects those arguments, for the same reasons

discussed in Part V.F of this Opinion, above.


       223
             First Am. Compl. at 17, 19-20, 28 (bold and underlining in original).,

                                                    113


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       OMT makes the following additional arguments regarding the Trust’s pleading

deficiencies, which pertain only to OMT:

       •     “The Trust does not even successfully plead that OMT had knowledge of the Trust
             itself, much less the obligations allegedly owed to it.”224

       •     “The Trust does not allege that the 1998 Contract and the 1999 License Agreement
             were transferred to OMT pursuant to the OMT . . . Agreement. Nor does the Trust
             allege that OMT ever received or reviewed copies of those contracts. Indeed the Trust
             does not even allege that they were so much as discussed in connection with the OMT
             Transfer.”225

       •     The Trust has not plausibly pled that “OMT knew the terms or even the existence of,
             the 1998 [Contract] and 1999 [License Agreement]” or that OMT knew “what would
             cause of breach of the 1998 [Contract] and 1999 [License Agreement.]”226

       •     “The representations and warranties Ovonyx gave OMT in the OMT . . . Agreement
             . . . that it had not entered into any other agreement or assumed any obligations in
             conflict with the OMT . . . Agreement and that its execution of the OMT . . .
             Agreement would not cause a breach of any other agreement to which Ovonyx was a
             party” is inconsistent with OMT having knowledge of, and entering into the OMT
             Agreement for the purpose of causing Ovonyx to breach an existing contract.227

       •     “The Trust does not allege that OMT engaged in the OMT Transfer for the purpose of
             inducing a breach of Ovonyx’s alleged contractual obligations to the Trust.”228

       •     The Trust failed to plead specific affirmative acts that OMT engaged in that support
             the Trust’s conclusions that OMT acted improperly.229

       3. Discussion

       The Court agrees with OMT, that the Trust has failed to plausibly state a claim for

       224
             OMT’s Br. in Supp. of Mot. to Dismiss (Docket # 47) at 9.
       225
             Id.
       226
             Id. at 10.
       227
             Id. at 10 n.3.
       228
             Id. at 11.
       229
             Id. at 12.

                                                  114


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tortious interference of contract claim against OMT, based on OMT’s additional reasons listed

above. At a bare minimum, the Trust must plead sufficient facts from which the Court could find

it plausible that OMT knew about the existence of the 1998 Contract, and that such contract

required Ovonyx to pay ECD a 0.5% royalty. The Trust has not done so. Without such

knowledge, OMT could not have acted with the unlawful purpose of causing a breach of that

contract. OMT’s mere participation in the OMT Agreement as part of the July 2015

Transactions, without more, is not sufficient to show that OMT had an unlawful purpose in

entering into those transactions. The tortious interference with contract claim against OMT

therefore must be dismissed.

H. The Trust’s fifth cause of action, against OMT for an actual fraudulent transfer

        The Trust’s fifth cause of action is against OMT, for an actual fraudulent transfer under

the “Michigan Uniform Voidable Transfers Act” (“MUVTA”). Mich. Comp. Laws Ann.

§ 566.31 et seq. But in the Trust’s brief in support of its omnibus objection to OMT’s motion to

dismiss, the Trust bases its argument on, and applies, the Michigan Uniform Fraudulent Transfer

Act (“MUFTA”).230 Mich. Comp. Laws Ann. § 566.31 et seq.

        The Michigan Legislature enacted MUFTA, 1998 Mich. Pub. Acts 434, effective

December 30, 1998. Effective April 10, 2017, the Legislature amended and replaced MUFTA

with MUVTA.231 MUVTA is not retroactive, meaning that it does not apply to transfers that


        230
              Trustee’s Omnibus Objection (Docket # 69) at 49-56.
        231
            See 2016 Mich. Pub. Acts 331, effective March 8, 2017 (amending sections 1, 4, and 9 of
1998 Mich. Pub. Acts 434 (Mich. Comp. Laws Ann. §§ 566.31, 566.34, and 566.39); 2016 Mich. Pub.
Acts 552, effective April 10, 2017 (“‘repeal[ing] acts and parts of acts,’ by amending the title and
sections 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, and 13 ([Mich. Comp. Laws §§ 566.31, 566.32, 566.33,
566.34, 566.35, 566.36, 566.37, 566.38, 566.39, 566.40, 566.41, 566.42, and 566.43) , sections 1, 4, and 9
as amended by 2016 PA 331 and section 8 as amended by 2000 Mich. Pub. Acts 362, and by adding

                                                   115


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occurred before its effective date of April 10, 2017. See Mich. Comp. Laws Ann. § 566.45.

       Because the transfer at issue from Ovonyx to OMT occurred in July 2015, the MUFTA

applies. The provision of MUFTA at issue is Mich. Comp. Laws Ann. § 566.34, which

provided:

               Sec. 4. (1) A transfer made or obligation incurred by a debtor is
               fraudulent as to a creditor, whether the creditor’s claim arose
               before or after the transfer was made or the obligation was
               incurred, if the debtor made the transfer or incurred the obligation
               ...

               (a) With actual intent to hinder, delay, or defraud any creditor of
               the debtor.
               ...

               (2) In determining actual intent under subsection (1)(a),
               consideration may be given, among other factors, to whether 1 or
               more of the following occurred:

               (a) The transfer or obligation was to an insider.

               (b) The debtor retained possession or control of the property
               transferred after the transfer.

               (c) The transfer or obligation was disclosed or concealed.

               (d) Before the transfer was made or obligation was incurred, the
               debtor had been sued or threatened with suit.

               (e) The transfer was of substantially all of the debtor’s assets.

               (f) The debtor absconded.

               (g) The debtor removed or concealed assets.

               (h) The value of the consideration received by the debtor was
               reasonably equivalent to the value of the asset transferred or the
               amount of the obligation incurred.


sections 14 and 15.”). FRAUDULENT TRANSFERS—UNIFORM VOIDABLE TRANSACTIONS
ACT, 2016 Mich. Legis. Serv. P.A. 552 (S.B. 982) (West).

                                                116


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               (i) The debtor was insolvent or became insolvent shortly after the
               transfer was made or the obligation was incurred.

               (j) The transfer occurred shortly before or shortly after a substantial
               debt was incurred.

               (k) The debtor transferred the essential assets of the business to a
               lienor who transferred the assets to an insider of the debtor.

Mich. Comp. Laws Ann. § 566.34(1)-(2). This list of eleven factors is non-exclusive, and the

factors in the list are commonly referred to in case law under MUFTA as “badges of fraud.”

Ryan Racing, LLC v. Gentilozzi, 231 F. Supp. 3d 269, 285 (W.D. Mich. 2017). “‘Badges of

fraud are circumstances so frequently attending fraudulent transfers that an inference of fraud

arises from them.’” Dillard v. Schlussel, 865 N.W.2d 648, 657-58 (Mich. Ct. App. 2014)

(quoting Schilling v. Heavrin (In re Triple S Rests., Inc.), 422 F.3d 405, 414 (6th Cir. 2005)

(quotation marks and citation omitted)).

               “Badges of fraud are not conclusive, but are more or less strong or
               weak according to their nature and the number concurring in the
               same case, and may be overcome by evidence establishing the
               bona fides of the transaction. However, a concurrence of several
               [of these factors] will always make out a strong case [in support of
               fraudulent intent].”

Id. at 658 (italics in original) (citing Bentley v. Caille, 286 N.W. 163, 164 (Mich. 1939)

(quotation marks and citations omitted)); see also Wells v. Salmo (In re Select One, Inc.), 556

B.R. 826, 848 (Bankr. E.D. Mich. 2013) (same).

       Under MUFTA “‘Creditor’ means a person who has a claim.” Mich. Comp. Laws Ann.

§ 566.31 Sec. 1.(d). “‘Claim’ means a right to payment, whether or not the right is reduced to

judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,

legal, equitable, secured, or unsecured.” Id. at Sec. 1.(c). MUFTA also contains a definition of



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“insider.” It states:

                  (g) “Insider” includes all of the following:

                  ....

                  (ii) If the debtor is a corporation, all of the following:

                          (A) A director of the debtor.

                          (B) An officer of the debtor.

                          (C) A person in control of the debtor.

                          (D) A partnership in which the debtor is a general partner.

                          (E) A general partner in a partnership described in
                          sub-subparagraph (D).

                          (F) A relative of a general partner, director, officer,
                          or person in control of the debtor.

Mich. Comp. Laws § 566.31(g)(ii).

        1. The Trust’s fraudulent transfer allegations against OMT

        The Trust alleges that “[t]he effect of the OMT Agreement was that, at Micron’s direction,

Ovonyx transferred the bulk of its assets to OMT for virtually no consideration, thus putting its

assets beyond the reach of Ovonyx’s creditors.”232 The Trust alleges further that the OMT

Agreement was part of the July 2015 Transactions, through which “Micron and Intel engineered

the purchase of Ovonyx’s shares by Micron and the transfer of all of its substantial intellectual

property rights to OMT in a way that significantly reduced ECD’s Royalty[.]”233 The Trust also

alleges that “[t]he OMT Agreement was entered into with the intent to hinder, delay, or defraud



        232
              First Am. Compl. at 20 ¶ 107.
        233
              Trustee's Omnibus Objection (Docket # 69) at 48 (citing First Am. Compl. at 17 ¶¶ 89-90).

                                                     118


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other creditors of Ovonyx.”234 The Trust alleges that

                 Ovonyx’s intent is evidenced by the following actions:

                 a.       [Lowrey, who was the senior officer of Ovonyx, had no
                          involvement in the negotiations with OMT but entirely
                          deferred to Micron’s wishes with respect to the OMT
                          Agreement, knowing that it was a part of the [M]erger
                          that would pay him over $25 million];

                 b.       Ovonyx intentionally hid the OMT Agreement from the
                          [Trust], including for months afterwards even though the
                          [Trust] had been requesting information from Ovonyx;

                 c.       No effort was taken to evaluate the OMT Agreement or
                          determine whether consideration OMT was paying for
                          substantially all of Ovonyx’s assets was fair; and

                 d.       The transaction materially benefitted Micron, which at the
                          time owned in excess of 35% of the stock of Ovonyx, had
                          the right to appoint two board members, and was an insider
                          of Ovonyx.235

The Trust further alleges that it is “a creditor of Ovonyx” and that it was harmed by OMT’s and

Ovonyx’s entering into the OMT Agreement.236

       2. OMT’s response

       OMT argues that the Trust does not plausibly allege a fraudulent transfer claim, because

(1) “the Trust is not a creditor of Ovonyx,”237 and (2) the Trust has not plausibly alleged that, in




       234
             First Am. Compl. at 29 ¶ 170.
       235
             Id. at 29 ¶ 171 (bold in original).
       236
             Id. at 29 ¶ 172.
       237
             OMT’s Br. in Supp. of Mot. to Dismiss First Am. Compl. (sealed Ex. 3 to Docket # 47) at 13-
14.

                                                   119


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entering into the OMT Agreement, Ovonyx had an intent to hinder, delay or defraud the Trust.238

The Court disagrees with OMT’s arguments.

       3. Discussion

       a. The Trust is a creditor of Ovonyx.

       OMT argues that the Trust is not a creditor of Ovonyx, because Ovonyx owes no

obligations to the Trust under the 1998 Contract or the 1999 License Agreement. But the Court

has ruled otherwise, in Parts V.B and V.D.4 of this Opinion (discussing Ovonyx’s obligation to

pay royalties to ECD).

       b. The Trust has plausibly alleged that Ovonyx entered into the OMT Agreement
          with the intent to hinder, delay or defraud the Trust.

       i. OMT’s position on fraudulent intent

       OMT argues that the Trust has not plausibly alleged that Ovonyx entered into the OMT

Agreement with the intent to hinder, delay or defraud the Trust. This is so, according to OMT,

because the Trust’s allegations only allege one of the badges of fraud listed in Mich. Comp. Laws

Ann. § 566.34(2).239 That is the Trust’s allegation that Ovonyx transferred “substantially all of

[Ovonyx’s] assets” to OMT under the OMT Agreement. See Mich. Comp. Laws Ann.

§ 566.34(2)(e). But according to OMT, a single badge of fraud “is not sufficient to support [the

Trust’s] claim that Ovonyx acted with [the] intent to hinder, delay, or defraud its creditors,” and

the Trust has failed to plausibly allege more than this one badge of fraud.240

       OMT argues further that the Trust’s allegations “that Lowrey was not involved in


       238
             Id. at 14, 15-24.
       239
             Id. at 16.
       240
             Id. at 20.

                                                  120


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negotiating the OMT . . . Agreement and ‘entirely deferred to Micron’s wishes’ . . . is not a badge

of fraud;”241 that “the Trust’s allegation of concealment is not supported by any well-pleaded

facts;”242 that “the Trust has failed to allege any plausible facts suggesting that Ovonyx did not

receive reasonably equivalent value for the OMT Transfer;”243 and that the Trust’s allegation “that

the OMT Transfer ‘materially benefitted Micron’ which was ‘an insider of Ovonyx’ due to its

stock ownership and right to appoint two board members . . . misses the mark . . . [because w]hile

a transfer to an insider is a badge of fraud, a transfer that merely benefits an insider is not.”244

        ii. The Trust’s position on fraudulent intent

        The Trust admits that, at least with regard to its allegation regarding Lowrey’s lack of

involvement in negotiating the sale of substantially all of Ovonyx’s assets, such allegation “does

not explicitly fall under a formally enumerated ‘badge’” of fraud. Nevertheless, the Trust argues

that “the list of 11 badges is ‘nonexclusive’” and Lowrey’s lack of involvement is relevant to the

‘“bona fides’ of this transaction.”245 The Trust also argues that the allegations in the First

Amended Complaint are

                   sufficient to establish at least four badges of fraud: that the OMT
                   [T]ransfer involved substantially all of Ovonyx’s assets, that
                   Ovonyx removed or concealed assets, that the value of the
                   consideration received [by] Ovonyx was not reasonably equivalent
                   to the value of the asset transferred or the amount of the obligation



        241
              Id. at 16.
        242
              Id. at 17.
        243
              Id. at 18.
        244
              Id. at 19 (bold and italics in original).
        245
              Trustee’s Omnibus Objection (Docket # 69) at 52.

                                                          121


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                  incurred, and that the transfer was to an insider.246

The Trust concludes that based on these four badges of fraud, it has plausibly alleged that Ovonyx

had a fraudulent intent in entering into the OMT Agreement. The Court agrees.

       iii. The Trust need not plead more than one badge of fraud to plausibly plead
            fraudulent intent.

       As an initial matter, it is not necessary to plead multiple badges of fraud in order to

plausibly raise an inference of fraudulent intent under Michigan law. OMT relies on a statement

in Dillard that “once a creditor establishes the presence of multiple badges of fraud, he or she has

established a fact question regarding actual intent,” see Dillard, 865 N.W.2d at 660, for the

proposition that multiple badges of fraud are required to establish an inference of fraudulent

intent. Dillard does not so hold. Dillard can be read as holding only that multiple badges of fraud

establish an inference of fraudulent intent. This an accurate statement in light of wording of

Mich. Comp. Laws § 566.34(2), which expressly provides that consideration of “1 or more”

badges of fraud may establish an inference of fraudulent intent. Dillard cannot be read to require

more than one badge of fraud to establish fraudulent intent. Nor can any of the other cases that

apply Michigan law, cited by OMT.247

       As was correctly observed in the concurring opinion in Estes v. Titus, 751 N.W.2d 493,

504-06 (Mich. 2008) (Kelly, J., concurring) (footnotes omitted),

                  To state [“a prima facie case alleging a transfer made with an actual
                  intent to defraud”] creditors must allege at least one badge of fraud
                  under [Mich. Comp. Laws §] 566.34(2).



       246
             Id. at 56.
       247
             OMT’s Br. in Supp. of Mot. to Dismiss First Am. Compl. (sealed Ex. 3 to Docket # 47) at 20-
21.

                                                    122


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               ....

                [Mich. Comp. Laws §] 566.34(2), which supplies a list of [“the
               relevant factors for determining whether the transfer was made with
               an actual intent to defraud a creditor”], states that any one may be
               considered to establish the intent to defraud.

               ....

               It is interesting to note that the application of the badges of fraud
               listed in the Michigan UFTA differs from that allowed in other
               states’ versions of the UFTA. For example, the UFTA as adopted in
               New Jersey, Oregon, and Illinois does not expressly allow the use of
               only one factor to establish the intent to defraud. Not surprisingly,
               in these states, courts require a “confluence” of factors indicating an
               actual intent to defraud.

       It is undisputed that the Trust has pled at least one of the badges of fraud listed in Mich.

Comp. Laws § 566.34(2).

       iv. The Trust has alleged three other badges of fraud.

       In addition to alleging that Ovonyx transferred substantially all of its assets, the Trust has

made allegations that support the existence of at least three other badges of fraud listed in

MUFTA. This is especially so when the OMT Agreement is viewed in the context of the other

agreements that made up the July 2015 Transactions.

       The Court agrees with those cases which have held that, in situations involving “a

complicated transaction consisting of number of steps and simultaneous, multilateral agreements,”

under certain circumstances, “the Court must view the fraudulent transfer claim in light of the

entire larger transaction.” See Wells v. THB Am., LLC (In re Clements Mfg. Liquidation Co.,

LLC), 521 B.R. 231, 235, 243 (Bankr. E.D. Mich. 2014) (citing Official Comm. of Unsecured

Creditors of Nat’l Forge Co. v. Clark (In re Nat’l Forge Co.), 344 B.R. 340, 347-48 (W.D. Pa.

2006) (citations omitted) (“It is now widely accepted that multilateral transactions may under

                                                 123


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appropriate circumstances be ‘collapsed’ and treated as phases of a single transaction for purposes

of applying fraudulent conveyance principles.”); Official Comm. of Unsecured Creditors of Grand

Eagle Cos., Inc. v. ASEA Brown Boveri, Inc., 313 B.R. 219, 229 (N.D. Ohio 2004) (citation

omitted) (“Courts will generally look past the form of a transaction to its substance. ‘Thus an

allegedly fraudulent conveyance must be evaluated in context; where a transfer is only a step in a

general plan, the plan must be viewed as a whole with all its composite implications.’”); Mills v.

Everest Reinsurance Co., 410 F. Supp. 2d 243, 254-55 (S.D.N.Y. 2006) (quotation marks and

citations omitted) (explaining that “[w]here a transfer is actually only a step in a general plan, an

evaluation is made of the entire plan and its overall implications” and that “courts have

‘collapsed’ a series of transfers to assess the existence of fair consideration and the knowledge and

intent of the parties, in order to determine whether or not a particular transaction constitutes a

fraudulent conveyance”); Creditors’ Comm. of Jumer’s Castle Lodge, Inc. v. Jumer (In re Jumer’s

Castle Lodge, Inc.), 338 B.R. 344, 356 (C.D. Ill. 2006), aff’d, 472 F.3d 943 (7th Cir. 2007)

(citations omitted) (“Where an allegedly fraudulent transfer is merely one step in a general plan,

the plan must be viewed as a whole with all its composite parts taken into consideration. Thus, it

is well-settled that ‘a multilevel transaction will be collapsed and treated as a single transaction in

order to determine if there was a fraudulent conveyance.’”); Brown v. Gen. Elec. Capital Corp.

(In re Foxmeyer Corp.), 286 B.R. 546, 573-74 (Bankr. D. Del. 2002) (quotation marks and

citation omitted) (explaining that “[u]nder [the step transaction] doctrine, interrelated yet formally

distinct steps in an integrated transaction may not be considered independently of the overall

transaction” and that “by linking together all interdependent steps with legal or business

significance, rather than taking them in isolation, the result may be based on a realistic view of the



                                                 124


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entire transaction.”)).

        Under the circumstances of this case, it may be appropriate for the Court to view the July

2015 Transactions as a single transaction in order to determine if there was a fraudulent transfer.

The circumstances of this case are that the Trust alleges, in relevant part, that Ovonyx, at the

direction of Micron, entered into a series of substantially contemporaneous inter-related

transactions with Micron, with a wholly owned subsidiary of Micron, with OMT, and with Intel

(the July 2015 Transactions), with the actual intent of substantially reducing revenues to Ovonyx

from licensing its IP, in order to deprive the Trust of its right to collect 0.5% of Ovonyx’s

revenues, and that the effect of the July 2015 Agreements was just that.248

        a. The Trust has alleged that there was not reasonably equivalent value given for
           the Ovonyx transfers.

        The Trust alleges that the value of the consideration received by Ovonyx was not

reasonably equivalent to the value of the assets transferred. Because the OMT Agreement was

just one integral step of the multiple steps taken in the July 2015 Transactions, in order to

determine whether Ovonyx received reasonably equivalent value for the assets it transferred, the

Court must consider the value of the assets that Ovonyx transferred to not just OMT, but also to

Micron and Intel, and compare that value to the value of every benefit, direct and indirect, that

Ovonyx received in exchange, not just directly from OMT, but also from Intel and Micron.

        The First Amended Complaint alleges that in the July 2015 Transactions Ovonyx

transferred:

        C     substantially all of its assets, including any right, title, and interest Ovonyx had in its
              patent rights to its IP, and with it, the right to 100% of the royalties from licensing


        248
              See First Am. Comp. at 16 ¶ 82 - 24 ¶ 125.

                                                     125


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             such IP, to OMT;249

       C     a perpetual royalty-free world-wide license to Micron;250

       C     a perpetual royalty-free world-wide license to Intel;251 and

       C     the right to $15 million in licensing fees that were due to be paid by Intel in the first 30
             days after execution of the OMT Agreement.252

       The Trust alleges that Ovonyx received “virtually no consideration” in exchange for the

transfer of the bulk of its assets, which transfer put those assets “beyond the reach of Ovonyx’s

creditors.”253 Although the allegations in the First Amended Complaint do not state an exact

dollar amount of the value Ovonyx received in return for the above listed transfers, they do

explain the reasons for the Trust’s argument that what value Ovonyx received in exchange for

such transfers was insignificant, when compared to the value of what was transferred:

       C     Ovonyx received from OMT a right to payment each calendar quarter of between 10%
             and 18% of the royalty revenues that OMT generated as a result of it owning the
             patents and licensing rights of the IP that Ovonyx transferred to it.254

             The Trust alleges that “[t]he royalty OMT ‘paid’ to Ovonyx amounted to a
             participation in the receipts from Ovonyx’s own assets, which had the effect of
             eliminating almost all of ECD’s Royalty.”255 The only parties from whom Ovonyx,
             and later OMT, could reasonably expect to receive royalties were Intel and Micron,
             and those two joint venturers were each granted royalty-free licenses in the July 2015
             Transactions. (The Trust alleges that Micron and Intel were involved in a joint venture


       249
             First Am. Compl. at 19 ¶¶ 99-100.
       250
             Id.. at 16 ¶ 83, 21 ¶ 113.
       251
             Id. at 16 ¶ 82, 21 ¶ 113, 22-23 ¶¶ 118-123.
       252
             Id. at 19 ¶ 103.
       253
             Id. at 20 ¶ 107.
       254
             Id. at 19 ¶ 101.
       255
             Id. at 20 ¶ 107.

                                                     126


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              to develop 3D XPoint technology which was expected to generate significant income
              and would have potentially infringed on Ovonyx’s patents if Ovonyx had not
              transferred those patents to OMT and if Intel and Micron had not obtained royalty-free
              licenses.)256 Moreover, OMT was not required to pay Ovonyx a royalty on any money
              it received in the first 30 days after execution of the OMT Agreement. Intel was
              obligated to make a $15 million payment “in connection with a replacement license
              that was . . . extremely valuable to Intel” within that time period, and therefore,
              Ovonyx would not be entitled to any percentage of that payment by Intel.257 It follows
              that the only way OMT could generate royalties, of which Ovonyx would be entitled to
              only a small percentage, was to license the IP to third parties. But since OMT was
              allegedly only a holding company for intellectual property rights, which had no
              employees, and no operations,258 it had no apparent capability of licensing IP to other
              third parties.259

        C     “Ovonyx did not undertake any analysis to determine whether the consideration
              provided by OMT was fair value for the assets Ovonyx was transferring to OMT. [On
              information and belief, the royalties OMT agreed to pay Ovonyx were substantially
              below market.]”260

        C     Ovonyx received from Intel, at most, only a small fraction of between $13.5 million
              and $30 million that Intel paid to Micron, Ovonyx and OMT jointly, “to terminate its
              existing license obligations to Ovonyx and enter into a new” agreement under which
              Intel received a royalty-free perpetual, world-wide license in the IP that Ovonyx had
              transferred to OMT.261

        C     Ovonyx received from Micron, for the transfer a royalty-free perpetual world-wide
              license, only a fraction of what such license was worth. The Trust alleges that the


        256
              See id. at 20 ¶ 108.
        257
              Id. at 19-20 ¶ 103 (bold omitted).
        258
              Id. at 20 ¶ 105.
        259
             At the hearing on the motions to dismiss the Trust argued: “Prior to July 2015, OMT had no
assets, no track record that . . . would suggest that it was capable of making productive use . . . as it stated
in the OMT . . . [A]greement of the IT assets it was acquiring. Nothing to suggest that it could generate
any more revenue than Ovonyx on these assets.” (Tr. of Hr’g on Mots. to Dismiss (Docket # 173) at 139.)
        260
              First Am. Compl. at 19 ¶ 102 (emphasis in original omitted).
        261
             Id. at 23 ¶ 122. During the hearing on the motions to dismiss, the Trust stated that “OMT
entered into a separate deal with Intel giving Intel [a] perpetual royalty free license for $15 [million]” but
that “Intel actually only paid [$]1.5 [million] of that [$]15 [million.]” (Tr. of Hr’g on Mots. to Dismiss
(Docket # 173) at 140-41).

                                                      127


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              value Micron paid was based on a valuation performed by Duff & Phelps, on behalf of
              Micron (the “D&P Valuation”), which valued Micron’s royalty-free license as of July
              31, 2015 at $43.1 million.262 The D&P Valuation of such license was “based on
              projections . . . [that] were less than 10% of [Micron’s] DRAM sales in the peak year
              and declining rapidly thereafter.”263 However on August 14, 2015, only two weeks
              after the D&P Valuation, the CEO of Micron stated at Micron’s 2015 Summer Analyst
              Conference that Micron’s 3D XPoint business, which would have involved exploiting
              Ovonyx’s patents, and the payment of royalties for such use had the July 2015
              Transactions not occurred, would easily bring in revenues equivalent to 50% of its
              DRAM business.264 Based on this statement the D&P Valuation should have been
              approximately 40% higher than it was.

        In addition to alleging that what Ovonyx received, in exchange for the assets that it

transferred in the July 2015 Transactions, was far below market value, the First Amended

Complaint makes other allegations challenging the bona fides of the OMT Agreement and the

other transaction that are part of the July 2015 Transactions. The First Amended Complaint

alleges that:

        C     “Samsung Electronics Co., LTD, an Ovonyx licensee and one of the largest
              semiconductor and information technology companies in the world, contacted Ovonyx
              in July 2015 to discuss an acquisition with Ovonyx, but Ovonyx declined to negotiate
              with the third party and instead only proceeded with finalizing the merger with
              Micron.”265

        C     “On information and belief, Ovonyx and Lowrey made no effort to market the stock in
              Ovonyx to any person other than Micron.”266

        C     As noted above, “Ovonyx did not undertake any analysis to determine whether the
              consideration provided by OMT was fair value for the assets Ovonyx was transferring
              to OMT. [On information and belief, the royalties OMT agreed to pay Ovonyx were


        262
              First Am. Compl. at 16-17 ¶ 86.
        263
              Id. at 17 ¶ 88 (bold omitted).
        264
              Id.
        265
              Id. at 18 ¶ 94 (bold omitted).
        266
              Id. at 18 ¶ 95.

                                                  128


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             substantially below market.]”267

       C     “The OMT Agreement had additional terms that made no commercial sense” such as
             the fact that “OMT had no obligation to pay Ovonyx any licensing revenues that OMT
             received in the first thirty days after the execution of the OMT Agreement” even
             though “OMT was supposed to receive from Intel a $15 million payment in connection
             with a replacement license that was . . . extremely valuable to Intel.”268

       C     “Lowrey . . . had no involvement over the more than two year period in the drafting or
             negotiations of the OMT Agreement[] which transferred a bulk of the Ovonyx assets to
             OMT, even though he was the senior officer [(President and CEO)] and, on
             information and belief, one of less than five employees of Ovonyx at all times.”269

       C     Lowrey received in excess of $25.6 million for the sale of his stock to Micron and for
             dividends on that stock.270

       C     “The OMT Agreement was not [an] arms-length, commercially reasonable transaction
             but a sweetheart deal, done in secret.”271

       OMT argues that the Trust’s allegations are not sufficient to plausibly support the no-

reasonable-value badge of fraud, because “the Trust never actually alleges that Ovonyx failed to

receive reasonably equivalent value” for the transfers under the OMT Agreement, “and the [First

Amended] Complaint has no well-pleaded allegations upon which the Court could rely in

reaching this conclusion.”272 The Court disagrees.

       The allegations described above plausibly support the Trustee’s position that Ovonyx did

not receive reasonably equivalent value for what it transferred as a result of the OMT Agreement

       267
             Id. at 19 ¶ 102 (bold omitted).
       268
             Id. at 19-20 ¶ 103 (bold omitted).
       269
             Id. at 21 ¶ 112 (bold omitted).
       270
             Id. at 21 ¶ 111.
       271
             Id. at 20-21 ¶ 109.
       272
           OMT’s Br. in Supp. of Mot. to Dismiss First Am. Compl. (Sealed Ex. 3 to Docket # 47) at 18
(footnote omitted).

                                                    129


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and the other transactions that were integral parts of July 2015 Transactions.273 The transfer by

Ovonyx to OMT of all of its rights, title, and interest in its patents and licensing rights in the OMT

Agreement appears, from the Trust’s allegations, to be objectively commercially unreasonable due

to what little consideration Ovonyx received in return (only a fraction of the 100% of the revenues

it was entitled to before the OMT Agreement). And the commercial unreasonableness is further

indicated by the fact that OMT appeared to have no greater ability to market the patents and

licensing rights than Ovonyx did, with OMT having no employees and no ongoing operations.

What makes even less commercial sense is that under the OMT Agreement, OMT had no

obligation to pay Ovonyx any percentage of an expected $15 million royalty payment to be made

by Intel in the first thirty days of execution of the agreement. Still worse for Ovonyx’s revenue

stream, was that, due to the other transactions that were related to the OMT Agreement, Micron

and Intel were each granted royalty-free licenses, thereby eliminating their obligation to make any

royalty payments on what Micron and Intel thought would be a lucrative venture (3D XPoint

technology development), made possible by the exploitation of Ovonyx’s patents. It is hard to see

any real benefit to Ovonyx of entering into the OMT Agreement, particularly given the other

transactions that made up the July 2015 Transactions.

        OMT argues that the Trust’s allegations in the First Amended Complaint do not include all

of the consideration that Ovonyx received in exchange for what it transferred in the OMT

Agreement. OMT argues that “the OMT . . . Agreement on its face, contradicts [the Trust’s no

reasonably equivalent value] assertion by showing that, in addition to a significant percentage of

        273
            OMT acknowledges this and states: “The Trust makes a conclusory allegation that Ovonyx
‘transferred the bulk of its assets to OMT for virtually no consideration.’” Id. (citing paragraph 107 of the
First Amended Complaint). This allegation certainly is sufficient to satisfy the requirement of pleading
the “no equivalent value” badge of fraud.

                                                    130


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future licensing revenues, Ovonyx received a series of rights and promises that the Trust

completely and misleadingly ignores in the [First Amended] Complaint. See, e.g., Ex. 1 OMT

. . . Agreement §§ 5.1, 5.2.”274 These sections of the OMT Agreement state the following about

OMT’s predessor, IPPLC:

                          Section 5.1 Restrictions. IPLLC shall not enter into any
                   agreement for the purpose of diminishing revenue or otherwise
                   avoiding the obligation of IPLLC to Ovonyx under this Agreement
                   or diminishing the rights or benefits of Ovonyx hereunder.

                            Section 5.2 Revenue Generation. IPLLC shall use
                   commercially reasonable efforts to prosecute, maintain, license,
                   litigate, enforce, assert, collect upon, and otherwise exploit the
                   IPLLC Assets consistent with the goal of generating revenue.275

OMT fails to explain how the percentage of future licensing revenues (between 10% and 18%) is

“significant” given that Ovonyx previously owned and had the right to 100% of the licensing

revenues. Nor does OMT explain how the rights and promises in §§ 5.1, 5.2 had value, and what

approximate value they had in comparison to the value of what was transferred. Nor does OMT

explain how it had the ability to exploit the “IPLLC Assets” in such a way as to generate more

revenue for Ovonyx than Ovonyx could generate on its own. Finally, OMT has failed to explain

how IPLLC’s promise, not to enter into any agreement in the future that would diminish Ovonyx’s

revenues, had any value, in light of the fact that the OMT Agreement itself apparently had the

effect of eliminating Ovonyx’s revenue stream in perpetuity from the two entities most likely to

generate royalty revenue — Intel and Micron.

       For these reasons, OMT’s argument regarding other valuable interests transferred to



       274
             Id.
       275
             OMT Agreement (Ex. 6-4 of Docket # 58) at 14 §§ 5.1 - 5.2.

                                                    131


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Ovonyx does not undercut the Trust allegations about the minimal value received by Ovonyx in

exchange for what it transferred under the OMT Agreement.

         Next, OMT argues that the allegations in the First Amended Complaint about Lowrey’s

lack of participation in negotiating the OMT Agreement, and his deferring entirely to Micron’s

wishes, do not relate to any of the badges of fraud under the MUFTA. While this may be true, it

does not mean that such allegations are not relevant to the fraudulent intent inquiry. Under

Dillard, “the confluence of several” badges of fraud “supports a strong inference of fraud.” See

Dillard, 865 N.W.2d at 658. But such an inference of fraudulent intent “‘may be overcome by

evidence establishing the bona fides of the transaction.’” Id. (italics in original) (citation omitted).

Allegations that tend to show that the transaction at issue was not the result of arms-length

bargaining are thus relevant to whether or not OMT can overcome the effect of multiple badges of

fraud.

         The Trust’s allegations that Lowrey failed to market Ovonyx’s stock to anyone other than

Micron, failed to discuss acquisition of Ovonyx with Samsung Electronics Co., LTD or any other

third party, failed to participate in the negotiations of the OMT Agreement, and personally

received millions of dollars as a result of the July 2015 Transactions, tend to undercut the bona

fides of the transaction. A reasonable inference can be drawn that there was no one representing

the interests of Ovonyx during negotiations over the OMT Agreement, and that Lowrey may have

had a strong personal incentive to allow Ovonyx to enter into that agreement and other agreements

that were not beneficial to it.

         b. The Trust has alleged that there was a transfer to an insider of Ovonyx, and that
            Ovonyx removed or concealed assets.

         In addition to the two badges of fraud discussed above, the Trust also alleges two other

                                                  132


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badges of fraud. The Trust alleges that there was a transfer to an insider. Under MUFTA, an

insider of a corporation includes “[a] person in control of the debtor.” Mich. Comp. Laws

§ 566.31(g)(ii)(C). Micron, upon obtaining 100% of the equity of Ovonyx, was then in control of

Ovonyx and exercised that control to cause the rest of the July 2015 Transactions to be

consummated, including the OMT Transfer. The effect of the July 2015 Transactions was that

Ovonyx transferred all of its assets to OMT, then there was a transfer to Micron of a perpetual

world-wide royalty-free license. As discussed above, in this case it may be appropriate to collapse

all of the transactions that made up the July 2015 Transactions. Once that is done, it is plausible

that there was a transfer to an insider of the transferor Ovonyx as a result of the OMT Agreement.

       The Trust also alleges that Ovonyx removed assets or concealed assets. The Trust has

alleged that the intent and the effect of the OMT Agreement was to remove the assets from the

reach of Ovonyx’s creditors, including the Trust. OMT concedes that there was a transfer of

substantially all of the assets of Ovonyx. It argues however, that there were still assets which

were available to Ovonyx’s creditors — a percentage of the royalties earned by OMT. But it is

undisputed that Ovonyx removed assets from the reach of creditors.

       In plausibly alleging four badges of fraud and in plausibly alleging that the OMT

Agreement and the other agreements that made up the July 2015 Transactions were not bona fide

transactions, the Trust has plausibly stated a fraudulent transfer claim against OMT. To the extent

OMT’s motion seeks dismissal of the fraudulent transfer claim, the motion must be denied.

I. The Trust’s sixth cause of action, against Intel for aiding and abetting tortious
  interference with contract

       The Trust’s sixth cause of action is against Intel, for aiding and abetting Micron’s tortious




                                                133


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interference with the Trust’s contractual rights.276 “‘To analyze a claim of secondary liability, the

court must first determine the contours of the primary violation on which the secondary liability is

alleged to be based.’” El Camino Res., LTD. v. Huntington Nat’l Bank, 722 F. Supp. 2d 875, 914

(W.D. Mich. 2010), aff’d, 712 F.3d 917 (6th Cir. 2013) (citation omitted). The Trust’s aiding and

abetting claim is based on the Trust’s underlying claim against Micron in the third cause of action.

In that cause of action, the Trust alleges that in 2015, Micron tortiously interfered with the Trust’s

First Refusal Right and Royalty Right under the 1998 Contract and the 1999 License Agreement,

by instigating the breach by Ovonyx and Lowrey of their obligations under those contracts.277 In

order to plausibly allege aiding and abetting liability against Intel, the Trust first must plausibly

allege that Micron instigated a breach of the Trust’s Right of First Refusal or Royalty Right.

        1. Intel’s threshold argument

        Intel argues that “[a]s a threshold matter, [the Trust] cannot plausibly assert a contract

right that would give rise to an interference claim.” 278 For all of the reasons raised by the other

Defendants in their motions to dismiss, Intel argues that “no contract right ever existed in 2015 to

support [the Trust’s tortious] interference claim[.]”279 Intel argues that by 2015, the Trust had no

First Refusal Right and no Royalty Right against either Lowrey or Ovonyx that had survived

ECD’s sale of its stock to Micron in 2012 and the confirmation of the Debtor’s Plan in 2012,

under which the 1998 Contract was rejected. Intel argues further with regard to the First Refusal


        276
               First Am. Compl. at 26-27 ¶¶ 146-56.
        277
               Id. at 26 ¶¶ 146-49.
        278
               Def. Intel’s Br. in Supp. of its Mot. to Dismiss Compl. for Failure to State a Claim (Docket
# 59) at 10.
        279
               Id. at 14.

                                                       134


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Right, that even if such right did exist in 2015, the Trust would be judicially or equitably estopped

from arguing that such right existed because of representations that ECD made in the Equity

Purchase Agreement, which representations were incorporated into the Sale and Assignment

Order.280 According to Intel, there is no underlying tortious interference with contract claim on

which to base the Trust’s aiding and abetting claim, because “there was no enforceable contract

with which anyone could interfere [in 2015].”281

       For the reasons stated earlier in this Opinion, the Court rejects Intel’s arguments, with

respect to the Trust’s Royalty Right. Earlier in this Opinion, the Court concluded that while the

Trust does not have a First Refusal Right, the Trust did have, in 2015 and still, an enforceable

Royalty Right against Ovonyx. The Court also concluded that the Trust has plausibly alleged that

Micron instigated Ovonyx’s breach of the Trust’s Royalty Right, and has plausibly alleged a

tortious interference with contract claim against Micron. That tortious interference claim against

Micron, therefore, serves as the underlying basis for the Trust’s aiding and abetting claim against

Intel. But in order to state an aiding and abetting claim against Intel, the Trust still must plausibly

allege the elements of an aiding and abetting claim.

       2. Elements of an aiding and abetting claim

       “Proof of an aiding and abetting claim . . . requires (1) [actual] knowledge of wrongful

conduct by the aider/abettor; and (2) substantial assistance of the wrongful conduct by the

aider/abettor.” El Camino Res. Ltd. v. Huntington Nat’l Bank, 712 F.3d 917, 922 (6th Cir. 2013)

(applying Michigan law).



       280
             See id. at 11-14.
       281
             Id. at 14-15.

                                                  135


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                   With respect to the knowledge requirement, courts applying
                   Michigan law have held that ‘the alleged abettor is required to have
                   the same degree of scienter as the person committing the actual
                   fraud.’ Actual knowledge of the tort itself is necessary to impose
                   liability on the alleged aider and abettor. Alleging that the defendant
                   ‘knew or should have known’ of the illegal scheme is not sufficient.

Fremont Reorganizing Corp. v. Duke, 811 F. Supp. 2d 1323, 1346 (E.D. Mich. 2011) (italics in

original) (citations omitted). “For purposes of establishing aiding-and-abetting liability, the

requisite knowledge may be shown by circumstantial evidence. . . . Circumstantial evidence is

evidence which, although not directly proving a material fact, would support a reasonable

inference in favor of the likelihood of that fact.” El Camino Res. Ltd. v. Huntington Nat’l Bank,

722 F. Supp. 2d 875, 920 (W.D. Mich. 2010) (citations omitted).

        With respect to the “substantial assistance” element:

                   “The plaintiff [must] show that the secondary party proximately
                   caused the violation, or, in other words, that the encouragement or
                   assistance was a substantial factor in causing the tort.’” Aetna Cas.
                   & Sur. Co. v. Leahey Constr. Co., 219 F.3d 519, 537 (6th Cir.2000)
                   (quoting K & S P’ship v. Continental Bank, N.A., 952 F.2d 971, 979
                   (8th Cir.1991)). Therefore, the plaintiff must demonstrate both
                   but-for and proximate causation. See El Camino, 722 F.Supp.2d at
                   910.

Fremont, 811 F. Supp. 2d at 1347.

        3. Intel’s position on the elements of the aiding and abetting claim

        Intel alleges that “[the Trust] has not plausibly alleged any of the other elements required

to state an aiding and abetting claim.”282 Intel argues that, even assuming that the Trust “had

plausibly alleged that Micron or OMT tortiously interfered with its contract rights, [the Trust’s]

aiding and abetting claim still fails because [the Trust] did not adequately allege that Intel

        282
               Def. Intel’s Br. in Supp. of its Mot. to Dismiss Compl. for Failure to State a Claim (Docket
# 59) at 10.

                                                       136


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‘actually knew’” that the Trust had a valid and enforceable First Refusal Right or Royalty Right

against Ovonyx in July 2015; that Ovonyx breached those rights; and that “Micron or OMT

instigated those alleged breaches”;283 and the Trust did not allege that Intel “substantially assisted

others’ interference” with the Trust’s contract rights.284

        Regarding the “actual knowledge” requirement, Intel argues that, “at most, [the Trust’s

allegations] support an inference of constructive, not actual, knowledge.”285 Intel argues further

that the Trust’s “conclusory allegations ‘upon information and belief’ that Intel ‘was aware of the

terms of the 1998 [Contract] and 1999 [License] Agreement’ do not come close to plausibly

alleging actual knowledge . . . by Intel.”286 Intel argues that these allegations do not “‘amount to

anything more than speculation.’”287

        With regard to the “substantial assistance” element, Intel argues that the Trust has not

plausibly alleged that Intel provided substantial assistance to Micron or OMT and that such

assistance was a primary factor in causing the breach of contract.

        4. The Trust’s position on the elements of the aiding and abetting claim

        The Trust’s brief discusses the elements of the underlying tortious interference with

contract claim against Micron, but not the additional “actual knowledge” and “substantial

assistance” elements of the aiding and abetting claim against Intel. The Trust did however,

        283
           Id. at 19-20 (italics in original); see also id. at 22; Def. Intel Corp.’s Reply Br.in Supp. of its
Mot. to Dismiss (Docket # 96) at 1.
        284
               Def. Intel Corp.’s Reply Br.in Supp. of its Mot. to Dismiss (Docket # 96) at 1.
        285
               Def. Intel’s Br. in Supp. of its Mot. to Dismiss Compl. for Failure to State a Claim (Docket
# 59) at 22.
        286
               Id. at 20.
        287
               Id. at 21 (citation omitted).

                                                       137


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address these elements during oral argument on the motions to dismiss.

       Regarding the “actual knowledge” and “substantial assistance” requirements, the Trust

argues that “Intel had a general awareness of its own role in the improper activity” and that Intel

“knew by facilitating the [July] 2015 [T]ransactions it was [aiding] OMT and Micron [in]

breaching their obligations.”288 The Trust argued further that

                  the complaint concretely alleges that Intel knew about the ‘98 and
                  ‘99 agreements by virtue of its position as a preferred stockholder,
                  through its board observation rights under the 2000 [S]tockholder[s]
                  [A]greement. It knew that Micron had acquired the stock in 2012.
                  And the complaint alleges Intel knew of Ovonyx’s obligations
                  under those agreements and that they had remained with the [T]rust.


                          The complaint alleges that Intel received a massive windfall
                  through the [July] 2015 [T]ransactions. A feature of the business
                  transaction that -- and the feature of the business transactions that
                  supports that and shows that Intel was aiding the instigation of the
                  breaches. The complaint alleges that Intel encouraged the [July]
                  2015 [T]ransactions knowing that consummation to Intel’s benefit
                  without any notice would violate the ‘98 and ‘99 agreements,
                  including consenting to amendments to Ovonyx’s Articles of
                  Incorporation, approving payments of dividends, waiving
                  redemption rights, terminating rights under the [2000
                  S]tockholder[s] [A]greement and facilitating the transfer of assets to
                  OMT.

                         These allegations are not conclusory or speculative, they are
                  concrete. That is sufficient to nudge the complaint over the line for
                  purposes of aiding and abetting tortious interference.289

The Trust argues that all of this is circumstantial evidence of Intel’s actual knowledge of Micron’s

tortious interference with the Trust’s contract rights, and of Intel’s substantial assistance of that




       288
             Tr. of Hr’g on Mots. to Dismiss (Docket # 173) at 135.
       289
             Id. at 136.

                                                    138


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interference.290 The Court agrees with the Trust, and concludes that the Trust has plausibly

alleged an aiding and abetting claim against Intel.

        5. The facts alleged and the reasonable inferences drawn from those facts plausibly
           support both elements of an aiding and abetting claim against Intel.

        The facts alleged by the Trust, and the reasonable inferences that can be drawn from those

facts, support both elements of the Trust’s aiding and abetting claim against Intel. Such

allegations, and reasonable inferences from such allegations, include the following:

        C     Intel and Micron were partners in a joint venture to develop and market 3D
              XPoint technology, which exploited intellectual property and a device that were
              invented by ECD;291

        C     Intel and Micron believed that such 3D XPoint technology would generate
              substantial revenues, and that would require Intel and Micron to pay significant
              royalties to the Trust based on its Royalty Right under the 1998 Contract and
              the 1999 License Agreement and under licensing agreements Micron and Intel
              had with Ovonyx;292

        C     Intel knew about Ovonyx’s obligation to pay a royalty to the Trust, based on it
              being the largest preferred stockholder of Ovonyx with Board observer rights,
              and based on it being a party to the 2000 Stockholders Agreement with
              Ovonyx, which agreement expressly referred to the 1998 Contract and stated
              that, to the extent that it was not inconsistent with the 2000 Stockholders
              Agreement, that contract would “remain in full force and effect” and based on



        290
              Id.
        291
            First Am. Compl. at 2 ¶ 4 (“In 2015, Defendant Micron . . . announced, along with its joint
venture partner . . . Intel . . . the commercial development of ‘3D Xpoint,’ which, on information and
belief, employs the intellectual property and device that ECD invented.”); 21 ¶ 114 (“A representative of
IM Flash, an Intel and Micron joint venture, was quoted as stating that the [3D XPoint] technology’s
‘magic parts’ were Chalcogenide material and an ‘Ovonyx switch’ that, on information and belief, is the
Ovonic Switch.”
        292
            See id. at 2-3 ¶¶ 4-5 (stating in relevant part that “[the 3D XPoint] technology now stands on
the edge of extraordinarily valuable commercialization” and that on July 28, 2015, Micron and Intel
made a public announcement in which they unveiled 3D XPoint technology as “a major breakthrough in
memory process technology” which is “up to 1,000 faster and has up to 1,000 times greater endurance
than NAND, and is 10 times denser than conventional memory.”)

                                                    139


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              Intel’s extensive involvement in Ovonyx’s business;293

        C     “In 2013, [when] Ovonyx achieved commercialization . . . Intel, as the holder
              of preferred stock, could have forced Ovonyx to redeem all of its preferred
              stock[, b]ut . . . did not [because] . . . Intel desired to retain access to and
              influence on Ovonyx’s intellectual property, including phase-change memory
              technology and the Ovonic Switch. Indeed, . . . in July 2015, Intel obtained a
              royalty-free license of valuable intellectual property from OMT, which OMT
              obtained rights to such intellectual property from Ovonyx.”294

        C     Intel negotiated for and obtained a First Offer Right in the 2000 Stockholders
              Agreement to protect its stockholder interest in Ovonyx;

        C     Intel did not exercise its First Offer Right, when it was triggered by the sale of
              substantially all of the assets of Ovonyx to OMT,295 because it knew that it,
              along with Micron, would receive a perpetual worldwide royalty-free licence to
              the IP under the July 2015 Transactions, which would eliminate the exposure
              of Intel and Micron to liability for their potential infringement of Ovonyx’s
              patents in marketing its 3D XPoint technology and would also eliminate their
              obligation to pay the Trust royalties;

        C     Intel knew that the effect of the July 2015 Transactions would be to deprive the
              Trust of substantially all of the revenues to which it would have been entitled
              on account of its Royalty Right and the existing license agreement between
              Ovonyx and Intel;


        293
             Id. at 4 ¶ 10 (“[T]he Defendants ensured that the [Trust] was denied its valuable contractual
rights.”); 5 ¶ 14 (“Intel also was involved in the misconduct. Intel . . . which was the largest preferred
stockholder of Ovonyx and had Ovonyx Board observer rights, necessarily participated in the steps
necessary to effectuate the Micron-Ovonyx merger and the transfer of assets to OMT. Indeed,
Intel, which at all relevant times must have known about the agreements between Ovonyx and
ECD, received a massive windfall by buying out its existing royalty obligations under its existing
license with Ovonyx at, on information and belief, substantially below a reasonable value, and
replacing it with a new royalty-free license of intellectual property Ovonyx was transferring to
OMT, on information and belief, at well below reasonable cost.”) (bold in original); 13 ¶ 65
(“Lowrey on behalf of Ovonyx, worked extensively with Intel from 2000 to at least 2009 on
developing technology, including technology that would become material to the development of 3D
XPoint. On information and belief, Intel and Ovonyx continued to work with each other including
regarding patents related to Intel until at least October 2013. Intel had particular interest in using
the Ovonic Switch for its memory circuits, and Lowrey assisted Intel in this regard and was
knowledgeable of the development progress and status.”) (bold in original).
        294
              Id. at 16 ¶ 82 (bold omitted).
        295
              Id. at 16 ¶ 84, 22 ¶ 117.

                                                   140


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        C     Intel and Micron, acting in concert, and according to a common plan, entered
              into the series of inter-related transactions in July of 2015 for the purpose of
              obtaining perpetual world-wide royalty-free licenses, which they knew would,
              in effect, deprive the Trust of the benefits of its Royalty Right;296

        C     The OMT Agreement, under which Ovonyx transferred substantially all of its
              assets to OMT, did not make commercial sense for Ovonyx;297

        C     Intel knew of and was intimately involved in the July 2015 Transactions, and
              each of the individual transactions that collectively made up the July 2015
              Transactions were necessary to achieve the desired result of providing Intel and
              Micron with royalty-free licenses, including the OMT Agreement which caused
              Ovonyx to breach the Trust’s Royalty Right, and therefore, Intel’s participation
              in the July 2015 Transactions furthered, and was a substantial factor in,
              Ovonyx’s breach of the Royalty Right;298 and


        296
            See id. at 16 ¶ 82, 21 ¶ 113 (“Micron and Intel received a royalty-free license to all of the
technology that OMT had acquired from Ovonyx.”); 22 ¶ 118 (“OMT licensed to Intel all of the patent
rights OMT obtained from Ovonyx.”) (bold in original); Tr. of Hr’g on Mots. to Dismiss (Docket
# 173) at 126 (Trust’s attorney arguing that the purpose of the July 2015 Transactions was to “ensure no
party other than Micron and Intel would ever be able to exploit the intellectual property critical to 3D
X[P]oint that they were on the verge of announcing which [Micron and Intel] did within days of doing
so”).
        297
            Id. at 5 ¶ 13 ([O]n July 31, 2015, Ovonyx transferred a majority of its valuable intellectual
property to . . . OMT . . . for virtually no consideration. This transfer of value by Ovonyx to OMT
was done at the direction of Micron, and on its face makes no business sense for Ovonyx, which
would see its anticipated revenues, right as Micron was announcing 3D XPoint, plummet as a
result of the transfer from Ovonyx to OMT.”) (bold in original); 19-20 ¶ 103 (“The OMT Agreement
had additional terms that made no commercial sense [from Ovonyx’s perspective]. Under the
OMT Agreement, OMT had no obligation to pay Ovonyx any licensing revenues that OMT
received in the first thirty days after execution of the OMT Agreement. In those first thirty days,
on information and belief, OMT was supposed to receive from Intel a $15 million payment in
connection with a replacement license that was, on information and belief, extremely valuable to
Intel. On information and belief, prior to the execution of the OMT Agreement, Ovonyx knew that
OMT was supposed to be receiving a substantial licensing fee and would be forfeiting a valuable
opportunity. On information and belief, Intel only paid OMT $1.5 million or 10% of the $15
million contracted amount.”) (bold in original), 22 ¶ 119.
        298
              The First Amended Complaint states:

        117.      Intel was heavily involved in the July 2015 [T]ransactions. . . . [I]t did not
                  exercise any rights of first refusal in connection with the Merger Document or
                  any rights of first offer in connection with the OMT Agreement but in fact
                  facilitated the July 2015 [T]ransactions through various corporate governance

                                                     141


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        C     But for Intel’s involvement in the July 2015 Transactions, such transactions
              would not have occurred and there would have been no breach of the Royalty
              Right.299


                 rights it had with respect to Ovonyx, including (1) consenting to amendments to
                 Ovonyx’s articles of incorporation, (b) approving payments of dividends, (c)
                 waiving rights of redemption, and [(d)] terminating rights under a stockholder
                 agreement.

Id. at 22 ¶ 117 (bold omitted).
        299
             The First Amended Complaint infers that Intel knew about and was involved in all of the July
2015 Transactions, from the fact that the individual transactions that make up the July 2015 Transactions
refer to the other agreements and state that the other agreements are being executed shows that each of
the transactions were related to the others:

                 120.    In the same payment section of the OMT-Intel License,
                         OMT acknowledged it was entering into the OMT-Intel
                         License because it was receiving assignment of patents and
                         patent applications from Ovonyx and that Intel was also
                         paying Ovonyx.

                 121.    Further, the OMT-Intel license agreement referenced a
                         fourth amendment to the existing license agreement between
                         Ovonyx and Intel (the “Fourth Amendment”). This
                         demonstrates that Intel was intimately involved in all aspects
                         of the July 2015 [T]ransactions.

                 122.    On information and belief, pursuant to the Fourth
                         Amendment[,] Intel purportedly paid between $13.5
                         million and $30 million (collectively to Micron,
                         Ovonyx, and OMT) to terminate its existing license
                         obligation to Ovonyx and enter into a new, royalty-
                         free, license. This is buttressed by a provision of the
                         OMT Agreement, section 2.5(a), that obligated OMT
                         to grant to Ovonyx a royalty-free license so that
                         Ovonyx could grant a license to one third party- that
                         third party being Intel.

                 123.    The net effect of the Intel transactions is that Intel, a joint
                         venturer with Micron on developing 3D XPoint, acquired a
                         royalty-free license to the intellectual property that Ovonyx
                         had owned, paying no more than approximately $30 million,
                         with Micron, on information and belief, receiving the lion’s
                         share of the cash.


                                                   142


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        i. It is reasonable to infer that Intel knew that Micron instigated Ovonyx’s breach
           of the Trust’s Royalty Right.

        The facts pled by the Trust, and inferences that reasonably may be drawn from those facts,

show sufficient circumstantial evidence to plausibly infer that, at least as early as 2000, Intel

actually knew about Ovonyx’s obligation to pay ECD a royalty. It is reasonable to infer that Intel

actually knew about the terms in the 1998 Contract, which were explicitly referenced in the 2000

Stockholders Agreement and which contained Ovonyx’s Royalty Right, because Intel was very

sophisticated in business matters; was the largest preferred stockholder of Ovonyx; had Board

observer rights for Ovonyx; took actions, such as obtaining Board observer rights, that would

allow it to be informed regarding Ovonyx’s business activities; actively participated in

negotiations which led to the 2000 Stockholders Agreement; was a party to the 2000 Stockholders

Agreement that negotiated the First Offer Right for Intel; and was a party to at least five other

separate agreements between Ovonyx and itself that were incorporated into the 2000 Stockholders

Agreement.300 It is also reasonable to infer from the Trust’s allegations that Intel knew that, in

entering into the July 2015 Transactions, Micron was causing Ovonyx to breach the Royalty

Right. And Intel knew that Ovonyx would not be earning royalties from Intel, on account of it

gaining a perpetual world-wide royalty-free license.

        ii. It is reasonable to infer that Intel provided substantial assistance to Micron’s
            interference with Ovonyx’s contract with the Trust.



Id. at 22-23 ¶¶ 120-23 (bold and underlining in original) (bracketing in original omitted).
        300
             See paragraph 9.10 of the 2000 Stockholders Agreement (referencing the Stock Purchase
Warrant . . . issued by [Ovonyx] to Intel, the Collaboration and License Agreement . . . between
[Ovonyx] and Intel, the Corporate Non-Disclosure Agreement (number 2541617) dated as of July 6, 1999
between [Ovonyx] and Intel and the Confidentiality Side Letter dated as of the date hereof between
[Ovonyx] and Intel).

                                                    143


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        It is also reasonable to infer that Intel provided Micron with substantial assistance in

instigating Ovonyx’s breach of the Trust’s Royalty Right. Intel had a strong economic motive to

do so. Intel’s receipt of the perpetual world-wide royalty-free license was dependent on Micron

taking the actions that, allegedly, tortiously interfered with the Trust’s Royalty Right. The July

2015 Transactions, allegedly, made no commercial sense for Ovonyx. It is also reasonable to

infer that Intel aided Micron in instigating the breach based on the timing of the July 2015

Transactions, relative to the public announcement unveiling 3D XPoint technology on July 28,

2015.

        For all of these reasons, the facts alleged in the First Amended Complaint, if true, are

circumstantial evidence sufficient to make plausible the Trust’s claim that Intel aided and abetted

Micron’s instigation of Ovonyx’s breach of the Trust’s Royalty Right. Therefore, Intel’s motion

to dismiss must be denied, to the extent it seeks dismissal of the Trust’s aiding and abetting claim,

relating to the Royalty Right. Intel’s motion to dismiss will be granted, to the extent it seeks

dismissal of the Trust’s aiding and abetting claim, relating to ECD’s First Refusal Right.

J. The Trust’s seventh cause of action against Intel, seeking a declaratory judgment

        The Trust’s seventh cause of action seeks a judgment against Intel declaring “that upon the

avoidance of the OMT Agreement, Intel has no right to intellectual property belonging to Ovonyx

by virtue of the [perpetual world-wide royalty-free license OMT granted to Intel.]”301

        The Trust concedes that its request for a declaratory judgment depends on it prevailing on

its fraudulent transfer claim against OMT in the fifth cause of action. Intel argues that the Trust

cannot prevail on that fraudulent transfer claim for the same reasons argued by OMT. But the


        301
              First Am. Compl. at 32 ¶ 195.

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Court has discussed and rejected those arguments, in Part V.H of this Opinion.

       The Court will therefore deny Intel’s request to dismiss the seventh cause of action.

VI. Conclusion

       For the reasons stated in this Opinion, the Court will enter an order:

(1)    granting Lowrey’s motion to dismiss the first cause of action against him in the First
       Amended Complaint (breach of contract), in its entirety;

(2)    granting Ovonyx’s motion to dismiss the first cause of action against it (breach of
       contract), to the extent that cause of action is based on a breach of the Trust’s First Refusal
       Right;

(3)    denying Ovonyx’s motion to dismiss the first cause of action against it (breach of
       contract), to the extent that cause of action is based on a breach of the Trust’s Royalty
       Right;

(4)    granting Micron’s motion to dismiss the second cause of action against it (alter
       ego/successor liability), to the extent that cause of action is based on a breach of the
       Trust’s First Refusal Right;

(5)    granting Micron’s motion to dismiss the second cause of action against it (alter
       ego/successor liability), to the extent that cause of action is based on a theory of successor
       liability for breach of the Trust’s Royalty Right;

(6)    denying Micron’s motion to dismiss the second cause of action against it (alter
       ego/successor liability), to the extent that cause of action is based on a theory of alter ego
       for breach of the Trust’s Royalty Right;

(7)    granting Micron’s motion to dismiss the third cause of action against it (tortious
       interference with contract), to the extent that cause of action is based on a breach of the
       Trust’s First Refusal Right;

(8)    denying Micron’s motion to dismiss the third cause of action against it (tortious
       interference with contract), to the extent that cause of action is based on breach of the
       Trust’s Royalty Right;

(9)    granting OMT’s motion to dismiss the fourth cause of action against it (tortious
       interference with contract), in its entirety;

(10)   denying OMT’s motion to dismiss the fifth cause of action against it (actual fraudulent
       transfer);

                                                 145


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(11)   granting Intel’s motion to dismiss the sixth cause of action against it (aiding and abetting
       tortious interference with contract), to the extent that cause of action is based on a breach
       of the Trust’s First Refusal Right;

(12)   denying Intel’s motion to dismiss the sixth cause of action against it (aiding and abetting
       tortious interference with contract), to the extent that cause of action is based on breach of
       the Trust’s Royalty Right; and

(13)   denying Intel’s motion to dismiss the seventh cause of action against it (declaratory
       judgment).



Signed on October 1, 2020




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